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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                        MONROE DIVISION


 STATE OF MISSOURI, ET AL.                                      CASE NO. 3:22-CV-01213

 VERSUS                                                         JUDGE TERRY A. DOUGHTY

 JOSEPH R. BIDEN JR., ET AL.                                    MAG. JUDGE KAYLA D. MCCLUSKY

                              MEMORANDUM RULING ON REQUEST
                                FOR PRELIMINARY INJUNCTION

         At issue before the Court is a Motion for Preliminary Injunction [Doc. No. 10] filed by

 Plaintiffs.1 The Defendants2 oppose the Motion [Doc. No. 266]. Plaintiffs have filed a reply to the

 opposition [Doc. No. 276]. The Court heard oral arguments on this Motion on May 26, 2023 [Doc.

 No. 288]. Amicus Curiae briefs have been filed in this proceeding on behalf of Alliance Defending

 Freedom,3 the Buckeye Institute,4 and Children’s Health Defense.5




 1
  Plaintiffs consist of the State of Missouri, the State of Louisiana, Dr. Aaron Kheriaty (“Kheriaty”), Dr. Martin
 Kulldorff (“Kulldorff”), Jim Hoft (“Hoft”), Dr. Jayanta Bhattacharya (“Bhattacharya”), and Jill Hines (“Hines”).

 2
   Defendants consist of President Joseph R Biden (“President Biden”), Jr, Karine Jean-Pierre (“Jean-Pierre”), Vivek
 H Murthy (“Murthy”), Xavier Becerra (“Becerra”), Dept of Health & Human Services (“HHS”), Dr. Hugh
 Auchincloss (“Auchincloss”), National Institute of Allergy & Infectious Diseases (“NIAID”), Centers for Disease
 Control & Prevention (“CDC”), Alejandro Mayorkas (“Mayorkas”), Dept of Homeland Security (“DHS”), Jen
 Easterly (“Easterly”), Cybersecurity & Infrastructure Security Agency (“CISA”), Carol Crawford (“Crawford”),
 United States Census Bureau (“Census Bureau”), U. S. Dept of Commerce (“Commerce”), Robert Silvers (“Silvers”),
 Samantha Vinograd (“Vinograd”), Ali Zaidi (“Zaidi”), Rob Flaherty (“Flaherty”), Dori Salcido (“Salcido”), Stuart F.
 Delery (“Delery”), Aisha Shah (“Shah”), Sarah Beran (“Beran”), Mina Hsiang (“Hsiang”), U. S. Dept of Justice
 (“DOJ”), Federal Bureau of Investigation (“FBI”), Laura Dehmlow (“Dehmlow”), Elvis M. Chan (“Chan”), Jay
 Dempsey (“Dempsey”), Kate Galatas (“Galatas”), Katharine Dealy (“Dealy”), Yolanda Byrd (“Byrd”), Christy Choi
 (“Choi”), Ashley Morse (“Morse”), Joshua Peck (“Peck”), Kym Wyman (“Wyman”), Lauren Protentis (“Protentis”),
 Geoffrey Hale (“Hale”), Allison Snell (“Snell”), Brian Scully (“Scully”), Jennifer Shopkorn (“Shopkorn”), U. S. Food
 & Drug Administration (“FDA”), Erica Jefferson (“Jefferson”), Michael Murray (“Murray”), Brad Kimberly
 (“Kimberly”), U. S. Dept of State (“State”), Leah Bray (“Bray”), Alexis Frisbie (“Frisbie”), Daniel Kimmage
 (“Kimmage”), U. S. Dept of Treasury (“Treasury”), Wally Adeyemo (“Adeyemo”), U. S. Election Assistance
 Commission (“EAC”), Steven Frid (“Frid”), and Kristen Muthig (“Muthig”).
 3
   [Doc. No. 252]
 4
   [Doc. No. 256]
 5
   [Doc. No. 262]

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    I.        INTRODUCTION

                  I may disapprove of what you say, but I would defend to the death
                  your right to say it.
                                    Evelyn Beatrice Hill, 1906, The Friends of Voltaire

           This case is about the Free Speech Clause in the First Amendment to the United States

 Constitution. The explosion of social-media platforms has resulted in unique free speech issues—

 this is especially true in light of the COVID-19 pandemic. If the allegations made by Plaintiffs are

 true, the present case arguably involves the most massive attack against free speech in United

 States’ history. In their attempts to suppress alleged disinformation, the Federal Government, and

 particularly the Defendants named here, are alleged to have blatantly ignored the First

 Amendment’s right to free speech.

           Although the censorship alleged in this case almost exclusively targeted conservative

 speech, the issues raised herein go beyond party lines. The right to free speech is not a member of

 any political party and does not hold any political ideology. It is the purpose of the Free Speech

 Clause of the First Amendment to preserve an uninhibited marketplace of ideas in which truth will

 ultimately prevail, rather than to countenance monopolization of the market, whether it be by

 government itself or private licensee. Red Lion Broadcasting Co., v. F.C.C., 89 S. Ct. 1794, 1806

 (1969).

           Plaintiffs allege that Defendants, through public pressure campaigns, private meetings, and

 other forms of direct communication, regarding what Defendants described as “disinformation,”

 “misinformation,” and “malinformation,” have colluded with and/or coerced social-media

 platforms to suppress disfavored speakers, viewpoints, and content on social-media platforms.

 Plaintiffs also allege that the suppression constitutes government action, and that it is a violation




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 of Plaintiffs’ freedom of speech under the First Amendment to the United States Constitution. The

 First Amendment states:

                Congress shall make no law respecting an establishment of religion
                or prohibiting the free exercise thereof: or abridging the freedom
                of speech, or of the press; or the right of the people peaceably to
                assemble, and to petition the Government for a redress of
                grievances. (emphasis added).

 First Amendment, U.S. Const. amend. I.

        The principal function of free speech under the United States’ system of government is to

 invite dispute; it may indeed best serve its high purpose when it induces a condition of unrest,

 creates dissatisfaction with conditions as they are, or even stirs people to anger. Texas v. Johnson,

 109 S. Ct. 2533, 2542–43 (1989). Freedom of speech and press is the indispensable condition of

 nearly every other form of freedom. Curtis Pub. Co. v. Butts, 87 S. Ct. 1975, 1986 (1967).

        The following quotes reveal the Founding Fathers’ thoughts on freedom of speech:

                For if men are to be precluded from offering their sentiments on a
                matter, which may involve the most serious and alarming
                consequences, that can invite the consideration of mankind, reason
                is of no use to us; the freedom of speech may be taken away, and
                dumb and silent we may be led, like sheep, to the slaughter.

 George Washington, March 15, 1783.

                Whoever would overthrow the liberty of a nation must begin by
                subduing the free acts of speech.

 Benjamin Franklin, Letters of Silence Dogwood.

                Reason and free inquiry are the only effectual agents against error.

 Thomas Jefferson.

        The question does not concern whether speech is conservative, moderate, liberal,

 progressive, or somewhere in between. What matters is that Americans, despite their views,

 will not be censored or suppressed by the Government. Other than well-known exceptions

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 to the Free Speech Clause, all political views and content are protected free speech.

             The issues presented to this Court are important and deeply intertwined in the daily

 lives of the citizens of this country.

       II.      FACTUAL BACKGROUND

             In this case, Plaintiffs allege that Defendants suppressed conservative-leaning free speech,

 such as: (1) suppressing the Hunter Biden laptop story prior to the 2020 Presidential election; (2)

 suppressing speech about the lab-leak theory of COVID-19’s origin; (3) suppressing speech about

 the efficiency of masks and COVID-19 lockdowns; (4) suppressing speech about the efficiency of

 COVID-19 vaccines; (5) suppressing speech about election integrity in the 2020 presidential

 election; (6) suppressing speech about the security of voting by mail; (7) suppressing parody

 content about Defendants; (8) suppressing negative posts about the economy; and (9) suppressing

 negative posts about President Biden.

             Plaintiffs Bhattacharya and Kulldorff are infectious disease epidemiologists and co-authors

 of The Great Barrington Declaration (“GBD”). The GBD was published on October 4, 2020. The

 GBD criticized lockdown policies and expressed concern about the damaging physical and mental

 health impacts of lockdowns. They allege that shortly after being published, the GBD was censored

 on social media by Google, Facebook, Twitter, and others. Bhattacharya and Kulldorff further

 allege on October 8, 2020 (four days after publishing the GBD), Dr. Frances Collins, Dr. Fauci,

 and Cliff Lane proposed together a “take down” of the GBD and followed up with an organized

 campaign to discredit it.6

             Dr. Kulldorff additionally alleges he was censored by Twitter on several occasions because

 of his tweets with content such as “thinking everyone must be vaccinated is scientifically flawed,”



 6
     [Doc. No. 10-3 and 10-4]

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 that masks would not protect people from COVID-19, and other “anti-mask” tweets.7 Dr. Kulldorff

 (and Dr. Bhattacharya8) further alleges that YouTube removed a March 18, 2021 roundtable

 discussion in Florida where he and others questioned the appropriateness of requiring young

 children to wear facemasks.9 Dr. Kulldorff also alleges that LinkedIn censored him when he

 reposted a post of a colleague from Iceland on vaccines, for stating that vaccine mandates were

 dangerous, for posting that natural immunity is stronger than vaccine immunity, and for posting

 that health care facilities should hire, not fire, nurses.10

         Plaintiff Jill Hines is Co-Director of Health Freedom Louisiana, a consumer and human

 rights advocacy organization. Hines alleges she was censored by Defendants because she

 advocated against the use of masks mandates on young children. She launched an effort called

 “Reopen Louisiana” on April 16, 2020, to expand Health Freedom Louisiana’s reach on social

 media. Hines alleges Health Freedom Louisiana’s social-media page began receiving warnings

 from Facebook. Hines was suspended on Facebook in January 2022 for sharing a display board

 that contained Pfizer’s preclinical trial data.11 Additionally, posts about the safety of masking and

 adverse events from vaccinations, including VAERS data and posts encouraging people to contact

 their legislature to end the Government’s mask mandate, were censored on Facebook and other

 social-media platforms. Hines alleges that because of the censorship, the reach of Health Freedom

 Louisiana was reduced from 1.4 million engagements per month to approximately 98,000. Hines

 also alleges that her personal Facebook page has been censored and restricted for posting content




 7
   [Doc. No. 10-4]
 8
   [Doc. No. 10-3]
 9
   [Id.]
 10
    [Id.]
 11
    [Doc. No. 10-12]

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 that is protected free speech. Additionally, Hines alleges that two of their Facebook groups, HFL

 Group and North Shore HFL, were de-platformed for posting content protected as free speech.12

            Plaintiff Dr. Kheriaty is a psychiatrist who has taught at several universities and written

 numerous articles. He had approximately 158,000 Twitter followers in December 2021 and

 approximately 1,333 LinkedIn connections. Dr. Kheriaty alleges he began experiencing censorship

 on Twitter and LinkedIn after posting content opposing COVID-19 lockdowns and vaccine

 mandates. Dr. Kheriaty also alleges that his posts were “shadow banned,” meaning that his tweets

 did not appear in his follower’s Twitter feeds. Additionally, a video of an interview of Dr. Kheriaty

 on the ethics of vaccine mandates was removed from YouTube.13

            Plaintiff Jim Hoft is the owner and operator of The Gateway Pundit (“GP”), a news website

 located in St. Louis, Missouri. In connection with the GP, Hoft operates the GP’s social-media

 accounts with Twitter, Facebook, YouTube, and Instagram. The GP’s Twitter account previously

 had over 400,000 followers, the Facebook account had over 650,000 followers, the Instagram

 account had over 200,000 followers, and the YouTube account had over 98,000 followers.

            The GP’s Twitter account was suspended on January 2, 2021, again on January 29, 2021,

 and permanently suspended from Twitter on February 6, 2021. The first suspension was in

 response to a negative post Hoft made about Dr. Fauci’s statement that the COVID-19 vaccine

 will only block symptoms and not block the infection. The second suspension was because of a

 post Hoft made about changes to election law in Virginia that allowed late mail-in ballots without

 postmarks to be counted. Finally, Twitter issued the permanent ban after the GP Twitter account

 posted video footage from security cameras in Detroit, Michigan from election night 2020, which

 showed two delivery vans driving to a building at 3:30 a.m. with boxes, which were alleged to


 12
      [Id.]
 13
      [Doc. No. 10-7]

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                                 26798



 contain election ballots. Hoft also alleges repeated instances of censorship by Facebook, including

 warning labels and other restrictions for posts involving COVID-19 and/or election integrity issues

 during 2020 and 2021.

         Hoft further alleges that YouTube censored the GP’s videos. YouTube removed a May 14,

 2022 video that discussed voter integrity issues in the 2020 election. Hoft has attached as exhibits

 copies of numerous GP posts censored and/or fact checked. All of the attached examples involve

 posts relating to COVID-19 or the 2020 election.

         In addition to the allegations of the Individual Plaintiffs, the States of Missouri and

 Louisiana allege extensive censorship by Defendants. The States allege that they have a sovereign

 and proprietary interest in receiving the free flow of information in public discourse on social-

 media platforms and in using social-media to inform their citizens of public policy decisions. The

 States also claim that they have a sovereign interest in protecting their own constitutions, ensuring

 their citizen’s fundamental rights are not subverted by the federal government, and that they have

 a quasi-sovereign interest in protecting the free-speech rights of their citizens. The States allege

 that the Defendants have caused harm to the states of Missouri and Louisiana by suppressing

 and/or censoring the free speech of Missouri, Louisiana, and their citizens.

         The Complaint,14 Amended Complaint,15 Second Amended Complaint,16 and Third

 Amended Complaint17 allege a total of five counts. They are:

                     Count One – Violation of the First Amendment against all
                     Defendants.

                     Count Two – Action in Excess of Statutory Authority against all
                     Defendants.


 14
    [Doc. No. 1]
 15
    [Doc. No. 45]
 16
    [Doc. No. 84]
 17
    [Doc. No. 268]

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                   Count Three – Violation of the Administrative Procedure Act
                   against HHS, NIAID, CDC, FDA, Peck, Becerra, Murthy,
                   Crawford, Fauci, Galatas, Waldo, Byrd, Choi, Lambert, Dempsey,
                   Muhammed, Jefferson, Murry, and Kimberly.

                   Count Four – Violation of the Administrative Procedure Act against
                   DHS, CISA, Mayorkas, Easterly, Silvers, Vinograd, Jankowicz,
                   Masterson, Protentis, Hale, Snell, Wyman, and Scully.

                   Count Five – Violation of the Administrative Procedure Act against
                   the Department of Commerce, Census Bureau, Shopkorn, Schwartz,
                   Molina-Irizarry, and Galemore.

 Plaintiffs also ask for this case to be certified as a class action pursuant to Federal Rules of Civil

 Procedure 23(a) and 23(b)(2). For the reasons discussed herein, it is only necessary to address

 Count One and the Plaintiffs’ request for class action certification in this ruling.

          The following facts are pertinent to the analysis of whether or not Plaintiffs are entitled to

 the granting of an injunction.18

          Plaintiffs assert that since 2018, federal officials, including Defendants, have made public

 statements and demands to social-media platforms in an effort to induce them to censor disfavored

 speech and speakers. Beyond that, Plaintiffs argue that Defendants have threatened adverse

 consequences to social-media companies, such as reform of Section 230 immunity under the

 Communications Decency Act, antitrust scrutiny/enforcement, increased regulations, and other

 measures, if those companies refuse to increase censorship. Section 230 of the Communications

 Decency Act shields social-media companies from liability for actions taken on their websites, and

 Plaintiffs argue that the threat of repealing Section 230 motivates the social-media companies to

 comply with Defendants’ censorship requests. Plaintiffs also note that Mark Zuckerberg



 18
    The Factual Background is this Court’s interpretation of the evidence. The Defendants filed a 723-page Response
 to Findings of Fact [Doc. No. 266-8] which contested the Plaintiffs’ interpretation or characterizations of the evidence.
 At oral argument, the Defendants conceded that they did not dispute the validity or authenticity of the evidence
 presented.

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 (“Zuckerberg”), the owner of Facebook, has publicly stated that the threat of antitrust enforcement

 is “an existential threat” to his platform.19

       A. White House Defendants20

         Plaintiffs assert that by using emails, public and private messages, public and private

 meetings, and other means, the White House Defendants have “significantly encouraged” and

 “coerced” social-media platforms to suppress protected free speech posted on social-media

 platforms.

         (1)      On January 23, 2021, three days after President Biden took office, Clarke

 Humphrey (“Humphrey”), who at the time was the Digital Director for the COVID-19 Response

 Team, emailed Twitter and requested the removal of an anti-COVID-19 vaccine tweet by Robert

 F. Kennedy, Jr.21 Humphrey sent a copy of the email to Rob Flaherty (“Flaherty”), former Deputy

 Assistant to the President and Director of Digital Strategy, on the email and asked if “we can keep

 an eye out for tweets that fall in this same genre.” The email read, “Hey folks-Wanted to flag the

 below tweet and am wondering if we can get moving on the process of having it removed ASAP.”22

         (2)       On February 6, 2021, Flaherty requested Twitter to remove a parody account

 linked to Finnegan Biden, Hunter Biden’s daughter and President Biden’s granddaughter. The

 request stated, “Cannot stress the degree to which this needs to be resolved immediately,” and

 “Please remove this account immediately.”23 Twitter suspended the parody account within forty-

 five minutes of Flaherty’s request.



 19
    [Doc. No. 212-3, citing Doc. No. 10-1, at 202]
 20
    White House Defendants consists of President Joseph R. Biden (“President Biden”), White House Press Secretary
 Karine Jean-Pierre (“Jean-Pierre”), Ashley Morse (“Morse”), Deputy Assistant to the President and Director of Digital
 Strategy Rob Flaherty (“Flaherty”), Dori Salcido (“Salcido”), Aisha Shah (“Shah”), Sarah Beran (“Beran”), Stuart F.
 Delery (“Delery”), Mina Hsiang (“Hsiang”), and Dr. Hugh Auchincloss (Dr. Auchincloss”)
 21
    [Doc. No. 174-1, Exh. A. at 1]
 22
    [Id. at 2]
 23
    [Doc. No. 174-1, Exh. A. at 4]

                                                          9
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          (3)      On February 7, 2021, Twitter sent Flaherty a “Twitter’s Partner Support Portal” for

 expedited review of flagging content for censorship. Twitter recommended that Flaherty designate

 a list of authorized White House staff to enroll in Twitter’s Partner Support Portal and explained

 that when authorized reporters submit a “ticket” using the portal, the requests are “prioritized”

 automatically. Twitter also stated that it had been “recently bombarded” with censorship requests

 from the White House and would prefer to have a streamlined process. Twitter noted that “[i]n a

 given day last week for example, we had more than four different people within the White House

 reaching out for issues.”24

          (4)      On February 8, 2021, Facebook emailed Flaherty, and Humphrey to explain how it

 had recently expanded its COVID-19 censorship policy to promote authoritative COVID-19

 vaccine information and expanded its efforts to remove false claims on Facebook and Instagram

 about COVID-19, COVID-19 vaccines, and vaccines in general. Flaherty responded within

 nineteen minutes questioning how many times someone can share false COVID-19 claims before

 being removed, how many accounts are being flagged versus removed, and how Facebook handles

 “dubious,” but not “provably false,” claims.25 Flaherty demanded more information from

 Facebook on the new policy that allows Facebook to remove posts that repeatedly share these

 debunked claims.

          (5)      On February 9, 2021, Flaherty followed up with Facebook in regard to its COVID-

 19 policy, accusing Facebook of causing “political violence” spurred by Facebook groups by

 failing to censor false COVID-19 claims, and suggested having an oral meeting to discuss their

 policies.26 Facebook responded the same day and stated that “vaccine-skeptical” content does not



 24
    [Doc. No. 174-1 at 3]
 25
    [Id. at 5–8]
 26
    [Id. at 6–8]

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 violate Facebook’s policies.27 However, Facebook stated that it will have the content’s

 “distribution reduced” and strong warning labels added, “so fewer people will see the post.”28 In

 other words, even though “vaccine-skeptical” content did not violate Facebook’s policy, the

 content’s distribution was still being reduced by Facebook.

           Facebook also informed Flaherty that it was working to censor content that does not violate

 Facebook’s policy in other ways by “preventing posts discouraging vaccines from going viral on

 our platform” and by using information labels and preventing recommendations for Groups, Pages,

 and Instagram accounts pushing content discouraging vaccines. Facebook also informed Flaherty

 that it was relying on the advice of “public health authorities” to determine its COVID-19

 censorship policies.29 Claims that have been “debunked” by public health authorities would be

 removed from Facebook. Facebook further promised Flaherty it would aggressively enforce the

 new censorship policies and requested a meeting with Flaherty to speak to Facebook’s

 misinformation team representatives about the latest censorship policies.30 Facebook also

 referenced “previous meetings” between the White House and Facebook representatives during

 the “transition period” (likely referencing the Biden Administration transition). 31

           (6)    On February 24, 2021, Facebook emailed Flaherty about “Misinfo Themes” to

 follow up on his request for COVID and vaccine misinformation themes on Facebook. Some of

 the misinformation themes Facebook reported seeing were claims of vaccine toxicity, claims about

 the side effects of vaccines, claims comparing the COVID vaccine to the flu vaccine, and claims

 downplaying the severity of COVID-19. Flaherty responded by asking for details about




 27
    [Id.]
 28
    [Id.]
 29
    [Id.]
 30
    [Id. at 6]
 31
    [Id. at 5]

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 Facebook’s actual enforcement practices and for a report on misinformation that was not censored.

 Specifically, his email read, “Can you give us a sense of volume on these, and some metrics around

 the scale of removal for each? Can you also give us a sense of misinformation that might be falling

 outside your removal policies?”32 Facebook responded that at their upcoming meeting, they “can

 definitely go into detail on content that doesn’t violate like below, but could ‘contribute to vaccine

 hesitancy.’”33

        (7)       On March 1, 2021, Flaherty and Humphrey (along with Joshua Peck (“Peck”), the

 Health and Human Services’ (“HHS”) Deputy Assistant Secretary) participated in a meeting with

 Twitter about misinformation. After the meeting, Twitter emailed those officials to assure the

 White House that Twitter would increase censorship of “misleading information” on Twitter,

 stating “[t]hanks again for meeting with us today. As we discussed, we are building on ‘our’

 continued efforts to remove the most harmful COVID-19 ‘misleading information’ from the

 service.”34

        (8)       From May 28, 2021, to July 10, 2021, a senior Meta executive reportedly copied

 Andrew Slavitt (“Slavitt”), former White House Senior COVID-19 Advisor, on his emails to

 Surgeon General Murthy (“Murthy”), alerting them that Meta was engaging in censorship of

 COVID-19 misinformation according to the White House’s “requests” and indicating “expanded

 penalties” for individual Facebook accounts that share misinformation.35 Meta also stated, “We

 think there is considerably more we can do in ‘partnership’ with you and your team to drive

 behavior.”36




 32
    [Doc. No. 214-9 at 2–3]
 33
    [Id.]
 34
    [Doc. No. 214-10 at 2, Jones Declaration, #10, Exh. H] SEALED DOCUMENT
 35
    [Doc. No. 71-4 at 6–11]
 36
    [Id. at 10] (emphasis added)

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          (9)      On March 12, 2021, Facebook emailed Flaherty stating, “Hopefully, this format

 works for the various teams and audiences within the White House/HHS that may find this data

 valuable.”37 This email also provided a detailed report and summary regarding survey data on

 vaccine uptake from January 10 to February 27, 2021.38

          (10)     On March 15, 2021, Flaherty acknowledged receiving Facebook’s detailed report

 and demanded a report from Facebook on a recent Washington Post article that accused Facebook

 of allowing the spread of information leading to vaccine hesitancy. Flaherty emailed the

 Washington Post article to Facebook the day before, with the subject line: “You are hiding the

 ball,” and stated “I’ve been asking you guys pretty directly, over a series of conversations, for a

 clear accounting of the biggest issues you are seeing on your platform when it comes to vaccine

 hesitancy and the degree to which borderline content as you define it – is playing a role.”39

          After Facebook denied “hiding the ball,” Flaherty followed up by making clear that the

 White House was seeking more aggressive action on “borderline content.”40 Flaherty referred to a

 series of meetings with Facebook that were held in response to concerns over “borderline content”

 and accused Facebook of deceiving the White House about Facebook’s “borderline policies.”41

 Flaherty also accused Facebook of being the “top driver of vaccine hesitancy.”42 Specifically, his

 email stated:

                   I am not trying to play ‘gotcha’ with you. We are gravely concerned
                   that your service is one of the top drivers of vaccine hesitancy-
                   period. I will also be the first to acknowledge that borderline content
                   offers no easy solutions. But we want to know that you’re trying, we
                   want to know how we can help, and we want to know that you’re
                   not playing a shell game with us when we ask you what is going on.

 37
    [Doc. No. 174-1 at 9]
 38
    [Id.]
 39
    [Id. at 11]
 40
    [Id. at 11–12]
 41
    [Id.]
 42
    [Id. at 11]

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                  This would all be a lot easier if you would just be straight with us.43

 In response to Flaherty’s email, Facebook responded, stating: “We obviously have work to do to

 gain your trust…We are also working to get you useful information that’s on the level. That’s my

 job and I take it seriously – I’ll continue to do it to the best of my ability, and I’ll expect you to

 hold me accountable.”44

           Slavitt, who was copied on Facebook’s email, responded, accusing Facebook of not being

 straightforward, and added more pressure by stating, “internally, we have been considering our

 options on what to do about it.”45

           (11)   On March 19, 2021, Facebook had an in-person meeting with White House

 officials, including Flaherty and Slavitt.46 Facebook followed up on Sunday, March 21, 2021,

 noting that the White House had demanded a consistent point of contact with Facebook, additional

 data from Facebook, “Levers for Tackling Vaccine Hesitancy Content,” and censorship policies

 for Meta’s platform WhatsApp.47 Facebook noted that in response to White House demands, it

 was censoring, removing, and reducing the virality of content discouraging vaccines “that does not

 contain actionable misinformation.”48 Facebook also provided a report for the White House on the

 requested information on WhatsApp policies:

                  You asked us about our levers for reducing virality of vaccine
                  hesitancy content. In addition to policies previously discussed, these
                  include the additional changes that were approved last week and that
                  we will be implementing over the coming weeks. As you know, in
                  addition to removing vaccine misinformation, we have been focused
                  on reducing the virality of content discouraging vaccines that do not
                  contain actionable misinformation.49


 43
    [Id. at 11]
 44
    [Id. at 11]
 45
    [Id. at 10]
 46
    [Id. at 15]
 47
    [Id.]
 48
    [Id. at 15]
 49
    [Id. at 15]

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 On March 22, 2021, Flaherty responded to this email, demanding more detailed information and a

 plan from Facebook to censor the spread of “vaccine hesitancy” on Facebook.50 Flaherty also

 requested more information about and demanded greater censorship by Facebook of “sensational,”

 “vaccine skeptical” content.51 He also requested more information about WhatsApp regarding

 vaccine hesitancy.52 Further, Flaherty seemingly spoke on behalf of the White House and stated

 that the White House was hoping they (presumably the White House and Facebook) could be

 “partners here, even if it hasn’t worked so far.”53 A meeting was scheduled the following

 Wednesday between Facebook and White House officials to discuss these issues.

          On April 9, 2021, Facebook responded to a long series of detailed questions from Flaherty

 about how WhatsApp was censoring COVID-19 misinformation. Facebook stated it was “reducing

 viral activity on our platform” through message-forward limits and other speech-blocking

 techniques.54 Facebook also noted it bans accounts that engage in those that seek to exploit

 COVID-19 misinformation.55

          Flaherty responded, “I care mostly about what actions and changes you are making to

 ensure you’re not making our country’s vaccine hesitancy problem worse,” accusing Facebook of

 being responsible for the Capitol riot on January 6, 2021, and indicating that Facebook would be

 similarly responsible for COVID-related deaths if it did not censor more information.56 “You only




 50
    [Id.]
 51
    [Id.]
 52
    [Id.]
 53
    [Id. at 14]
 54
    [Id. at 17]
 55
    [Id. at 17]
 56
    [Id. at 17–21]

                                                 15
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                                  26807



 did this, however, after an election that you helped increase skepticism in, and an insurrection

 which was plotted, in large part, on your platform.”57

          (12)       On April 14, 2021, Flaherty demanded the censorship of Fox News hosts Tucker

 Carlson and Tomi Lahren because the top post about vaccines that day was “Tucker Carlson saying

 vaccines don’t work and Tomi Lahren stating she won’t take a vaccine.”58 Flaherty stated, “This

 is exactly why I want to know what ‘Reduction’ actually looks like – if ‘reduction’ means

 ‘pumping our most vaccine hesitant audience with Tucker Carlson saying it does not work’…

 then…I’m not sure it’s reduction!”59

          Facebook promised the White House a report by the end of the week.60

          (13)       On April 13, 2021, after the temporary halt of the Johnson & Johnson vaccine, the

 White House was seemingly concerned about the effect this would have on vaccine hesitancy.

 Flaherty sent to Facebook a series of detailed requests about how Facebook could “amplify”

 various messages that would help reduce any effects this may have on vaccine hesitancy.61

          Flaherty also requested that Facebook monitor “misinformation” relating to the Johnson &

 Johnson pause and demanded from Facebook a detailed report within twenty-four hours.

 Facebook provided the detailed report the same day.62 Facebook responded, “Re the J & J news,

 we’re keen to amplify any messaging you want us to project about what this means for people.”63

          (14)       Facebook responded to a telephone call from Rowe about how it was censoring

 information with a six-page report on censorship with explanations and screen shots of sample

 posts of content that it does and does not censor. The report noted that vaccine hesitancy content


 57
    [Id. at 17]
 58
    [Id. at 22]
 59
    [Id. at 22]
 60
    [Id. at 23]
 61
    [Id. at 30–31]
 62
    [Id. at 31]
 63
    [Id. at 31–32]

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 does not violate Facebook’s content-moderation policies, but indicated that Facebook still censors

 this content by suppressing it in news feeds and algorithms.64 Other content that Facebook admitted

 did not violate its policy but may contribute to vaccine hesitancy are: a) sensational or alarmist

 vaccine misrepresentation; b) disparaging others based on the choice to or not to vaccinate; c) true

 but shocking claims or personal anecdotes; d) discussing the choice to vaccinate in terms of

 personal or civil liberties; and e) concerns related to mistrust in institutions or individuals.65

 Facebook noted it censors such content through a “spectrum of levers” that includes concealing

 the content from other users, “de-boosting” the content, and preventing sharing through

 “friction.”66 Facebook also mentioned looking forward to tomorrow’s meeting “and how we can

 hopefully partner together.”67

          Other examples of posts that did not violate Facebook’s policies but would nonetheless be

 suppressed included content that originated from the Children’s Health Defense, a nonprofit

 activist group headed by Robert F. Kennedy, Jr. (labeled by Defendants as one of the

 “Disinformation Dozen”).68

          (15)       On April 14, 2021, Slavitt emailed Facebook executive Nick Clegg (“Clegg”) with

 a message expressing displeasure with Facebook’s failure to censor Tucker Carlson. Slavitt stated,

 “Not for nothing but the last time we did this dance, it ended in an insurrection.”69 The subject line

 was “Tucker Carlson anti-vax message.”70 Clegg responded the same day with a detailed report

 about the Tucker Carlson post, stating that the post did not qualify for removal under Facebook




 64
    [Id. at 24–25]
 65
    [Id.]
 66
    [Id. at 24–25]
 67
    [Id. at 24]
 68
    [Id. at 25–27]
 69
    [Id. at 34]
 70
    Id. at 33]

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 policy but that the video was being labeled with a pointer to authoritative COVID-19 information,

 not being recommended to people, and that the video was being “demoted.”71

          After Brian Rice (“Rice”) of Facebook forwarded the same report on the Tucker Carlson

 post to Flaherty on April 14, 2021, Flaherty responded to Rice wanting a more detailed explanation

 of why Facebook had not removed the Tucker Carlson video and questioning how the video had

 been “demoted” since there were 40,000 shares.72 Flaherty followed up six minutes later alleging

 Facebook provided incorrect information through Crowd Tangle.73

          Two days later, on April 16, 2021, Flaherty demanded immediate answers from Facebook

 regarding the Tucker Carlson video.74 Facebook promised to get something to him that night.

 Facebook followed up on April 21, 2021, with an additional response in regard to an apparent call

 from Flaherty (“thanks for catching up earlier”).75 Facebook reported the Tucker Carlson content

 had not violated Facebook’s policy, but Facebook gave the video a 50% demotion for seven days

 and stated that it would continue to demote the video.76

          (16)     On April 21, 2021, Flaherty, Slavitt, and other HHS officials, met with Twitter

 officials about “Twitter Vaccine Misinfo Briefing.” The invite stated the White House would be

 briefed by Twitter on vaccine information, trends seen generally about vaccine information, the

 tangible effects seen from recent policy changes, what interventions were being implemented,

 previous policy changes, and ways the White House could “partner” in product work.77




 71
    [Id. at 36]
 72
    [Id. at 33–34]
 73
    [Id.]
 74
    [Id. at 33]
 75
    [Id.]
 76
    [Id. at 33, 36]
 77
    [Doc. No. 71-7 at 86].

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        Twitter discovery responses indicated that during the meeting, White House officials

 wanted to know why Alex Berenson (“Berenson”) had not been “kicked off” Twitter. 78 Slavitt

 suggested Berenson was “the epicenter of disinfo that radiated outwards to the persuadable

 public.”79 Berenson was suspended thereafter on July 16, 2021, and was permanently de-

 platformed on August 28, 2021.80

        (17)    Also on April 21, 2021, Flaherty, Slavitt, and Fitzpatrick had a meeting with several

 YouTube officials. The invitation stated the purpose of this meeting was for the White House to

 be briefed by YouTube on general trends seen around vaccine misinformation, the effects of

 YouTube’s efforts to combat misinformation, interventions YouTube was trying, and ways the

 White House can “partner” in product work.81

        In an April 22, 2021, email, Flaherty provided a recap of the meeting and stated his concern

 that misinformation on YouTube was “shared at the highest (and I mean the highest) levels of the

 White House.”82 Flaherty indicated that the White House remains concerned that YouTube is

 “funneling people into hesitancy and intensifying people’s vaccine hesitancy.”83 Flaherty further

 shared that “we” want to make sure YouTube has a handle on vaccine hesitancy and is working

 toward making the problem better.84 Flaherty again noted vaccine hesitancy was a concern that is

 shared by the highest (“and I mean the highest”) levels of the White House.85

        Flaherty further indicated that the White House was coordinating with the Stanford Internet

 Observatory (which was operating the Virality Project): “Stanford” has mentioned that it’s recently



 78
    [Doc. No. 212-14 at 2–5]
 79
    [Id.]
 80
    [Doc. No. 212-14, Exh. J, at 2–5]
 81
    [Doc. No. 212-15, Exh. K, at 1–4] SEALED DOCUMENT
 82
    [Doc. No. 174-1 at 39-40]
 83
    [Id.]
 84
    [Id.]
 85
    [Doc. No. 174-1 at 39–40]

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                                  26811



 Vaccine Passports and J&J pause-related stuff, but I’m not sure if that reflects what you’re

 seeing.”86 Flaherty praised YouTube for reducing distribution of content: “I believe you said you

 reduced watch time by 70% on borderline content, which is impressive.”87 However, Flaherty

 followed up with additional demands for more information from YouTube. Flaherty emphasized

 that the White House wanted to make sure YouTube’s work extends to the broader problem of

 people viewing “vaccine-hesitant content.”88 Flaherty also suggested regular meetings with

 YouTube (“Perhaps bi-weekly”) as they have done with other “platform partners.”89

         (18)     On April 23, 2021, Flaherty sent Facebook an email including a document entitled

 “Facebook COVID-19 Vaccine Misinformation Brief” (“the Brief”), which indicated that

 Facebook plays a major role in the spread of COVID vaccine misinformation and found that

 Facebook’s policy and enforcement gaps enable misinformation to spread. 90 The Brief

 recommended much more aggressive censorship of Facebook’s enforcement policies and called

 for progressively severe penalties. The Brief further recommended Facebook stop distributing anti-

 vaccine content in News Feed or in group recommendations. The Brief also called for “warning

 screens” before linking to domains known to promote vaccine misinformation.91 Flaherty noted

 sending this Brief was not a White House endorsement of it, but “this is circulating around the

 building and informing thinking.”92

         On May 1, 2021, Facebook’s Clegg sent an email to Slavitt indicating Facebook and the

 White House met recently to “share research work.”93 Clegg apologized for not catching and



 86
    [Id. at 39]
 87
    [Id.]
 88
    [Doc. No. 214-1 at 39–40]
 89
    [Id. at 39–40]
 90
    [Doc. No. 214-14 at 2–3]
 91
    [Id.]
 92
    [Doc. No. 214-14 at 2–3, Jones Declaration]
 93
    [Doc. No. 214-1]

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 censoring three pieces of vaccine content that went viral and promised to censor such content more

 aggressively in the future:

                  I wanted to send you a quick note on the three pieces of vaccine
                  content that were seen by a high number of people before we
                  demoted them. Although they don’t violate our community
                  standards, we should have demoted them before they went viral, and
                  this has exposed gaps in our operational and technical process.

 Notably, these three pieces of information did not violate Facebook’s policies. Clegg told Slavitt

 that Facebook teams had spent the past twenty-four hours analyzing gaps in Facebook and were

 making several changes next week.94

         Clegg listed—in bold—demands that the White House had made in a recent meeting and

 provided a response to each. The demands were: a) address Non-English mis/disinformation

 circulating without moderation; b) do not distribute or amplify vaccine hesitancy, and Facebook

 should end group recommendations for groups with a history of COVID-19 or vaccine

 misinformation; c) monitor events that host anti-vaccine and COVID disinformation; and d)

 address twelve accounts that were responsible for 73% of vaccine misinformation.95 Facebook

 noted that it was scrutinizing these accounts and censoring them whenever it could, but that most

 of the content did not violate Facebook’s policies.96 Facebook referred to its new policy as their

 “Dedicated Vaccine Discouraging Entities.”97 Facebook even suggested that too much censorship

 might be counterproductive and drive vaccine hesitancy: “Among experts we have consulted, there

 is a general sense that deleting more expressions of vaccine hesitancy might be more




 94
    [Doc. No. 214-1 at ¶ 116].
 95
    [Doc. No. 174-1 at 41–42]
 96
    [Doc. No. 174-1 at 41–42].
 97
    [Id.]

                                                 21
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 counterproductive to the goal of vaccine uptake because it could prevent hesitant people from

 talking through their concerns and potentially reinforce the notion that there’s a ‘cover-up.’”98

         (19)     On May 5, 2021, then-White House Press Secretary Jen Psaki (“Psaki”) publicly

 began pushing Facebook and other social-media platforms to censor COVID-19 misinformation.

 At a White House Press Conference, Psaki publicly reminded Facebook and other social-media

 platforms of the threat of “legal consequences” if they do not censor misinformation more

 aggressively. Psaki further stated: “The President’s view is that the major platforms have a

 responsibility related to the health and safety of all Americans to stop amplifying untrustworthy

 content, disinformation, and misinformation, especially related to COVID-19 vaccinations and

 elections.”99 Psaki linked the threat of a “robust anti-trust program” with the White House’s

 censorship demand. “He also supports better privacy protections and a robust anti-trust program.

 So, his view is that there’s more that needs to be done to ensure that this type of misinformation;

 disinformation; damaging, sometime life-threatening information, is not going out to the American

 public.”100

         The next day, Flaherty followed up with another email to Facebook and chastised Facebook

 for not catching various COVID-19 misinformation. Flaherty demanded more information about

 Facebook’s efforts to demote borderline content, stating, “Not to sound like a broken record, but

 how much content is being demoted, and how effective are you at mitigating reach, and how

 quicky?”101 Flaherty also criticized Facebook’s efforts to censor the “Disinformation Dozen”:




 98
    [Id. at 42]
 99
    [Doc. No. 266-6 at 374]
 100
     [Id.]
 101
     [Doc. No. 174-1 at 41]

                                                 22
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 “Seems like your ‘dedicated vaccine hesitancy’ policy isn’t stopping the disinfo-dozen – they’re

 being deemed as not dedicated – so it feels like that problem likely coming over to groups.”102

         Things apparently became tense between the White House and Facebook after that,

 culminating in Flaherty’s July 15, 2021 email to Facebook, in which Flaherty stated: “Are you

 guys fucking serious? I want an answer on what happened here and I want it today.”103

         (20)     On July 15, 2021, things became even more tense between the White House,

 Facebook, and other social-media platforms. At a joint press conference between Psaki and

 Surgeon General Murthy to announce the Surgeon General’s “Health Advisory on

 Misinformation,”104 Psaki announced that Surgeon General Murthy had published an advisory on

 health misinformation as an urgent public health crisis.105 Murthy announced: “Fourth, we’re

 saying we expect more from our technology companies. We’re asking them to operate with greater

 transparency and accountability. We’re asking them to monitor misinformation more closely.

 We’re asking them to consistently take action against misinformation super-spreaders on their

 platforms.”106Psaki further stated, “We are in regular touch with these social-media platforms, and

 those engagements typically happen through members of our senior staff, but also members of our

 COVID-19 team,” and “We’re flagging problematic posts for Facebook that spread

 disinformation.”107

         Psaki followed up by stating that the White House’s “asks” include four key steps by which

 social-media companies should: 1) measure and publicly share the impact of misinformation on




 102
     [Id.]
 103
     [Id. at 55]
 104
     [Doc. No. 210-1 at 16 (Waldo Depo, Exh. 10)]
 105
     [Id. at 162]
 106
     [Doc. No. 10-1 at 370]
 107
     [Id. at 376–77]

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 their platforms; 2) create a robust enforcement strategy; 3) take faster action against harmful posts;

 and 4) promote quality information sources in their feed algorithms.108

         The next day, on July 16, 2021, President Biden, after being asked what his message was

 to social-media platforms when it came to COVID-19, stated, “[T]hey’re killing people.”109

 Specifically, he stated “Look, the only pandemic we have is among the unvaccinated, and that

 they’re killing people.”110 Psaki stated the actions of censorship Facebook had already conducted

 were “clearly not sufficient.”111

         Four days later, on July 20, 2021, at a White House Press Conference, White House

 Communications Director Kate Bedingfield (“Bedingfield”) stated that the White House would be

 announcing whether social-media platforms are legally liable for misinformation spread on their

 platforms and examining how misinformation fits into the liability protection granted by Section

 230 of the Communications Decency Act (which shields social-media platforms from being

 responsible for posts by third parties on their sites).112 Bedingfield further stated the administration

 was reviewing policies that could include amending the Communication Decency Act and that the

 social-media platforms “should be held accountable.”113

         (21)     The public and private pressure from the White House apparently had its intended

 effect. All twelve members of the “Disinformation Dozen” were censored, and pages, groups, and

 accounts linked to the Disinformation Dozen were removed.114




 108
     [Id. at 377–78]
 109
     [Doc. No. 10-1 at 370]
 110
     [Id. at 436–37]
 111
     [Doc. No. 10-1 at 446]
 112
     [Doc. No. 10-1 at 477–78]
 113
     [Id.]
 114
     [Doc. No. 10-1 at 483–85]

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         Twitter suspended Berenson’s account within a few hours of President Biden’s July 16,

 2021 comments. 115 On July 17, 2021, a Facebook official sent an email to Anita B. Dunn

 (“Dunn”), Senior Advisor to the President, asking for ways to “get back into the White House’s

 good graces” and stated Facebook and the White House were “100% on the same team here in

 fighting this.”116

         (22)     On November 30, 2021, the White House’s Christian Tom (“Tom”) emailed

 Twitter requesting that Twitter watch a video of First Lady Jill Biden that had been edited to make

 it sound as if the First Lady were profanely heckling children while reading to them.117 Twitter

 responded within six minutes, agreeing to “escalate with the team for further review.”118 Twitter

 advised users that the video had been edited for comedic effect. Tom then requested Twitter apply

 a “Manipulated Media” disclaimer to the video.119 After Twitter told Tom the video was not subject

 to labeling under its policy, Tom disputed Twitter’s interpretation of its own policy and added

 Michael LaRosa (“LaRosa”), the First Lady’s Press Secretary, into the conversation. 120 Further

 efforts by Tom and LaRosa to censor the video on December 9, 13, and 17 finally resulted in the

 video’s removal in December 2021.121

         (23)     In January 2022, Facebook reported to Rowe, Murthy, Flaherty, and Slavitt that it

 had “labeled and demoted” vaccine humor posts whose content could discourage vaccination.122

 Facebook also reported to the White House that it “labeled and ‘demoted’ posts suggesting natural

 immunity to a COVID-19 infection is superior to vaccine immunity.”123 In January 2022, Jesse


 115
     [Doc. No. 214-12 at 2–5]
 116
     [Doc. No. 174-1 at 49]
 117
     [Doc. No. 174-1 at 59–67]
 118
     [Id.]
 119
     [Id.]
 120
     [Id.]
 121
     [Id. at 59–67]
 122
     [Doc. No. 71-3 at 10–11]
 123
     [Doc. No. 71-3 at 10–11]

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 Lee (“Lee”) of the White House sent an email accusing Twitter of calling the President a liar in

 regard to a Presidential tweet.124

          At a February 1, 2022, White House press conference, Psaki stated that the White House

 wanted every social-media platform to do more to call out misinformation and disinformation, and

 to uplift accurate information.125

          At an April 25, 2022, White House press conference, after being asked to respond to news

 that Elon Musk may buy Twitter, Psaki again mentioned the threat to social-media companies to

 amend Section 230 of the Communications Decency Act, linking these threats to social-media

 platforms’ failure to censor misinformation and disinformation.126

          On June 13, 2022, Flaherty demanded Meta continue to produce periodic COVID-19

 insight reports to track COVID-19 misinformation, and he expressed a concern about

 misinformation regarding the upcoming authorization of COVID-19 vaccines for children under

 five years of age. Meta agreed to do so on June 22, 2022.127

          (24)     In addition to misinformation regarding COVID-19, the White House also asked

 social-media companies to censor misinformation regarding climate change, gender discussions,

 abortion, and economic policy. At an Axios event entitled “A Conversation on Battling

 Misinformation,” held on June 14, 2022, the White House National Climate Advisor Gina

 McCarthy (“McCarthy”) blamed social-media companies for allowing misinformation and

 disinformation about climate change to spread and explicitly tied these censorship demands with

 threats of adverse legislation regarding the Communications Decency Act.128




 124
     [Doc. No. 174-1 at 69]
 125
     [Doc. No. 10-1 at 501–2]
 126
     [Id. at 62–63, ¶¶ 193–197]
 127
     [Doc. No. 71-3 at 5–6]
 128
     [Doc. No. 214-15]

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          On June 16, 2022, the White House announced a new task force to target “general

 misinformation” and disinformation campaigns targeted at women and LBGTQI individuals who

 are public and political figures, government and civic leaders, activists, and journalists.129 The

 June 16, 2022, Memorandum discussed the creation of a task force to reel in “online harassment

 and abuse” and to develop programs targeting such disinformation campaigns. 130 The

 Memorandum also called for the Task Force to confer with technology experts and again

 threatened social-media platforms with adverse legal consequences if the platforms did not censor

 aggressively enough.131

          On July 8, 2022, President Biden signed an Executive Order on protecting access to

 abortion. Section 4(b)(iv) of the order required the Attorney General, the Secretary of HHS, and

 the Chair of the Federal Trade Commission to address deceptive or fraudulent practices relating to

 reproductive healthcare services, including those online, and to protect access to accurate

 information.132

          On August 11, 2022, Flaherty emailed Twitter to dispute a note added by Twitter to one of

 President Biden’s tweets about gas prices.133

          (25)     On August 23, 2021, Flaherty emailed Facebook requesting a report on how

 Facebook intended to promote the FDA approval of the Pfizer vaccine. He also stated that the

 White House would appreciate a “push” and provided suggested language.134




 129
     [Doc. No. 214-15[
 130
     [Id.]
 131
     [Doc. No. 214-16]
 132
     [Doc. No. 214-18]
 133
     [Doc. No. 174-1 at 68]
 134
     [Id.]

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       B. Surgeon General Defendants135

         Surgeon General Murthy is the Surgeon General of the United States. Eric Waldo

 (“Waldo”) is the Senior Advisor to the Surgeon General and was formerly Chief Engagement

 Officer for the Surgeon General’s office. Waldo’s Deposition was taken as part of the allowed

 Preliminary Injunction-related discovery in this matter.136

         (1)      Waldo was responsible for maintaining the contacts and relationships with

 representatives of social-media platforms. Waldo did pre-rollout calls with Twitter, Facebook, and

 Google/YouTube before the Surgeon General’s health advisory on misinformation was published

 on July 15, 2021.137 Waldo admitted that Murthy used his office to directly advocate for social-

 media platforms to take stronger actions against health “misinformation” and that those actions

 involved putting pressure on social-media platforms to reduce the dissemination of health

 misinformation.138 Surgeon General Murthy’s message was given to social-media platforms both

 publicly and privately.139

         (2)      At a July 15, 2021 joint press conference between Psaki and Murthy, the two made

 the comments mentioned previously in II A(19), which publicly called for social-media platforms

 “to do more” to take action against misinformation super-spreaders.140 Murthy was directly

 involved in editing and approving the final work product for the July 15, 2021 health advisory on

 misinformation.141 Waldo also admitted that Murthy used his “bully pulpit” to talk about health

 misinformation and to put public pressure on social-media platforms.142



 135
     Surgeon General Defendants consists of Dr. Vivek H. Murthy (“Murthy”) and Katharine Dealy (“Dealy”).
 136
     [Doc. No. 210]
 137
     [Doc. No. 210 at 11, 20]
 138
     [Id. at 25, 28]
 139
     [Id. at 11, 20, 25, 28]
 140
     [Id. at 33–35]
 141
     [Waldo depo at 14–17]
 142
     [Id. at 29]

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          (3)       Waldo’s initial rollout with Facebook was negatively affected because of the public

 attacks by the White House and Office of the Surgeon General towards Facebook for allowing

 misinformation to spread.143 Clegg of Facebook reached out to attempt to request “de-escalation”

 and “working together” instead of the public pressure.144 In the call between Clegg and Murthy,

 Murthy told Clegg he wanted Facebook to do more to censor misinformation on its platforms.

 Murthy also requested Facebook share data with external researchers about the scope and reach of

 misinformation on Facebook’s platforms to better understand how to have external researchers

 validate the spread of misinformation.145 “Data about misinformation” was the topic of

 conversation in this call; DJ Patil, chief data scientist in the Obama Administration, Murthy,

 Waldo, and Clegg all participated on the call. The purpose of the call was to demand more

 information from Facebook about monitoring the spread of misinformation.146

          (4)       One of the “external researchers” that the Office of Surgeon General likely had in

 mind was Renee DiResta (“DiResta”) from the Stanford Internet Observatory, a leading

 organization of the Virality Project.147 The Virality Project hosted a “rollout event” for Murthy’s

 July 15, 2021 press conference.148

          There was coordination between the Office of the Surgeon General and the Virality Project

 on the launch of Murthy’s health advisory.149 Kyla Fullenwider (“Fullenwider”) is the Office of

 the Surgeon General’s key subject-matter expert who worked on the health advisory on

 misinformation. Fullenwider works for a non-profit contractor, United States’ Digital Response.150



 143
     [Id. at 91–94]
 144
     [Doc. No. 210 at 95–98]
 145
     [Id.]
 146
     [Doc. No. 210 at 95–98]
 147
     The Virality Project will be discussed later in greater detail.
 148
     [Id. at 36–38]
 149
     [Id. at 38]
 150
     [Id. at 39, 59, 85]

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 Waldo, Fullenwider, and DiResta were involved in a conference call after the July 15, 2021 press

 conference where they discussed misinformation.151 The Office of the Surgeon General anticipated

 that social-media platforms would feel pressured by the Surgeon General’s health advisory.152

          (5)       Waldo and the Office of the Surgeon General received a briefing from the Center

 for Countering Digital Hate (“CCDH”) about the “Disinformation Dozen.” CCDH gave a

 presentation about the Disinformation Dozen and how CCDH measured and determined that the

 Disinformation Dozen were primarily responsible for a significant amount of online

 misinformation.153

          (6)       In his deposition, Waldo discussed various phone calls and communications

 between Defendants and Facebook. In August of 2021, Waldo joined a call with Flaherty and Brian

 Rice of Facebook.154 The call was an update by Facebook about the internal action it was taking

 regarding censorship.155 Waldo was aware of at least one call between Murthy and Facebook in

 the period between President Biden’s election and assuming office, and he testified that the call

 was about misinformation.156 Waldo was also aware of other emails and at least one phone call

 where Flaherty communicated with Facebook.157

          (7)       The first meeting between the Office of the Surgeon General and social-media

 platforms occurred on May 25, 2021, between Clegg, Murthy, and Slavitt. The purpose of this call

 was to introduce Murthy to Clegg. Clegg emailed Murthy with a report of misinformation on

 Facebook on May 28, 2021.158



 151
     [Id.]
 152
     [Id. at 39, 59, 85]
 153
     [Id. at 43, 47]
 154
     [Id. at 66, 124–25]
 155
     [Id. at 66, 124–25]
 156
     [Id. at 55–56]
 157
     [Id. at 64–65]
 158
     [Doc. No. 210-4]

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          Policy updates about increasing censorship were announced by Facebook on May 27,

 2021.159 The Office of the Surgeon General had a pre-rollout (i.e., before the rollout of the Surgeon

 General’s health advisory on misinformation) call with Twitter and YouTube on July 12 and July

 14, 2021.160 The Office of the Surgeon General had a rollout call with Facebook on July 16, 2021.

 The July 16 call with Facebook was right after President Biden had made his “[T]hey’re killing

 people” comment (II A (19), above), and it was an “awkward call” according to Waldo.161

          Another call took place on July 23, 2021, between Murthy, Waldo, DJ Patil, Clegg, and

 Rice. Clegg shared more about the spread of information and disinformation on Facebook after

 the meeting. At the meeting, Murthy raised the issue of wanting to have a better understanding of

 the reach of misinformation and disinformation as it relates to health on Facebook; Murthy often

 referred to health misinformation in these meetings as “poison.”162 The Surgeon General’s health

 advisory explicitly called for social-media platforms to do more to control the reach of

 misinformation.163

          On July 30, 2021, Waldo had a meeting with Google and YouTube representatives. At the

 meeting, Google and YouTube reported to the Office of the Surgeon General what actions they

 were taking following the Surgeon General’s health advisory on misinformation.164

          On August 10, 2021, Waldo and Flaherty had a call with Rice calling for Facebook to

 report to federal officials as to Facebook’s actions to remove “disinformation” and to provide

 details regarding a vaccine misinformation operation Facebook had uncovered.165




 159
     [Id. at 78, Exh. 3]
 160
     [Id. at 85]
 161
     [Id.]
 162
     [Id. at 95–98, 101, 105]
 163
     [Id. at 107–08]
 164
     [Doc. No. 210-4 at 33]
 165
     [Id.]

                                                  31
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                                  26823



         Another meeting took place between Google/YouTube, Waldo, and Flaherty on September

 14, 2021, to discuss a new policy YouTube was working on and to provide the federal officials

 with an update on YouTube’s efforts to combat harmful COVID-19 misinformation on its

 platform.166

         (8)      After the meetings with social-media platforms, the platforms seemingly fell in line

 with the Office of Surgeon General’s and White House’s requests. Facebook announced policy

 updates about censoring misinformation on May 27, 2021, two days after the meeting.167 As

 promised, Clegg provided an update on misinformation to the Office of Surgeon General on May

 28, 2021, three days after the meeting168 and began sending bi-weekly COVID content reports on

 June 14, 2021.169

         On July 6, 2021, Waldo emailed Twitter to set up the rollout call for the Office of the

 Surgeon General’s health advisory on misinformation and told Twitter that Murthy had been

 thinking about how to stop the spread of health misinformation; that he knew Twitter’s teams were

 working hard and thinking deeply about the issue; and that he would like to chat over Zoom to

 discuss.170 Twitter ultimately publicly endorsed the Office of the Surgeon General’s call for greater

 censorship of health misinformation.171

         Waldo sent an email to YouTube on July 6, 2021, to set up the rollout call and to state that

 the Office of the Surgeon General’s purpose was to stop the spread of misinformation on social-

 media platforms.172 YouTube eventually adopted a new policy on combatting COVID-19




 166
     [Id. at 129]
 167
     [Doc. No. 210-1 at 138]
 168
     [Doc. No. 210-5 at 1–2]
 169
     [Doc. No. 210-6]
 170
     [Doc. No. 210-7 at 145–46]
 171
     [Id.]
 172
     [Doc. No. 210-8]

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                                  26824



 misinformation and began providing federal officials with updates on YouTube’s efforts to combat

 the misinformation.173

         (9)        At the July 15, 2021 press conference, Murthy described health misinformation as

 one of the biggest obstacles to ending the pandemic; insisted that his advisory was on an urgent

 public health threat; and stated that misinformation poses an imminent threat to the nation’s health

 and takes away the freedom to make informed decisions.174 Murthy further stated that health

 disinformation is false, inaccurate, or misleading, based upon the best evidence at the time.175

         Murthy also stated that people who question mask mandates and decline vaccinations are

 following misinformation, which results in illnesses and death.176 Murthy placed specific blame

 on social-media platforms for allowing “poison” to spread and further called for an “all-of-society

 approach” to fight health misinformation.177 Murthy called upon social-media platforms to operate

 with greater transparency and accountability, to monitor information more clearly, and to

 “consistently take action against misinformation super-spreaders on their platforms.”178 Notably,

 Waldo agreed in his deposition that the word “accountable” carries with it the threat of

 consequences.179 Murthy further demanded social-media platforms do “much, much, more” and

 take “aggressive action” against misinformation because the failure to do so is “costing people

 their lives.”180

         (10)       Murthy’s July 15, 2021 health advisory on misinformation blamed social-media

 platforms for the spread of misinformation at an unprecedented speed, and it blamed social-media



 173
     [Doc. No. 210-8].
 174
     [Doc. No. 210-11]
 175
     [Doc. No. 210-11]
 176
     [Doc. No. 210-11]
 177
     [Id.]
 178
     [Id.]
 179
     [Id.]
 180
     [Id.]

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                                  26825



 features and algorithms for furthering the spread.181 The health advisory further called for social-

 media platforms to enact policy changes to reduce the spread of misinformation, including

 appropriate legal and regulatory measures.182

            Under a heading entitled “What Technology Platforms Can Do,” the health advisory called

 for platforms to take a series of steps to increase and enable greater social-media censorship of

 misinformation, including product changes, changing algorithms to avoid amplifying

 misinformation, building in “frictions” to reduce the sharing of misinformation, and practicing the

 early detection of misinformation super-spreaders, along with other measures.183 The

 consequences for misinformation would include flagging problematic posts, suppressing the

 spread of the information, suspension, and permanent de-platforming.184

            (11)   The Office of the Surgeon General collaborated and partnered with the Stanford

 University Internet Observatory and the Virality Project. Murthy participated in a January 15, 2021

 launch of the Virality Project. In his comments, Murthy told the group, “We’re asking technology

 companies to operate with great transparency and accountability so that misinformation does not

 continue to poison our sharing platforms and we knew the government can play an important role,

 too.”185

            Murthy expressly mentioned his coordination with DiResta at the Virality Project and

 expressed his intention to maintain that collaboration. He claimed that he had learned a lot from

 the Virality Project’s work and thanked the Virality Project for being such a great “partner.”186




 181
     [Doc. No. 210-11]
 182
     [Id.]
 183
     [Id.]
 184
     [Id.]
 185
     [Doc. No. 210-13, Doc. No. 210, at 206–07].
 186
     [Doc. No. 210-1 at 213]

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                                  26826



 Murthy also stated that the Office of the Surgeon General had been “partnered with” the Stanford

 Internet Observatory for many months.187

         (12)     After President Biden’s “[T]hey’re killing people” comment on July 16, 2021,

 Facebook representatives had “sad faces” according to Waldo. On July 21, 2021, Facebook

 emailed Waldo and Fullenwider with CrowdTangle data and with “interventions” that created

 “frictions” with regard to COVID misinformation. The interventions also included limiting

 forwarding of WhatsApp messages, placing warning labels on fact-checked content, and creating

 “friction” when someone tries to share these posts on Facebook. Facebook also reported other

 censorship policy and actions, including censoring content that contributes to the risk of imminent

 physical harm, permanently banning pages, groups, and accounts that repeatedly broke Facebook’s

 COVID-19 misinformation rules, and reducing the reach of posts, pages, groups, and accounts that

 share other false claims “that do not violate our policies but may present misleading or

 sensationalized information about COVID-19 and vaccines.”188

         On July 16, 2021, Clegg emailed Murthy and stated, “I know our teams met today to better

 understand the scope of what the White House expects of us on misinformation going

 forward.”189On July 18, 2021, Clegg messaged Murthy stating “I imagine you and your team are

 feeling a little aggrieved—as is the [Facebook] team, it’s not great to be accused of killing

 people—but as I said by email, I’m keen to find a way to deescalate and work together

 collaboratively. I am available to meet/speak whenever suits.”190 As a result of this

 communication, a meeting was scheduled for July 23, 2021.191




 187
     [Doc. No. 210-1 at 213]
 188
     [Doc. No. 210-15]
 189
     [Doc. No. 210-16]
 190
     [Doc. No. 210-17]
 191
     [Doc. No. 210-18]

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                                  26827



         At the July 23, 2021 meeting, the Office of the Surgeon General officials were concerned

 about understanding the reach of Facebook’s data.192 Clegg even sent a follow-up email after the

 meeting to make sure Murthy saw the steps Facebook had been taking to adjust policies with

 respect to misinformation and to further address the “disinfo-dozen.”193 Clegg also reported that

 Facebook had “expanded the group of false claims that we remove, to keep up with recent trends

 of misinformation that we are seeing.”194 Further, Facebook also agreed to “do more” to censor

 COVID misinformation, to make its internal data on misinformation available to federal officials,

 to report back to the Office of the Surgeon General, and to “strive to do all we can to meet our

 ‘shared’ goals.”195

         Evidently, the promised information had not been sent to the Office of the Surgeon General

 by August 6, 2021, so the Office requested the information in a report “within two weeks.”196 The

 information     entitled    “How     We’re   Taking   Action   Against   Vaccine    Misinformation

 Superspreaders” was later sent to the Office of the Surgeon General. It detailed a list of censorship

 actions taken against the “Disinformation Dozen.”197 Clegg followed up with an August 20, 2021

 email with a section entitled “Limiting Potentially Harmful Misinformation,” which detailed more

 efforts to censor COVID-19 Misinformation.198 Facebook continued to report back to Waldo and

 Flaherty with updates on September 19 and 29 of 2021.199

         (13)     Waldo asked for similar updates from Twitter, Instagram, and Google/YouTube.200




 192
     [Id.]
 193
     [Id. at 4–5]
 194
     [Id.]
 195
     [Id.]
 196
     [Doc. No. 210-22 at 1–3]
 197
     [Doc. No. 210-21]
 198
     [Doc. No. 210-22 at 2]
 199
     [Doc. No. 210, Waldo depo. Exh 30, 31]
 200
     [Doc. No. 210, Waldo depo. at 257–58]

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          (14)     The Office of the Surgeon General also collaborated with the Democratic National

 Committee. Flaherty emailed Murthy on July 19, 2021, to put Murthy in touch with Jiore Craig

 (“Craig”) from the Democratic National Committee who worked on misinformation and

 disinformation issues.201 Craig and Murthy set up a Zoom meeting for July 22, 2021.

          (15)     After an October 28, 2021 Washington Post article stated that Facebook researchers

 had deep knowledge about how COVID-19 and vaccine misinformation ran through Facebook’s

 apps, Murthy issued a series of tweets from his official Twitter account indicating he was “deeply

 disappointed” to read this story, that health misinformation had harmed people’s health and cost

 lives, and that “we must demand Facebook and the rest of the social-media ecosystems take

 responsibility for stopping health misinformation on their platforms.”202 Murthy further tweeted

 that “we need transparency and accountability now.”203

          (16)     On October 29, 2021, Facebook asked federal officials to provide a “federal health

 contract” to dictate “what content would be censored on Facebook’s platforms.”204 Federal

 officials informed Facebook that the federal health authority that could dictate what content could

 be censored as misinformation was the CDC.205

          (17)     Murthy continued to publicly chastise social-media platforms for allowing health

 misinformation to be spread on their platforms. Murthy made statements on the following

 platforms: a December 21, 2021 podcast threatening to hold social-media platforms accountable

 for not censoring misinformation;206 a January 3, 2022 podcast with Alyssa Milano stating that

 “platformers need to step up to be accountable for making their spaces safer”;207 and a February


 201
     [Doc. No. 210, Exh. 22]
 202
     [Doc. No. 210, Exh. 31]
 203
     [Id.]
 204
     [Doc. No. 210, Exh. 33]
 205
     [Id.]
 206
     [Doc. No. 210, Exh. 38, Audio Transcript, at 7]
 207
     [Doc. No. 210–33]

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 14, 2022 panel discussion hosted by the Rockefeller Foundation, wherein they discussed that

 technology platforms enabled the speed, scale, and sophistication with which this misinformation

 was spreading.208

         On March 3, 2022, the Office of the Surgeon General issued a formal Request for

 Information (“RFI”), published in the Federal Register, seeking information from social-media

 platforms and others about the spread of misinformation.209 The RFI indicated that the Office of

 the Surgeon General was expanding attempts to control the spread of misinformation on social

 media and other technology platforms.210 The RFI also sought information about censorship

 policies, how they were enforced, and information about disfavored speakers.211The RFI was sent

 to Facebook, Google/YouTube, LinkedIn, Twitter, and Microsoft212 by Max Lesko (“Lesko”),

 Murthy’s Chief of Staff, requesting responses from these social-media platforms.213Murthy again

 restated social-media platforms’ responsibility to reduce the spread of misinformation in an

 interview with GQ Magazine.214 Murthy also specifically called upon Spotify to censor health

 information.215

       C. CDC Defendants216

         (1)       Crawford is the Director for The Division of Digital Media within the CDC Office

 of the Associate Director for Communications. Her deposition was taken pursuant to preliminary-




 208
     [Doc. No. 210–34]
 209
     [Doc. No. 32. Ex. 42, 87 Fed. Reg. 12712]
 210
     [Id.]
 211
     [Id.]
 212
     [Id. Exh. 46, 47, 48, 49, 50, 51]
 213
     [Id.]
 214
     [Id. Exh. 51]
 215
     [Exh. 52]
 216
     The CDC Defendants consist of the Centers for Disease Control & Prevention, Carol Crawford (“Crawford”), Jay
 Dempsey (“Dempsey”), Kate Galatas (“Galatas”), United States Census Bureau (“Census Bureau”), Jennifer
 Shopkorn (“Shopkorn”), the Department of Health and Human Services (“HHS”), Xavier Becerra (“Becerra”),
 Yolanda Byrd (“Byrd”), Christy Choi (“Choi”), Ashley Morse (“Morse”), and Joshua Peck (“Peck”).

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                                  26830



 injunction related discovery here.217 The CDC is a component of the Department of Health and

 Human Services (“HHS”); Xavier Becerra (“Becerra”) is the Secretary of HHS.218 Crawford’s

 division provides leadership for CDC’s web presence, and Crawford, as director, determines

 strategy and objectives and oversees its general work.219 Crawford was the main point of contact

 for communications between the CDC and social-media platforms.220

         Prior to the COVID-19 pandemic, Crawford only had limited contact with social-media

 platforms, but she began having regular contact post-pandemic, beginning in February and March

 of 2020.221 Crawford communicated with these platforms via email, phone, and meetings.222

         (2)      Facebook emailed State Department officials on February 6, 2020, that it had taken

 proactive and reactive steps to control information and misinformation related to COVID-19. The

 email was forwarded to Crawford, who reforwarded to her contacts on Facebook. 223 Facebook

 proposed to Crawford that it would create a Coronavirus page that would give information from

 trusted sources including the CDC. Crawford accepted Facebook’s proposal on February 7, 2020,

 and suggested the CDC may want to address “widespread myths” on the platform.224

         Facebook began sending Crawford CrowdTangle reports on January 25, 2021.

 CrowdTangle is a social-media listening tool for Meta, which shows themes of discussion on

 social-media channels. These reported on “top engaged COVID and vaccine-related content

 overall across Pages and Groups.”225 This CrowdTangle report was sent by Facebook to Crawford




 217
     [Doc. No. 205-1]
 218
     [Doc. No. 266-5 at 57–61]
 219
     [Doc. No. 205-1 at 11]
 220
     [Id. at 249]
 221
     [Id. at 16–18]
 222
     [Id. at 20]
 223
     [Doc. 205-3 at 3]
 224
     [Id. at 1–2]
 225
     [Id. at 49–52]

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 in response to a prior conversation with Crawford.226 The CDC had privileged access to

 CrowdTangle since early 2020.227

          Facebook emailed Crawford on March 3, 2020, that it intended to support the Government

 in its response to the Coronavirus, including a goal to remove certain information.228 Crawford

 and Facebook began having discussions about misinformation with Facebook in the Fall of 2020,

 including discussions of how to combat misinformation.229

          The CDC used CrowdTangle, along with Meltwater reports (used for all platforms), to

 monitor social media’s themes of discussion across platforms.230 Crawford recalls generally

 discussing misinformation with Facebook.231 Crawford added Census Bureau officials to the

 distribution list for CrowdTangle reports because the Census Bureau was going to begin working

 with the CDC on misinformation issues.232

          (3)      On January 27, 2021, Facebook sent Crawford a recurring invite to a “Facebook

 weekly sync with CDC.”233 A number of Facebook and CDC officials were included in the invite,

 and the CDC could invite other agencies as needed.234 The CDC had weekly meetings with

 Facebook.235

          (4)      On March 10, 2021, Crawford sent Facebook an email seeking information about

 “Themes that have been removed for misinfo.”236 The CDC questioned if Facebook had info on

 the types of posts that were removed. Crawford was aware that the White House and the HHS


 226
     [Doc. No. 205-1, Exh. 6 at 2]
 227
     [Id. at 49–52, 146–47]
 228
     [Doc. No. 205-4 at 1–2]
 229
     [Doc. No. 205-7 at 1–2]
 230
     [Doc. No. 205-1 at 154–55]
 231
     [Id. at 58]
 232
     [Id.]
 233
     [Doc. No. 205-1 at 226]
 234
     [Doc. No. 205-36]
 235
     Doc. No. 205-1 at 226]
 236
     [Doc. No. 205-44 at 2–3]

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                                  26832



 were also receiving similar information from Facebook.237 The HHS was present at meetings with

 social-media companies on March 1, 2021,238 and on April 21, 2021.239

         (5)      On March 25, 2021, Crawford and other CDC officials met with Facebook. In an

 email by Facebook prior to that meeting, Facebook stated it would present on COVID-19

 misinformation and have various persons present, including a Misinformation Manager and a

 Content-Manager official (Liz Lagone).240 Crawford responded, attaching a PowerPoint slide

 deck, stating “This is a deck Census would like to discuss and we’d also like to fit in a discussion

 of topic types removed from Facebook.”241 Crawford also indicated two Census Bureau officials,

 Schwartz and Shopkorn, would be present, as well as two Census Bureau contractors, Sam Huxley

 and Christopher Lewitzke.242

         The “deck” the Census Bureau wanted to discuss contained an overview of

 “Misinformation Topics” and included “concerns about infertility, misinformation about side

 effects, and claims about vaccines leading to deaths.”243 For each topic, the deck included sample

 slides and a statement from the CDC debunking the allegedly erroneous claim.244

         (6)      Crawford admits she began engaging in weekly meetings with Facebook,245 and

 emails verify that the CDC and Facebook were repeatedly discussing misinformation back and

 forth.246 The weekly meetings involved Facebook’s content-mediation teams. Crawford mainly

 inquired about how Facebook was censoring COVID-19 misinformation in these meetings.247


 237
     [Doc. No. 205-1 at 258–61]
 238
     Twitter with White House
 239
     Twitter with White House
 240
     [Doc. No. 205-1 at 103]
 241
     [Id.]
 242
     [Doc. No. 205-34 at 3]
 243
     [Id. at 4]
 244
     [Id. at 6–14]
 245
     [Doc. No. 205-1 at 68–69]
 246
     [Doc. No. 205-9 at 1–4]
 247
     [Doc. No. 205-1 at 68–69]

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         (7)      The CDC entered into an Intra-Agency Agreement (“IAA”) with the Census Bureau

 to help advise on misinformation. The IAA required that the Census Bureau provide reports to the

 CDC on misinformation that the Census Bureau tracked on social media.248 To aid in this endeavor,

 Crawford asked Facebook to allow the Census Bureau to be added to CrowdTangle.249

         (8)      After the March 2021 weekly meetings between Facebook, the CDC, and Census

 Bureau began, Crawford began to press Facebook on removing and/or suppressing

 misinformation. In particular, she stated, “The CDC would like to have more info… about what is

 being done on the amplification-side,” and the CDC “is still interested in more info on how you

 view or analyze the data on removals, etc.”250 Further, Crawford noted, “It looks like the posts

 from last week’s deck about infertility and side effects have all been removed. Were these

 evaluated by the moderation team or taken down for another reason?”251 Crawford also questioned

 Facebook about the CrowdTangle report showing local news coverage of deaths after receiving

 the vaccine and questioned what Facebook’s approach is for “adding labels” to those stories.252

         On April 13, 2021, Facebook emailed Crawford to propose enrolling CDC and Census

 Bureau officials in a special misinformation reporting channel; this would include five CDC

 officials and four Census Bureau officials. The portal was only provided to federal officials.253

         On April 23, 2021, and again on April 28, 2021, Crawford emailed Facebook about a

 Wyoming Department of Health report noting that the algorithms that Facebook and other social-

 media networks are using to “screen out postings of sources of vaccine misinformation” were also

 screening out valid public health messages.254


 248
     [Doc. No. 205-1 at 71–72, 110]
 249
     [Doc. No. 205-9 at 1]
 250
     [Doc. No. 205-9 at 2]
 251
     [Id.]
 252
     [Doc. No. 205-9 at 1]
 253
     [Doc. No. 205-11 at 2]
 254
     [Doc. No. 205-38 at 2]

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                                  26834



         On May 6, 2021, Crawford emailed Facebook a table containing a list of sixteen specific

 postings on Facebook and Instagram that contained misinformation.255 Crawford stated in her

 deposition that she knew when she “flagged” content for Facebook, they would evaluate and

 possibly censor the content.256 Crawford stated CDC’s goal in flagging information for Facebook

 was “to be sure that people have credible health information so that they can make the correct

 health decisions.”257 Crawford continued to “flag” and send misinformation posts to Facebook,

 and on May 19, 2021,258 Crawford provided Facebook with twelve specific claims.

         (9)      Facebook began to rely on Crawford and the CDC to determine whether claims

 were true or false. Crawford began providing the CDC with “scientific information” for Facebook

 to use to determine whether to “remove or reduce and inform.”259 Facebook was relying on the

 CDC’s “scientific information” to determine whether statements made on its platform were true

 or false.260 The CDC would respond to “debunk” claims if it had an answer.261 These included

 issues like whether COVID-19 had a 99.96% survival rate, whether COVID-19 vaccines cause

 bells’ palsy, and whether people who are receiving COVID-19 vaccines are subject to medical

 experiments.262

         Facebook content-mediation officials would contact Crawford to determine whether

 statements made on Facebook were true or false.263 Because Facebook’s content-moderation

 policy called for Facebook to remove claims that are false and can lead to harm, Facebook would




 255
     [Doc. No. 205-10 at 1–3]
 256
     [Doc. No. 205-1 at 88]
 257
     [Id.]
 258
     [Doc. No. 205-12 at 1]
 259
     [Id. at 2]
 260
     [Doc. No. 205-1 at 106]
 261
     [Id.]
 262
     [Doc. No. 205-12 at 1–2]
 263
     [Doc. No. 205-12 at 2]

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 remove and/or censor claims the CDC itself said were false.264 Questions by Facebook to the CDC

 related to this content-moderation included whether spike proteins in COVID-19 vaccines are

 dangerous and whether Guillain-Barre Syndrome or heart inflammation is a possible side effect of

 the COVID-19 vaccine.265 Crawford normally referred Facebook to CDC subject-matter experts

 or responded with the CDC’s view on these scientific questions.266

         (10)     Facebook continued to send the CDC biweekly CrowdTangle content insight

 reports, which included trending topics such as Door-to-Door Vaccines, Vaccine Side Effects,

 Vaccine Refusal, Vaccination Lawsuits, Proof of Vaccination Requirement, COVID-19 and

 Unvaccinated Individuals, COVID-19 Mandates, Vaccinating Children, and Allowing People to

 Return to Religious Services.267

         (11)     On August 19, 2021, Facebook asked Crawford for a Vaccine Adverse Event

 Reporting System (“VAERS”) meeting for the CDC to give Facebook guidance on how to address

 VAERS-related “misinformation.”268 The CDC was concerned about VAERS-related

 misinformation because users were citing VAERS data and reports to raise concerns about the

 safety of vaccines in ways the CDC found to be “misleading.”269 Crawford and the CDC followed

 up by providing written materials for Facebook to use.270 The CDC eventually had a meeting with

 Facebook about VAERS-related misinformation and provided two experts for this issue.271

         (12)     On November 2, 2021, a Facebook content-moderation official reached out to the

 CDC to obtain clarity on whether the COVID-19 vaccine was harmful to children. This was



 264
     [Doc. No. 205-26 at 1–4]
 265
     [Doc. No. 205-18]
 266
     [Doc. No. 205-1 at 140]
 267
     [Doc. No. 205-20 at 205–20]
 268
     [Doc. No. 205-21]
 269
     [Doc. No. 205-22]
 270
     [Doc. No. 205-21]
 271
     [Doc. No. 205-1 at 151–52]

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 following the FDA’s emergency use authorization (“EUA”) related to the COVID-19 vaccine.272

 In addition to the EUA issue for children, Facebook identified other claims it sought clarity on

 regarding childhood vaccines and vaccine refusals.273

          The following Monday, November 8, 2021, Crawford followed up with a response from

 the CDC, which addressed seven of the ten claims Facebook had asked the CDC to evaluate. The

 CDC rated six of the claims “False” and stated that any of these false claims could cause vaccine

 refusal.274

          The questions the CDC rated as “false” were:

                   1) COVID-19 vaccines weaken the immune system;
                   2) COVID-19 vaccines cause auto-immune diseases;
                   3) Antibody-dependent enhancement (“ADE”) is a side effect of COVID-19
                      vaccines;
                   4) COVID-19 vaccines cause acquired immunodeficiency syndrome (AIDS);
                   5) Breast milk from a vaccinated parent is harmful to babies/children; and
                   6) COVID-19 vaccines cause multi-system inflammatory syndrome in children
                      (MIS-C).

          (13)     On February 3, 2022, Facebook again asked the CDC for clarification on whether

 a list of claims were “false” and whether the claims, if believed, could contribute to vaccine

 refusals.275 The list included whether COVID-19 vaccines cause ulcers or neurodegenerative

 diseases such as Huntington’s and Parkinson’s disease; the FDA’s possible future issuance of an

 EUA to children six months to four years of age; and questions about whether the COVID-19

 vaccine causes death, heart attacks, autism, birth defects, and many others.276

          (14)     In addition to its communications with Facebook, the CDC and Census Bureau also

 had involvement with Google/YouTube. On March 18, 2021, Crawford emailed Google, with the


 272
     [Doc. 205-23 at 1–2]
 273
     [Id.]
 274
     [Doc. No. 205–24]
 275
     [Doc. No. 205-26 at 1]
 276
     [Id. at 1–4]

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 subject line “COVID Misinfo Project.” Crawford informed Google that the CDC was now working

 with the Census Bureau (who had been meeting with Google regularly) and wanted to set up a

 time to talk and discuss the “COVID Misinfo Project.”277 According to Crawford, the previous

 Census project referred to the Census’ work on combatting 2020 Census misinformation.278

         On March 23, 2021, Crawford sent a calendar invite for a March 24, 2021 meeting, which

 included Crawford and five other CDC employees, four Census Bureau employees, and six

 Google/YouTube officials.279 At the March 24, 2021 meeting, Crawford presented a slide deck

 similar to the one prepared for the Facebook meeting. The slide deck was entitled “COVID

 Vaccine Misinformation: Issue Overview” and included issues like infertility, side effects, and

 deaths. The CDC and the Census Bureau denied that COVID-19 vaccines resulted in infertility,

 caused serious side effects, or resulted in deaths. 280

         (15)    On March 29, 2021, Crawford followed up with Google about using their “regular

 4 p.m. meetings” to go over things with the Census.281 Crawford recalled that the Census was

 asking for regular meetings with platforms, specifically focused on misinformation.282 Crawford

 also noted that the reference to the “4 p.m. meeting” refers to regular biweekly meetings with

 Google, which “continues to the present day.”283 Crawford also testified she had similar regular

 meetings with Meta and Twitter, and previously had regular meetings with Pinterest. Crawford

 stated these meetings were mostly about things other than misinformation, but misinformation was

 discussed at the meetings.284



 277
     [Doc. No. 205-28]
 278
     [Doc. No. 205-1 at 175]
 279
     [Doc. No. 214-22 Jones Dec. Exh. T] SEALED DOCUMENT
 280
     [Id.] SEALED DOCUMENT
 281
     [Doc. No. 205-1 at 179–82]
 282
     [Doc. No. 205-1 at 184–85]
 283
     [Doc. No. 205-1 at 180]
 284
     [Id. at 181]

                                                   46
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        (16)    On May 10, 2021, Crawford emailed Facebook to establish “COVID BOLO” (“Be

 on The Lookout”) meetings. Google and YouTube were included.285 Crawford ran the BOLO

 meetings, and the Census Bureau official arranged the meetings and prepared the slide deck for

 each meeting.286

        The first BOLO meeting was held on May 14, 2021; the slide deck for the meeting was

 entitled “COVID Vaccine Misinformation: Hot Topics” and included five “hot topics” with a

 BOLO note for each topic. The five topics were: the vaccines caused “shedding”; a report made

 on VAERS that a two-year old child died from the vaccine; other alleged misleading information

 on VAERS reports; statements that vaccines were bioweapons, part of a depopulation scheme, or

 contain microchips; and misinformation about the eligibility of twelve to fifteen year old children

 for the vaccine.287 All were labeled as “false” by the CDC, and the potential impact on the public

 was a reduction of vaccine acceptance.

        The second BOLO meeting was held on May 28, 2021. The second meeting also contained

 a slide deck with a list of three “hot topics” to BOLO: that the Moderna vaccine was unsafe; that

 vaccine ingredients can cause people to become magnetic; and that the vaccines cause infertility

 or fertility-related issues in men. All were labeled as false by the CDC, and possibly impacted

 reduced vaccine acceptance.288

        A third BOLO meeting scheduled for June 18, 2021, was cancelled due to the new

 Juneteenth holiday. However, Crawford sent the slide deck for the meeting. The hot topics for this

 meeting were: that vaccine particles accumulate in ovaries causing fertility; that vaccines contain




 285
     [Doc. No. 205-40]
 286
     [Doc. No. 205-1 at 246, 265–66]
 287
     [Doc. No. 214-23 at 4–5] SEALED DOCUMENT
 288
     [Doc. No. 214-24 at 3–7] SEALED DOCUMENT

                                                 47
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 microchips; and because of the risk of blood clots to vaccinated persons, airlines were discussing

 a ban. All were labeled as false.289

        The goal of the BOLO meetings was to be sure credible information was out there and to

 flag information the CDC thought was not credible for potential removal.290

        On September 2, 2021, Crawford emailed Facebook and informed them of a BOLO for a

 small but growing area of misinformation: one of the CDC’s lab alerts was misinterpreted and

 shared via social media.291

        (17)    The CDC Defendants also had meetings and/or communications with Twitter. On

 April 8, 2021, Crawford sent an email stating she was “looking forward to setting up regular chats”

 and asked for examples of misinformation. Twitter responded.292

        On April 14, 2021, Crawford sent an email to Twitter giving examples of misinformation

 topics, including that vaccines were not FDA approved, fraudulent cures, VAERS data taken out

 of context, and infertility. The list was put together by the Census Bureau team.293

        On May 10, 2021, Crawford emailed Twitter to print out two areas of misinformation,

 which included copies of twelve tweets.294 Crawford informed Twitter about the May 14, 2021

 BOLO meeting and invited Twitter to participate. The examples of misinformation given at the

 meeting included: vaccine shedding; that vaccines would reduce the population; abnormal

 bleeding; miscarriages for women; and that the Government was lying about vaccines. In a




 289
     [Doc. No. 214-25 at 2–7] SEALED DOCUMENT
 290
     [Doc. No. 205-1 at 266]
 291
     [Doc. No. 205-22]
 292
     [Doc. No. 205-1 at 197, 205–33]
 293
     [Doc. No. 205-33]
 294
     [Doc. No. 205-34]

                                                 48
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                                  26840



 response, Twitter stated that at least some of the examples had been “reviewed and actioned.”295

 Crawford understood that she was flagging posts for Twitter for possible censorship.296

         Twitter additionally offered to enroll CDC officials in its “Partner Support Portal” to

 provide expedited review of content flagged for censorship.297 Crawford asked for instructions of

 how to enroll in the Partnership Support Portal and provided her personal Twitter account to enroll.

 Crawford was fully enrolled on May 27, 2021.298 Census Bureau contractor Christopher Lewitzke

 (“Lewitzke”) also requested to enroll in the Partner Support Portal.299

         Crawford also sent Twitter a BOLO for the alleged misinterpretation of a CDC lab

 report.300

         (18)     Crawford testified in her deposition that the CDC has a strong interest in tracking

 what its constituents are saying on social media.301 Crawford also expressed concern that if content

 were censored and removed from social-media platforms, government communicators would not

 know what the citizen’s “true concerns” were.302

       D. NIAID Defendants303

         The NIAID is a federal agency under HHS. Dr. Fauci was previously the Director of

 NIAID. Dr. Fauci’s deposition was taken as a part of the limited preliminary injunction discovery

 in this matter.304




 295
     [Id.]
 296
     [Doc. No. 205-1 at 211]
 297
     [Id. at 211–12]
 298
     [Id. at 211–18]
 299
     [Doc. No. 201-34 at 2]
 300
     [Doc. No. 201-35]
 301
     [Doc. No. 201-1 at 57–58]
 302
     [Id. at 75]
 303
     The NIAD Defendants consist of the National Institute of Allergy and Infectious Disease and Dr. Hugh Auchincloss
 (“Dr. Auchincloss”).
 304
     [Doc. No. 206]

                                                         49
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                                  26841



           1)      Dr. Fauci had been the director of the NIAID for over thirty-eight years and became

 Chief Medical Advisor to the President in early 2021.305 Dr. Fauci retired December 31, 2022.

           1. Lab-Leak Theory

           Plaintiffs set forth arguments that because NIAID had funded “gain-of-function”306

 research at Dr. Fauci’s direction at the Wuhan Institute of Virology (“Wuhan lab”) in Wuhan,

 China, Dr. Fauci sought to suppress theories that the SARS-CoV2 virus leaked from the Wuhan

 lab.307

           (1)     Plaintiffs allege that Dr. Fauci’s motive for suppressing the lab-leak theory was a

 fear that Dr. Fauci and NIAID could be blamed for funding gain-of-function research that created

 the COVID-19 pandemic. Plaintiffs allege Dr. Fauci participated in a secret call with other

 scientists on February 1, 2020, and convinced the scientists (who were proponents of the lab-leak

 theory) to change their minds and advocate for the theory that the COVID-19 virus originated

 naturally.308 A few days after the February 1, 2020 call, a paper entitled “The Proximal Origin of

 COVID-19” was published by Nature Medicine on March 17, 2020. The article concludes that

 SARS-CoV2 was not created in a lab but rather was naturally occurring.

           On February 2, 2020, Dr. Fauci told the other scientists that “given the concerns of so many

 people and the threat of further distortions on social media it is essential that we move quickly.

 Hopefully, we can get the WHO to convene.”309 Dr. Fauci emailed Dr. Tedros of the WHO and

 two senior WHO officials, urging WHO to quickly establish a working group to address the lab-

 leak theory. Dr. Fauci stated they should “appreciate the urgency and importance of this issue



 305
     [Doc. No. 206-1 at 10 (Deposition of Dr. Anthony S. Fauci)]
 306
     “Gain-of-function” research involves creating a potentially dangerous virus in a laboratory.
 307
     [Doc. No. 212-3 at 151–85]
 308
     [Id. at 165]
 309
     [Doc. No. 206-9 at 2]

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                                  26842



 given the gathering internet evident in the science literature and in mainstream and social media

 to the question of the origin of this virus.” Dr. Fauci also stated WHO needed to “get ahead of

 …the narrative of this and not reacting to reports which could be very damaging.”310 Numerous

 drafts of “The Proximal Origin of COVID-19” were sent to Dr. Fauci to review prior to the article

 being published in Nature Medicine.311

         (2)      On February 9, 2020, in a joint podcast with Dr. Peter Daszak of the Eco Health

 Alliance,312 both Drs. Fauci and Daszak discredited the lab-leak theory, calling it a “conspiracy

 theory.”313

         (3)      Three authors of “The Proximal Origins of SARS-CoV2,” Robert Garry, Kristian

 Anderson, and Ian Lipkin, received grants from NIH in recent years.314

         (4)      After “The Proximal Origins of SARS-CoV2” was completed and published in

 Nature Medicine, Dr. Fauci began discrediting the lab-leak theory. “This study leaves little room

 to refute a natural original for COVID-19.” “It’s a shining object (lab-leak theory) that will go

 away in times.”315

         At an April 17, 2020 press conference, when asked about the possibility of a lab-leak, Dr.

 Fauci stated, “There was a study recently that we can make available to you, where a group of

 highly qualified evolutionary virologists looked at the sequences there and the sequences in bats

 as they evolve. And the mutations that it took to get to the point where it is now is totally consistent




 310
      [Doc. No. 206-9 at 1]
 311
     [Doc. No. 206-13 at 1, 7-8; 206-11 at 2–3; and 206–20]
 312
      [Doc. No. 206-16 at 1]
 313
      [Doc. No. 206-16 at 1; 206-17 at 1]
 314
      [Doc. No. 214-30]
 315
      [Doc. No. 206-27 at 3–4]

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 with jump of a species from animal to a human.”316 “The Proximal Origin of SARS-CoV2” has

 since become one of the most widely read papers in the history of science.317

         (5)     Twitter and Facebook censored the lab-leak theory of COVID-19.318 However, Dr.

 Fauci claims he is not aware of any suppression of speech about the lab-leak theory on social

 media, and he claims he does not have a Twitter or Facebook account.319

         (6)     On March 15, 2020, Zuckerberg sent Dr. Fauci an email asking for coordination

 between Dr. Fauci and Facebook on COVID-19 messaging. Zuckerberg asked Dr. Fauci to create

 a video to be used on Facebook’s Coronavirus Information Hub, with Dr. Fauci answering

 COVID-19 health questions, and for Dr. Fauci to recommend a “point person” for the United States

 Government “to get its message out over the platform.”320

         Dr. Fauci responded the next day to Zuckerberg saying, “Mark your idea and proposal

 sounds terrific,” “would be happy to do a video for your hub,” and “your idea about PSAs is very

 exciting.” Dr. Fauci did three live stream Facebook Q&A’s about COVID-19 with Zuckerberg.321

         2. Hydroxychloroquine

         Plaintiffs further allege the NIAID and Dept. of HHS Defendants suppressed speech on

 hydroxychloroquine. On May 22, 2020, The Lancet published an online article entitled

 “Hydroxychloroquine or chloroquine with or without a macrolide for treatment of COVID-19: a

 multi-national registry analysis.”322 The article purported to analyze 96,032 patients to compare

 persons who did and did not receive this treatment. The study concluded that hydroxychloroquine



 316
     (Video of April 17, 2020, White House Coronavirus Task Force Briefing, at https://www.youtube.com/watch?
 v=brbArPX8=6I)
 317
     [Doc. No. 214-30]
 318
     [Doc. No. 206-32 at 1–2; Doc. No. 206-33 at 3]
 319
     [Doc. No. 206-1 at 210]
 320
     [Doc. No. 206-24 at 3]
 321
     [Doc. No. 201-1 at 177]
 322
     [Doc. No. 206-36 at 1]

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 and chloroquine were associated with decreased in-hospital survival and an increased frequency

 of ventricular arrhythmias when used for treatment of COVID-19.323

          Dr. Fauci publicly cited this study to claim that “hydroxychloroquine is not effective

 against coronavirus.”324 He then publicly began to discredit COVID-19 treatment with

 hydroxychloroquine and stated whether the treatment of COVID-19 by hydroxychloroquine was

 effective could only be judged by rigorous, randomized, double-blind, placebo-based studies. He

 testified the same on July 31, 2020, before the House Select Subcommittee on Coronavirus

 Crisis.325

          (2)    When America’s Frontline Doctors held a press conference criticizing the

 Government’s response to the COVID-19 pandemic and spouting the benefits of

 hydroxychloroquine in treating the coronavirus,326 Dr. Fauci made statements on Good Morning

 America327 and on Andrea Mitchell Reports328 that hydroxychloroquine is not effective in treating

 the coronavirus. Social-media platforms censored the America’s Frontline Doctors videos.

 Facebook, Twitter, and YouTube removed the video.329 Dr. Fauci does not deny that he or his staff

 at NIAID may have communicated with social-media platforms, but he does not specifically recall

 it.330

          3. The Great Barrington Declaration

          (1)    The GBD was published online on October 4, 2020. The GBD was published by

 Plaintiffs Dr. Bhattacharja of Stanford and Dr. Kulldorff of Harvard, along with Dr. Gupta of



 323
     [Id.]
 324
     [Doc. No. 206-35 at 1]
 325
     https://www.youtube.com/watch?v=RUNCSOQD2UE
 326
     [Doc. No. 207-2 at 5]
 327
     [Doc. No. 207-1 at 2]
 328
     [Doc. No. 207-1 at 2–3]
 329
     [Doc. No. 207-2 at 6]
 330
     [Doc. No. 206-1 at 238]

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 Oxford. The GBD is a one-page treatise opposing reliance on lockdowns and advocating for an

 approach to COVID-19 called “focused protection.”331 It criticized the social distancing and

 lockdown approaches endorsed by government experts. The authors expressed grave concerns

 about physical and mental health impacts of current government COVID-19 lockdown policies

 and called for an end to lockdowns.332

 (2)     On October 8, 2020, Dr. Francis Collins emailed Dr. Fauci (and Cliff Lane) stating:

                  Hi Tony and Cliff, See https://gbdeclaration.org/. This proposal
                  from the three fringe epidemiologists who met with the Secretary
                  seems to be getting a lot of attention – and even a co-signature from
                  Nobel Prize winner Mike Leavitt at Stanford. There needs to be a
                  quick and devastating published take down of its premises. I don’t
                  see anything like that online yet- is it underway? Francis.333

 The same day, Dr. Fauci wrote back to Dr. Collins stating, “Francis: I am pasting in below a piece

 from Wired that debunks this theory. Best, Tony.”334

         Dr. Fauci and Dr. Collins followed up with a series of public media statements attacking

 the GBD. In a Washington Post story run on October 14, 2020, Dr. Collins described the GBD and

 its authors as “fringe” and “dangerous.”335 Dr. Fauci consulted with Dr. Collins before he talked

 to the Washington Post.336 Dr. Fauci also endorsed these comments in an email to Dr. Collins,

 stating “what you said was entirely correct.”337

         On October 15, 2020, Dr. Fauci called the GBD “nonsense” and “dangerous.”338 Dr. Fauci

 specifically stated, “Quite frankly that is nonsense, and anybody who knows anything about




 331
     [Doc. No. 207-5 at 3]
 332
     [Id.]
 333
     [Doc. No. 207-6]
 334
     [Doc. No. 207-7]
 335
     [Doc. No. 207-9]
 336
     [Doc. No. 206-1 at 272]
 337
     [Doc. No. 207-10]
 338
     [Doc. No. 207-11 at 1]

                                                    54
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 epidemiology will tell you that is nonsense and very dangerous.”339 Dr. Fauci testified “it’s

 possible that” he coordinated with Dr. Collins on his public statements attacking the GBD.340

         (3)      Social-media platforms began censoring the GBD shortly thereafter. In October

 2020, Google de-boosted the search results for the GBD so that when Google users googled “Great

 Barrington Declaration,” they would be diverted to articles critical of the GBD, and not to the GBD

 itself.341 Reddit removed links to the GBD.342 YouTube updated its terms of service regarding

 medical “misinformation,” to prohibit content about vaccines that contradicted consensus from

 health authorities.343 Because the GBD went against a consensus from health authorities, its

 content was removed from YouTube. Facebook adopted the same policies on misinformation

 based upon public health authority recommendations.344 Dr. Fauci testified that he could not recall

 anything about his involvement in seeking to squelch the GBD.345

         (4)      NIAID and NIH staff sent several messages to social-media platforms asking them

 to remove content lampooning or criticizing Dr. Fauci. When a Twitter employee reached out to

 CDC officials asking if a particular account associated with Dr. Fauci was “real or not,” 346 Scott

 Prince of NIH responded, “Fake/Imposter handle. PLEASE REMOVE!!!”347 An HHS official

 then asked Twitter if it could “block” similar parody accounts: “Is there anything else you can also

 do to block other variations of his (Dr. Fauci’s) name from impersonation so we don’t have this




 339
     [Id. at 3]
 340
     [Doc. No. 206-1 at 279]
 341
     [Doc. No. 207-12 at 4]
 342
     [Id. at 4–5]
 343
     [Doc. No. 207-13 at 4–5]
 344
     [Doc. No. 207-15]
 345
     [Doc. No. 206-1 at 251–52, 255–58]
 346
     [Doc. No. 207-17 at 2]
 347
     [Id.]

                                                 55
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 occur again?”348 Twitter replied, “We’ll freeze this @handle and some other variations so no one

 can hop on them.”349

         On April 21, 2020, Judith Lavelle of NIAID emailed Facebook, copying Scott Prince of

 NIH and Jennifer Routh (“Routh”), and stated, “We wanted to flag a few more fake Dr. Fauci

 accounts on FB and IG for you I have reported them from NIAID and my personal FB account.”350

 Both Lavelle and Routh are members of Dr. Fauci’s communications staff.351 Six of the eight

 accounts listed were removed by Facebook on the same day.352

         (5)      On October 30, 2020, a NIAID staffer wrote an email connecting Google/YouTube

 with Routh, “so that NIAID and the ‘Google team’ could connect on vaccine communications-

 specifically misinformation.’”353 Courtney Billet (“Billet”), director of the Office of

 Communications and Government Relations of NIAID, was added by Routh, along with two other

 NIAID officials, to a communications chain with YouTube.354 Twitter disclosed that Dina Perry

 (“Perry”), a Public Affairs Specialist for NIAID, communicates or has communicated with Twitter

 about misinformation and censorship.355

         (6)      Dr. Fauci testified that he has never contacted a social-media company and asked

 them to remove misinformation from one of their platforms.356

         4. Ivermectin

         (8)      On September 13, 2021, Facebook emailed Carol Crawford of the CDC to ask

 whether the claim that “Ivermectin is effective in treating COVID is false, and if believed, could


 348
     [Id. at 1]
 349
     [Id.]
 350
     [Doc. No. 207-19 at 3]
 351
     [Doc. No. 206-1 at 308]
 352
     [Doc. No. 207-19 at 3]
 353
     [Doc. No. 207-20 at 1]
 354
     [Id.]
 355
     [Doc. No. 214-8 at 1]
 356
     [Doc. No. 206-1 at 151]

                                                 56
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 contribute to people refusing the vaccine or self-medicating.”357 The CDC responded the next day

 and advised Facebook that the claim that Ivermectin is effective in treating COVID is “NOT

 ACCURATE.”358 The CDC cited the NIH’s treatment guidelines for authority that the claims were

 not accurate.359

         5. Mask Mandates

         (9)      Plaintiffs maintain that Dr. Fauci initially did not believe masks worked, but he

 changed his stance. A February 4, 2020 email, in which Dr. Fauci responded to an email from

 Sylvia Burwell, stated, “the typical mask you buy in a drugstore is not really effective in keeping

 out the virus, which is small enough to pass through mankind.”360 Dr. Fauci stated that, at that

 time, there were “no studies” on the efficacy of masking to stop the spread.361 On March 31, 2020,

 Dr. Fauci forwarded studies showing that masking is ineffective.362

         Plaintiffs allege that Dr. Fauci’s position on masking changed dramatically on April 3,

 2020, when he became an advocate for universal mask mandates.363 Dr. Fauci testified his position

 changed in part because “evidence began accumulating that masks actually work in preventing

 acquisition and transmission,”364 although Dr. Fauci could not identify those studies.365




 357
     [Doc. No. 207-22 at 2]
 358
     [Id. at 1]
 359
     [Id.]
 360
     [Doc. No. 206-1 at 314]
 361
     [Id. at 316]
 362
     [Id. at 318]
 363
     [Id. at 317]
 364
     [Id.]
 365
     [Id. at 318]

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         6. Alex Berenson

         Alex Berenson (“Berenson”) was a former New York Times Science reporter and critic of

 government messaging about COVID-19 vaccines. He was de-platformed from Twitter on August

 28, 2021.366

         Dr. Fauci had previously sought to discredit Berenson publicly during an interview with

 CNN.367 Dr. Fauci does not deny that he may have discussed Berenson with White House or federal

 officials, but does not recall specifically whether he did so.368

                 E.      FBI Defendants369

         (1)     The deposition of Elvis Chan (“Chan”) was taken on November 29, 2021.370 Chan

 is the Assistant Special Agent in charge of the Cyber Branch for the San Francisco Division of the

 FBI.371 In this role, Chan was one of the primary people communicating with social-media

 platforms about disinformation on behalf of the FBI. There are also other agents on different cyber

 squads, along with the FBI’s private sector engagement squad, who relay information to social-

 media platforms.372

         Chan graduated from the Naval Postgraduate School in 2020 with a M.A. in Homeland

 Security Studies.373 His thesis was entitled, “Fighting Bears and Trolls. An Analysis of Social

 Media Companies and U.S. Government Efforts to Combat Russian Influence Campaigns During

 the 2020 U.S. Elections.”374 His thesis focuses on information sharing between the FBI, Facebook,



 366
     [Doc. No. 207-23 at 4]
 367
     [Doc. No. 207-24 at 1–2]
 368
     [Doc. No. 206-1 at 341–43]
 369
     FBI Defendants include Elvis Chan (“Chan”), the Federal Bureau of Investigation (“FBI”), Lauren Dehmlow
 (“Dehmlow”), and the U.S. Department of Justice (“DOJ”).
 370
     [Doc. No. 204-1]
 371
     [Id. at 8]
 372
     [Id. at 105]
 373
     [Id. at 10]
 374
     [Doc. No. 204-2 at 1]

                                                     58
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 Google, and Twitter.375 Chan relied on research performed by persons and entities comprising the

 Election Integrity Partnership, including Graphika,376 and DiResta of the Stanford Internet

 Observatory. Chan communicated directly with DiResta about Russian disinformation.377

         Chan also knows Alex Stamos (“Stamos”), the head of the Stanford Internet Observatory,

 from when Stamos worked for Facebook.378 Chan and Stamos worked together on “malign-

 foreign-influence activities, on Facebook.”379

         (2)      Chan stated that the FBI engages in “information sharing” with social-media

 companies about content posted on their platforms, which includes both “strategic-level

 information” and “tactical information.”380

         (3)      The FBI, along with Facebook, Twitter, Google/YouTube, Microsoft, Yahoo!,

 Wikimedia Foundation, and Reddit, participate in a Cybersecurity and Infrastructure Security

 Agency (“CISA”) “industry working group.”381 Representatives of CISA, the Department of

 Homeland Security’s Intelligence & Analysis Division (“I&A”), the Office of Director of National

 Intelligence (“ODNI”), the FBI’s FITF, the Dept. of Justice National Security Division, and Chan

 participate in these industry working groups.382

         Chan participates in the meetings because most social-media platforms are headquartered

 in San Francisco, and the FBI field offices are responsible for maintaining day-to-day relationships

 with the companies headquartered in its area of responsibility.383




 375
     [Id. at 18]
 376
     [Doc. No. 204-1 at 145]
 377
     [Doc. No. 204-1 at 51–52, 85]
 378
     [Id. at 54]
 379
     [Id at 55]
 380
     [Id. at 16–19]
 381
     [Id. at 18, 23–24]
 382
     [Id. at 24, 171]
 383
     [Id. at 24]

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          Matt Masterson (“Masterson”) was the primary facilitator in the meetings for the 2022

 election cycle, and Brian Scully (“Scully”) was the primary facilitator ahead of the 2022

 election.384 At the USG-Industry (“the Industry”) meetings, social-media companies shared

 disinformation content, providing a strategic overview of the type of disinformation they were

 seeing. The FBI would then provide strategic, unclassified overviews of things they were seeing

 from Russian actors.385

          The Industry meetings were “continuing” at the time Chan’s deposition was taken on

 November 23, 2022, and Chan assumes the meetings will continue through the 2024 election

 cycle.386

          (4)          Chan also hosted bilateral meetings between FBI and Facebook, Twitter,

 Google/YouTube, Yahoo!/Verizon, Microsoft/LinkedIn, Wikimedia Foundation and Reddit,387

 and the Foreign Influence Task Force.388 In the Industry meetings, the FBI raised concerns about

 the possibility of “hack and dump” operations during the 2020 election cycle.389 The bilateral

 meetings are continuing, occurring quarterly, but will increase to monthly and weekly nearer the

 elections.390

          In the Industry meetings, FBI officials meet with senior social-media platforms in the “trust

 and safety or site integrity role.” These are the persons in charge of enforcing terms of service and

 content-moderation policies.391 These meetings began as early as 2017.392 At the Industry




 384
     [Id. at 25–26]
 385
     [Id. at 156–57]
 386
     [Id. at 285–86]
 387
     [Id. at 23–24]
 388
     [Id. at 39]
 389
     [Id.]
 390
     [Id. at 40]
 391
     [Id. at 43–44]
 392
     [Id. at 87–89]

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 meetings, in addition to Chan and Laura Dehmlow (“Dehmlow”), head of the FITF, between three

 and ten FITF officials and as high as a dozen FBI agents are present.393

         (5)      On September 4, 2019, Facebook, Google, Microsoft, and Twitter along with the

 FITF, ODNI, and CISA held a meeting to discuss election issues. Chan attended, along with

 Director Krebs, Masterson, and Scully. Social media’s trust and safety on content-moderation

 teams were also present. The focus of the meeting was to discuss with the social-media companies

 the spread of “disinformation.”394

         (6)      Discovery obtained from LinkedIn contained 121 pages of emails between Chan,

 other FBI officials, and LinkedIn officials.395 Chan testified he has a similar set of communications

 with other social-media platforms.396

         (7)      The FBI communicated with social-media platforms using two alternative,

 encrypted channels, Signal and Teleporter.397

         (8)      For each election cycle, during the days immediately preceding and through

 election days, the FBI maintains a command center around the clock to receive and forward reports

 of “disinformation” and “misinformation.” The FBI requests that social-media platforms have

 people available to receive and process the reports at all times.398

         (9)      Before the Hunter Biden Laptop story breaking prior to the 2020 election on

 October 14, 2020, the FBI and other federal officials repeatedly warned industry participants to be

 alert for “hack and dump” or “hack and leak” operations.399




 393
     [Id. at 109–10]
 394
     [Id. at 151]
 395
     [Doc. No. 204-3]
 396
     Doc. No. 204-1 at 288]
 397
     [Id. at 295–296]
 398
     [Id. at 301]
 399
     [Doc. No. 204-1 at 172, 232–34]

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          Dehmlow also mentioned the possibility of “hack and dump” operations.400 Additionally,

 the prospect of “hack and dump” operations was repeatedly raised at the FBI-led meetings with

 FITF and the social-media companies, in addition to the Industry meetings.401

          Social-media platforms updated their policies in 2020 to provide that posting “hacked

 materials” would violate their policies. According to Chan, the impetus for these changes was the

 repeated concern about a 2016-style “hack-and-leak” operation.402 Although Chan denies that the

 FBI urged the social-media platforms to change their policies on hacked material, Chan did admit

 that the FBI repeatedly asked the social-media companies whether they had changed their policies

 with regard to hacked materials403 because the FBI wanted to know what the companies would do

 if they received such materials.404

          (10)     Yoel Roth (“Roth”), the then-Head of Site Integrity at Twitter, provided a formal

 declaration on December 17, 2020, to the Federal Election Commission containing a

 contemporaneous account of the “hack-leak-operations” at the meetings between the FBI, other

 natural-security agencies, and social-media platforms.405 Roth’s declaration stated:

                   Since 2018, I have had regular meetings with the Office of the
                   Director of National Intelligence, the Department of Homeland
                   Security, the FBI, and industry peers regarding election security.
                   During these weekly meetings, the federal law enforcement
                   agencies communicated that they expected “hack-and-leak”
                   operations by state actors might occur during the period shortly
                   before the 2020 presidential election, likely in October. I was told in
                   these meetings that the intelligence community expected that
                   individuals associated with political campaigns would be subject to
                   hacking attacks and that material obtained through those hacking
                   attacks would likely be disseminated over social-media platforms,
                   including Twitter. These expectations of hack-and-leak operations

 400
     [Id. at 175]
 401
     [Id. at 177–78]
 402
     [Id. at 205]
 403
     [Id. at 206]
 404
     [Id. at 249]
 405
     [Doc. No. 204-5, ¶¶ 10-11, at 2–3]

                                                     62
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                  were discussed through 2020. I also learned in these meetings that
                  there were rumors that a hack-and-leak operation would involve
                  Hunter Biden.406

         Chan testified that, in his recollection, Hunter Biden was not referred to in any of the CISA

 Industry meetings.407 The mention of “hack-and-leak” operations involving Hunter Biden is

 significant because the FBI previously received Hunter Biden’s laptop on December 9, 2019, and

 knew that the later-released story about Hunter Biden’s laptop was not Russian disinformation.408

         In Scully’s deposition,409 he did not dispute Roth’s version of events.410

         Zuckerberg testified before Congress on October 28, 2020, stating that the FBI conveyed

 a strong risk or expectation of a foreign “hack-and-leak” operation shortly before the 2020 election

 and that the social-media companies should be on high alert. The FBI also indicated that if a trove

 of documents appeared, they should be viewed with suspicion.411

         (11)     After the Hunter Biden laptop story broke on October 14, 2020, Dehmlow refused

 to comment on the status of the Hunter Biden laptop in response to a direct inquiry from Facebook,

 although the FBI had the laptop in its possession since December 2019.412

         The Hunter Biden laptop story was censored on social media, including Facebook and

 Twitter.413 Twitter blocked users from sharing links to the New York Post story and prevented

 users who had previously sent tweets sharing the story from sending new tweets until they deleted




 406
     (emphasis added)
 407
     [Doc. No. 204-1 at 213, 227–28].
 408
     [Doc. No. 106-3 at 5–11]
 409
     [Doc. No. 209]
 410
     [Id. at 247]
 411
     [Doc. 204-6 at 56]
 412
     [Doc. No. 204-1 at 215]
 413
     [Doc. No. Doc 204-5 at ¶ 17]

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 the previous tweet.414 Further, Facebook began reducing the story’s distribution on the platform

 pending a third-party fact-check.415

          (12)     Chan further testified that during the 2020 election cycle, the United States

 Government and social-media companies effectively limited foreign influence companies through

 information sharing and account takedowns.416 Chan’s thesis also recommended standardized

 information sharing and the establishment of a national coordination center.

          According to Chan, the FBI shares this information with social-media platforms as it relates

 to information the FBI believes should be censored.417 Chan testified that the purpose and

 predictable effect of the tactical information sharing was that social-media platforms would take

 action against the content in accordance with their policies.418 Additionally, Chan admits that

 during the 2020 election cycle, the United States Government engaged in information sharing with

 social-media companies.419 The FBI also shared “indicators” with state and local government

 officials.420

          Chan’s thesis includes examples of alleged Russian disinformation, which had a number

 of reactions and comments from Facebook users, including an anti-Hillary Clinton post, a secure-

 border post, a Black Lives Matter post, and a pro-Second Amendment post.421

          Chan also identified Russian-aligned websites on which articles were written by freelance

 journalists. A website called NADB, alleged to be Russian-generated, was also identified by the

 FBI, and suppressed by social-media platforms, despite such content being drafted and written by



 414
     [Id.]
 415
     [Doc. No. 204-6 at 2]
 416
     [Doc. No. 204-2 at 3]
 417
     [Id.]
 418
     [Id. at 32–33]
 419
     [Id. at 19]
 420
     [Id. at 50]
 421
     [Id.]

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 American users on that site.422 The FBI identified this site to the social-media companies that took

 action to suppress it.423

         (13)     “Domestic disinformation” was also flagged by the FBI for social-media platforms.

 Just before the 2020 election, information would be passed from other field offices to the FBI 2020

 election command post in San Francisco. The information sent would then be relayed to the social-

 media platforms where the accounts were detected.424 The FBI made no attempt to distinguish

 whether those reports of election disinformation were American or foreign.425

         Chan testified the FBI had about a 50% success rate in having alleged election

 disinformation taken down or censored by social-media platforms.426 Chan further testified that

 although the FBI did not tell the social-media companies to modify their terms of service, the FBI

 would “probe” the platforms to ask for details about the algorithms they were using427 and what

 their terms of service were.428

         (14)     Chan further testified the FBI identifies specific social-media accounts and URLs

 to be evaluated “one to five times a month”429 and at quarterly meetings.430 The FBI would notify

 the social-media platforms by sending an email with a secure transfer application within the FBI

 called a “Teleporter.” The Teleporter email contains a link for them to securely download the files

 from the FBI.431 The emails would contain “different types of indicators,” including specific




 422
     [Id. at 144–46]
 423
     [Doc. No. 204-1 at 141-43]
 424
     [Id. at 162]
 425
     [Id. at 163]
 426
     [Id. at 167]
 427
     [Id. at 88]
 428
     [Id. at 92]
 429
     [Id. at 96]
 430
     [Id. at 98]
 431
     [Id.]

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 social-media accounts, websites, URLs, email accounts, and the like, that the FBI wanted the

 platforms to evaluate under their content-moderation policies.432

          Most of the time, the emails flagging the misinformation would go to seven social-media

 platforms. During 2020, Chan estimated he sent out these emails from one to six times per month

 and in 2022, one to four times per month. Each email would flag a number that ranged from one

 to dozens of indicators.433 When the FBI sent these emails, it would request that the social-media

 platforms report back on the specific actions taken as to these indicators and would also follow up

 at the quarterly meetings.434

          (15)     At least eight FBI agents at the San Francisco office, including Chan, are involved

 in reporting disinformation to social-media platforms.435 In addition to FBI agents, a significant

 number of FBI officials from the FBI’s Foreign Influence Task Force also participate in regular

 meetings with social-media platforms about disinformation.436

          Chan testified that the FBI uses its criminal-investigation authority, national-security

 authority, the Foreign Intelligence Surveillance Act, the PATRIOT Act, and Executive Order

 12333 to gather national security intelligence to investigate content on social media.437

          Chan believes with a high degree of confidence that the FBI’s identification of “tactical

 information” was accurate and did not misidentify accounts operated by American citizens.438

 However, Plaintiffs identified tweets and trends on Twitter, such as #ReleasetheMemo in 2019,

 and indicated that 929,000 tweets were political speech by American citizens.439



 432
     [Id. at 99]
 433
     [Id. at 100–01]
 434
     [Id. at 102–03]
 435
     [Id. at 105–08]
 436
     [Id. at 108]
 437
     [Id. at 111–12]
 438
     [Id. at 112]
 439
     [Doc. No. 204-2 at 71]

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         (16)     Chan testified that he believed social-media platforms were far more aggressive in

 taking down disfavored accounts and content in the 2018 and 2020 election cycles.440 Chan further

 thinks that pressure from Congress, specifically the House Permanent Select Committee on

 Intelligence and the Senate Select Committee on Intelligence, resulted in more aggressive

 censorship policies.441 Chan also stated that congressional hearings placed pressure on the social-

 media platforms.442

         Chan further testified that Congressional staffers have had meetings with Facebook,

 Google/YouTube, and Twitter and have discussed potential legislation.443 Chan spoke directly

 with Roth of Twitter, Steven Slagle of Facebook, and Richard Salgado of Google, all of whom

 participated in such meetings.444

         (17)     Chan testified that 3,613 Twitter accounts and 825 Facebook accounts were taken

 down in 2018. Chan testified Twitter took down 422 accounts involving 929,000 tweets in 2019.445

         (18)     Chan testified that the FBI is continuing its efforts to report disinformation to

 social-media companies to evaluate for suppression and/or censorship.446 “Post-2020, we’ve never

 stopped…as soon as November 3 happened in 2020, we just pretty much rolled into preparing for

 2022.”447




 440
     [Id. at 115–16]
 441
     [Id. at 116]
 442
     [Id. at 117–18]
 443
     [Id. at 118]
 444
     [Id. at 123–26]
 445
     [Id. at 133–34, 149–50]
 446
     [Doc. No. 204-8 at 2–3]
 447
     [Doc. No. 204-8 at 2]

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       E. CISA Defendants448

         The deposition of Brian Scully was taken on January 12, 2023, as part of the injunction-

 related discovery in this matter.

         (1)     The CISA regularly meets with social-media platforms in several types of standing

 meetings. Scully is the chief of CISA’s Mis, Dis and Malinformation Team (“MDM Team”). Prior

 to President Biden taking office, the MDM Team was known as the “Countering Foreign Influence

 Task Force (“CFITF”).449 Protentis is the “Engagements Lead” for the MDM Team, and she is in

 charge of outreach and engagement to key stakeholders, interagency partners, and private sector

 partners, which includes social-media platforms. Scully performed Protentis’s duties while she

 was on maternity leave.450 Both Scully and Protentis have done extended detail at the National

 Security Council, where they work on misinformation and disinformation issues.451

         (2)     Scully testified that during 2020, the MDM Team did “switchboard work” on behalf

 of election officials. “Switchboarding” is a disinformation-reporting system provided by CISA that

 allows state and local election officials to identify something on social media they deem to be

 disinformation aimed at their jurisdiction. The officials would then forward the information to

 CISA, which would in turn share the information with the social-media companies.452

         The main idea, according to Scully, is that the information would be forwarded to social-

 media platforms, which would make decisions on the content based on their policies. 453 Scully

 further testified he decided in late April or early May 2022 not to perform switchboarding in 2022.


 448
      CISA Defendants consist of the Cybersecurity and Infrastructure Security Agency (“CISA”), Jen Easterly
 (“Easterly”), Kim Wyman (“Wyman”), Lauren Protentis (“Protentis”), Geoffrey Hale (“Hale”), Allison Snell
 (“Snell”), Brian Scully (“Scully”), the Department of Homeland Security (“DHS”), Alejandro Mayorkas
 (“Mayorkas”), Robert Silvers (“Silvers”), and Samantha Vinograd (“Vinograd”).
 449
     [Doc. No. 209-1 at 12]
 450
     [Id. at 18–20]
 451
     [Id. at 19]
 452
     [Id. at 16–17]
 453
     [Id. at 17]

                                                     68
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 However, the CISA website states the MDM Team serves as a “switchboard for routing

 disinformation concerns to social-media platforms.”454 The switchboarding activities began in

 2018.455

          (3)      The MDM Team continues to communicate regularly with social-media platforms

 in two different ways. The first way is called “Industry” meetings. The Industry meetings are

 regular sync meetings between government and industry, including social-media platforms.456 The

 second type of communication involves the MDM Team reviewing regular reports from social-

 media platforms about changes to their censorship policies or to their enforcement actions on

 censorship.457

          (4)      The Industry meetings began in 2018 and continue to this day. These meetings

 increase in frequency as each election nears. In 2022, the Industry meetings were monthly but

 increased to biweekly in October 2022.458

          Government participants in the USG-Industry meetings are CISA, the Department of

 Justice (“DOJ”), ODNI, and the Department of Homeland Security (“DHS”). CISA is typically

 represented by Scully and Hale. Scully’s role is to oversee and facilitate the meetings.459 Wyman,

 Snell, and Protentis also participate in the meetings on behalf of CISA. 460 On behalf of the FBI,

 FITF Chief Dehmlow, Chan, and others from different parts of the FBI participate.461

          In addition to the Industry meetings, CISA hosts at least two “planning meetings:” one

 between CISA and Facebook and an interagency meeting between CISA and other participating



 454
     [Doc. No. 209-19 at 3]
 455
     [Id.]
 456
     [Doc. No. 209-1 at 21]
 457
     [Id.]
 458
     [Id. at 24]
 459
     [Id. at 25]
 460
     [Id. at 28]
 461
     [Id. at 29]

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 federal agencies.462 The social-media platforms attending the industry meetings include Facebook,

 Twitter, Microsoft, Google/YouTube, Reddit, LinkedIn, and sometimes the Wikipedia

 Foundation.463 At the Industry meetings, participants discuss concerns about misinformation and

 disinformation. The federal officials report their concerns over the spread of disinformation. The

 social-media platforms in turn report to federal officials about disinformation trends, share high-

 level trend information, and repot the actions they are taking.464 Scully testified that the specific

 discussion of foreign-originating information is ultimately targeted at preventing domestic actors

 from engaging in this information.465

           (5)         CISA has established relationships with researchers at Stanford University, the

 University of Washington, and Graphika.466 All three are involved in the Election Integrity

 Partnership (“EIP”).467

           When the EIP was starting up, CISA interns came up with the idea of having some

 communications with the EIP. CISA began having communications with the EIP, and CISA

 connected the EIP with the Center for Internet Security (“CIS”). The CIS is a CISA-funded, non-

 profit that channels reports of disinformation from state and local government officials to social-

 media platforms. The CISA interns who originated the idea of working with the EIP also worked

 for the Stanford Internet Observatory, another part of the EIP. CISA had meetings with Stanford

 Internet Observatory officials, and eventually both sides decided to work together.468 The “gap”




 462
     [Id. at 36–37]
 463
     [Id. at 39]
 464
     [Id. at 39–41]
 465
     [Id. at 41]
 466
     [Id. at 46, 48]
 467
     [Id. at 48]
 468
     [Id. at 49–52]

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 that the EIP was designed to fill concerned state and local officials’ lack of resources to monitor

 and report on disinformation that affects their jurisdictions.469

          (6)         The EIP continued to operate during the 2022 election cycle. At the beginning of

 the election cycle, the EIP gave Scully and Hale, on behalf of CISA, a briefing in May or June of

 2022.470 In the briefing, DiResta walked through what the plans were for 2022 and some lessons

 learned from 2020. The EIP was going to support state and local election officials in 2022.

          (7)         The CIS is a non-profit that oversees the Multi-State Information Sharing and

 Analysis Center (“MS-ISAC”) and the Election Infrastructure Information Sharing and Analysis

 Center (“EI-ISAC”). Both MS-ISAC and EI-ISAC are organizations of state and/or local

 government officials created for the purpose of information sharing.471

          CISA funds the CIS through a series of grants. CISA also directs state and local officials

 to the CIS as an alternative route to “switchboarding.”472 CISA connected the CIS with the EIP

 because the EIP was working on the same mission,473 and it wanted to make sure they were all

 connected. Therefore, CISA originated and set up collaborations between local government

 officials and CIS and between the EIP and CIS.

          (8)         CIS worked closely with CISA in reporting misinformation to social-media

 platforms. CIS would receive the reports directly from election officials and would forward this

 information to CISA. CISA would then forward the information to the applicable social-media

 platforms. CIS later began to report the misinformation directly to social-media platforms.474




 469
     [Id. at 57]
 470
     [Id. at 53–54]
 471
     [Id. at 59–61]
 472
     [Id. at 61–62]
 473
     [Id. at 62–63]
 474
     [Id. at 63–64]

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         The EIP also reported misinformation to social-media platforms. CISA served as a

 mediating role between CIS and EIP to coordinate their efforts in reporting misinformation to the

 platforms. There were also direct email communications between the EIP and CISA about

 reporting misinformation.475 When CISA reported misinformation to social-media platforms,

 CISA would generally copy the CIS, who, as stated above, was coordinating with the EIP.476

         (9)     Stamos and DiResta of the Stanford Internet Observatory briefed Scully about the

 EIP report, “The Long Fuse,”477 in late Spring or early Summer of 2021. Scully also reviewed

 copies of that report. Stamos and DiResta also have roles in CISA: DiResta serves as “Subject

 Matter Expert” for CISA’s Cybersecurity Advisory Committee, MDM Subcommittee, and Stamos

 serves on the CISA Cybersecurity Advisory Committee, as does Kate Starbird (“Starbird”) of the

 University of Washington.478 Stamos identified the EIP’s “partners in government” as CISA, DHS,

 and state and local officials.479 Also, according to Stamos, the EIP targeted “large following

 political partisans who were spreading misinformation intentionally.”480

         (10)    CISA’s Masterson was also involved in communicating with the EIP.481 Masterson

 and Scully questioned EIP about their statements on election-related information. Sanderson left

 CISA in January 2021, was a fellow at the Stanford Internet Observatory, and began working for

 Microsoft in early 2022.482




 475
     [Id. at 63–66]
 476
     [Id. at 67–68]
 477
     [Doc. 209-2]
 478
     [Doc. No. 209-1, at 72, 361; Doc. No. 212-36 at 4 (Jones Deposition-SEALED DOCUMENT)]
 479
     [Doc. No. 209-4 at 4]
 480
     [Scully depo. Exh. at l7]
 481
     [Doc. No. 209-1 at 76]
 482
     [Id. at 88–89]

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         (11)     CISA received misinformation principally from two sources: the CIS directly from

 state and local election officials; and information sent directly to a CISA employee.483 CISA shared

 information with the EIP and the CIS.484

         (12)     CISA did not do an analysis to determine what percentage of misinformation was

 “foreign derived.” Therefore, CISA forwards reports of information to social-media platforms

 without determining whether they originated from foreign or domestic sources.485

         (13)     The Virality Project was created by the Stanford Internet Observatory to mimic the

 EIP for COVID.486 As previously stated, Stamos and DiResta of the Stanford Internet Observatory

 were involved in the Virality Project. Stamos gave Scully an overview of what they planned to do

 with the Virality Project, similar to what they did with the EIP.487 Scully also had conversations

 with DiResta about the Virality Project.488 DiResta noted the Virality Project was established on

 the heels of the EIP, following its success in order to support government health officials’ efforts

 to combat misinformation targeting COVID-19 vaccines.489

         (14)     According to DiResta, the EIP was designed to “get around unclear legal

 authorities, including very real First Amendment questions” that would arise if CISA or other

 government agencies were to monitor and flag information for censorship on social media.490

         (15)     The CIS coordinated with the EIP regarding online misinformation and reported it

 to CISA. The EIP was using a “ticketing system” to track misinformation.491 Scully asked the

 social-media platforms to report back on how they were handling reports of misinformation and


 483
     [Id. at 119–20]
 484
     [Id. at 120–21]
 485
     [Id. at 122–23]
 486
     [Id. at 134]
 487
     [Id. at 134–36]
 488
     [Id. at 139]
 489
     [Doc. No. 209-5 at 7]
 490
     [Id. at 4]
 491
     [Doc. No. 209-1 at 159]

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 disinformation received from CISA.492 CISA maintained a “tracking spreadsheet” of its

 misinformation reports to social-media platforms during the 2020 election cycle.493

         (16)     At least six members of the MDM team, including Scully, “took shifts” in the

 “switchboarding” operation reporting disinformation to social-media platforms; the others were

 Chad Josiah (“Josiah”), Rob Schaul (“Schaul”), Alex Zaheer (“Zaheer”), John Stafford

 (“Stafford”), and Pierce Lowary (“Lowary”). Lowary and Zaheer were simultaneously serving as

 interns for CISA and working for the Stanford Internet Observatory, which was the operating the

 EIP.494 Therefore, Zaheer and Lowary were simultaneously engaged in reporting misinformation

 to social-media platforms on behalf of both CISA and the EIP.495 Zaheer and Lowary were also

 two of the four Stanford interns who came up with the idea for the EIP.496

         (17)     The CISA switchboarding operation ramped up as the election drew near. Those

 working on the switchboarding operation worked tirelessly on election night.497 They would also

 “monitor their phones” for disinformation reports even during off hours so that they could forward

 disinformation to the social-media platforms.498

         (18)     As an example, Zaheer, when switchboarding for CISA, forwarded supposed

 misinformation to CISA’s reporting system because the user had claimed “mail-in voting is

 insecure” and that “conspiracy theories about election fraud are hard to discount.”499

         CISA’s tracking spreadsheet contains at least eleven entries of switchboarding reports of

 misinformation that CISA received “directly from EIP” and forwarded to social-media platforms



 492
     [Doc. No. 209-6 at 11]
 493
     [Doc. No. 209-1 at 165–66]
 494
     [Id. at 166–68, 183]
 495
     [Id.]
 496
     [Id. at 171, 184–85]
 497
     [Id. at 174–75]
 498
     [Id. at 75]
 499
     [Doc. No. 209-6 at 61–62]

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 to review under their policies.500 One of these reports was reported to Twitter for censorship

 because EIP “saw an article on the Gateway Pundit” run by Plaintiff Jim Hoft.501

           (19)   Scully admitted that CISA engaged in “informal fact checking” to determine

 whether a claim was true or not.502 CISA would do its own research and relay statements from

 public officials to help debunk postings for social-media platforms. In debunking information,

 CISA apparently always assumed the government official was a reliable source; CISA would not

 do further research to determine whether the private citizen posting the information was correct or

 not.503

           (20)   CISA’s switchboarding activities reported private and public postings. 504 Social-

 media platforms responded swiftly to CISA’s reports of misinformation.505

           (21)   CISA, in its interrogatory responses, disclosed five sets of recurring meetings with

 social-media platforms that involved discussions of misinformation, disinformation, and/or

 censorship of speech on social media.506 CISA also had bilateral meetings between CISA and the

 social-media companies.507

           (22)   Scully does not recall whether “hack and leak” or “hack and dump” operations were

 raised at the Industry meetings, but does not deny it either.508 However, several emails confirm

 that “hack and leak” operations were on the agenda for the Industry meeting on September 15,

 2020,509 and July 15, 2020.510


 500
     [Doc. No. 214-35 at 5–6, Column C]
 501
     [Id. at 4–5, Column F, Line 94]
 502
     CISA also became the “ministry of truth.”
 503
     [Doc. No. 209-1 at 220–22]
 504
     [Doc. No. 209-7 at 45–46]
 505
     [Doc. No. 209-1 at 291–94; 209–49]
 506
     [Doc. No. 209-9 at 38–40]
 507
     [Doc. No. 209-1 at 241]
 508
     [Id. at 236–37]
 509
     [Doc. No. 209-13 at 1]
 510
     [Doc. No. 209-14 at 16]

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         (23)     In the spring and summer of 2022, CISA’s Protentis requested that social-media

 platforms prepare a “one-page” document that sets forth their content-moderation rules511 that

 could then be shared with election officials—and which also included “steps for flagging or

 escalating MDM content” and how to report misinformation.512 Protentis referred to the working

 group (which included Facebook and CISA’s Hale) as “Team CISA.”513

         (24)     The Center for Internet Security continued to report misinformation to social-media

 platforms during the 2022 election cycle.514

         (25)     CISA has teamed up directly with the State Department’s Global Engagement

 Center (“GEC”) to seek review of social-media content.515 CISA also flagged for review parody

 and joke accounts.516 Social-media platforms report to CISA when they update their content-

 moderation policies to make them more restrictive.517 CISA publicly stated that it is expanding its

 efforts to fight disinformation-hacking in the 2024 election cycle.518

         (26)     A draft copy of the DHS’s “Quadrennial Homeland Security Review,” which

 outlines the department’s strategy and priorities in upcoming years, states that the department plans

 to target “inaccurate information” on a wide range of topics, including the origins of the COVID-

 19 pandemic, the efficacy of COVID-19 vaccines, racial justice, the United States’ withdrawal

 from Afghanistan, and the nature of the United States’ support of Ukraine.519




 511
     [Doc. No. 209-14]
 512
     [Doc. No. 209-15 at 41, 44–45]
 513
     [Doc. No. 209-15 at 39]
 514
     [Doc. No. 209-1 at 266]
 515
     [Doc. No. 209-15 at 1–2]
 516
     [Id. at 11–12]
 517
     [Id. at 9]
 518
     [Doc. No. 209-20 at 1–2]
 519
     [Doc. No. 209-23 at 1–4]

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         (27)     Scully also testified that CISA engages with the CDC and DHS to help them in

 their efforts to stop the spread of disinformation. The examples given were about the origins of the

 COVID-19 pandemic and Russia’s invasion of Ukraine.520

         (28)     On November 21, 2021, CISA Director Easterly reported that CISA is “beefing up

 its misinformation and disinformation team in wake of a diverse presidential election a

 proliferation of misleading information online.”521 Easterly stated she was going to “grow and

 strengthen” CISA’s misinformation and disinformation team. She further stated, “We live in a

 world where people talk about alternative facts, post-truth, which I think is really, really dangerous

 if people get to pick their own facts.”522

         Easterly also views the word “infrastructure” very expansively, stating, “[W]e’re in the

 business of protecting critical infrastructure, and the most critical is our ‘cognitive

 infrastructure.’”523 Scully agrees with the assessment that CISA has an expansive mandate to

 address all kinds of misinformation that may affect control and that could indirectly cause national

 security concerns.524

         On June 22, 2022, CISA’s cybersecurity Advisory Committee issued a Draft Report to the

 Director, which broadened “infrastructure” to include “the spread of false and misleading

 information because it poses a significant risk to critical function, like elections, public health,

 financial services and emergency responses.”525




 520
     [Doc. No. 209-1 at 323–25]
 521
     [Doc. No. 209-1 at 335–36]
 522
     [Doc. No. 209-18 at 1–2]
 523
     [Id.]
 524
     [Doc. No. 209-1 at 341]
 525
     [Doc. No. 209-25 at 1]

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         (29)     In September 2022, the CIS was working on a “portal” for government officials to

 report election-related misinformation to social-media platforms.526 That work continues today.527

       F. State Department Defendants528

         1. The GEC

         (1)      Daniel Kimmage is the Principal Deputy Coordinator of the State Department’s

 Global Engagement Center (“GEC”).529 The GEC’s front office and senior leadership meets with

 social-media platforms every few months, sometimes quarterly.530 The meetings focus on the

 “tools and techniques” of stopping the spread of disinformation on social media, but they rarely

 discuss specific content that is posted.531 Additionally, GEC has a “Technology Engagement

 Team” (“TET”) that also meets with social-media companies. The TET meets more frequently

 than the GEC.532

         (2)      Kimmage recalls two meetings with Twitter. At these meetings, the GEC would

 bring between five and ten people including Kimmage, one or more deputy coordinators, and team

 chiefs from the GEC and working-level staff with relevant subject-matter expertise.533 The GEC

 staff would meet with Twitter’s content-mediation teams, and the GEC would provide an overview

 of what it was seeing in terms of foreign propaganda and information. Twitter would then discuss

 similar topics.534




 526
     [Doc. No. 210-22]
 527
     [Id.]
 528
     The State Department Defendants consist of the United States Department of State, Leah Bray (“Bray”), Daniel
 Kimmage (“Kimmage’), and Alex Frisbie (“Frisbie”).
 529
     Kimmage’s deposition was taken and filed as [Doc. No. 208-1].
 530
     [Doc. No. 208-1 at 29, 32]
 531
     [Id. at 30]
 532
     [Id. at 37]
 533
     [Id. at 130–31]
 534
     [Id. at 133–36]

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          (3)      The GEC’s senior leadership also had similar meetings with Facebook and Google.

 Similar numbers of people were brought to these meetings by GEC, and similar topics were

 discussed. Facebook and Google also brought their content-moderator teams.535

          (4)      Samaruddin Stewart (“Stewart”) was the GEC’s Senior Advisor who was a

 permanent liaison in Silicon Valley for the purpose of meeting with social-media platforms about

 disinformation. Stewart set up a series of meetings with LinkedIn to discuss “countering

 disinformation” and to explore shared interests and alignment of mutual goals regarding the

 challenge.536

          (5)      The GEC also coordinated with CISA and the EIP. Kimmage testified that the GEC

 had a “general engagement” with the EIP.537

          (6)      On October 17, 2022, at an event at Stanford University, Secretary of State Anthony

 Blinken mentioned the GEC and stated that the State Department was “engaging in collaboration

 and building partnerships” with institutions like Stanford to combat the spread of propaganda.538

 Specifically, he stated, “We have something called the Global Engagement Center that’s working

 on this every single day.”539

          (7)      Like CISA, the GEC works through the CISA-funded EI-ISAC and works closely

 with the Stanford Internet Observatory and the Virality Project.




 535
     [Id. at 141–43]
 536
     [Id. at 159–60]
 537
     [Id. at 214–215]. The details surrounding the EIP are described in II 6(5)(6)(7)(8)(9)(10)(15) and (16). Scully Ex.
 1 details EIPS work carried out during the 2020 election.
 538
     [Doc. No. 208-17 at 5]
 539
     [Id.]

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          2. The EIP

          (8)      The EIP is partially-funded by the United States National Science Foundation

 through grants.540 Like its work with CISA, the EIP, according to DiResta, was designed to “get

 around unclear legal authorities, including very real First Amendment questions” that would arise

 if CISA or other government agencies were to monitor and flag information for censorship on

 social media.541

          The EIP’s focus was on understanding misinformation and disinformation in the social-

 media landscape, and it successfully pushed social-media platforms to adopt more restrictive

 policies about election-related speech in 2020.542

          The government agencies that work with and submit alleged disinformation to the EIP are

 CISA, the State Department Global Engagement Center, and the Elections Infrastructure

 Information Sharing and Analysis Center.543

          (9)      The EIP report further states that the EIP used a tiered model based on “tickets”

 collected internally and from stakeholders. The tickets also related to domestic speech by

 American citizens,544 including accounts belonging to media outlets, social-media influencers, and

 political figures.545 The EIP further emphasized that it wanted greater access to social-media

 platform’s internal data and recommended that the platforms increase their enforcement of

 censorship policies.546




 540
     [Id. at 17]
 541
     [Doc. No. 209-5 at 4]
 542
     [Doc. No. 209-5, Exh. 1; Ex. 4 at 7, Audio Tr. 4]
 543
     [Doc. No. 209-2 at 30]
 544
     [Id. at 11]
 545
     [Id. at 12]
 546
     [Id. at 14]

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          The EIP was formed on July 26, 2020, 100 days before the November 2020 election.547 On

 July 9, 2020, the Stanford Internet Observatory presented the EIP concept to CISA. The EIP team

 was led by Research Manager DiResta, Director Stamos and the University of Washington’s

 Starbird.548

          (10)        EIP’s managers both report misinformation to platforms and communicate with

 government partners about their misinformation reports.549 EIP team members were divided into

 tiers of on-call shifts. Each shift was four hours long and led by one on-call manager. The shifts

 ranged from five to twenty people. Normal scheduled shifts ran from 8:00 a.m. to 8:00 p.m.,

 ramping up to sixteen to twenty hours a day during the week of the election.550

          (11)        Social-media platforms that participated in the EIP were Facebook, Instagram,

 Google/YouTube, Twitter, TikTok, Reddit, Nextdoor, Discord, and Pinterest.551

          (12)        In the 2020 election cycle, the EIP processed 639 “tickets,” 72% of which were

 related to delegitimizing the election results.552 Overall, social-media platforms took action on

 35% of the URLs reported to them.553 One “ticket” could include an entire idea or narrative and

 was not always just one post.554 Less than 1% of the tickets related to “foreign interference.”555

          (13)        The EIP found that the Gateway Pundit was one of the top misinformation websites,

 allegedly involving the “exaggeration” of the input of an issue in the election process. The EIP did




 547
     [Id. at 20]
 548
     [Id.]
 549
     [Id. at 27–28]
 550
     [Id. at 28]
 551
     [Id. at 35]
 552
     [Id. at 45]
 553
     [Id. at 58]
 554
     [Id. at 27]
 555
     [Id. at 53]

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 not say that the information was false.556 The EIP Report cites The Gateway Pundit forty-seven

 times.557

         (14)     The GEC was engaging with the EIP and submitted “tickets.”558

         (15)     The tickets and URLs encompassed millions of social-media posts, with almost

 twenty-two million posts on Twitter alone.559 The EIP sometimes treats as “misinformation”

 truthful reports that the EIP believes “lack broader context.”560

         (16)     The EIP stated “influential accounts on the political right…were responsible for the

 most widely spread of false or misleading information in our data set.” 561 Further, the EIP stated

 the twenty-one most prominent report spreaders on Twitter include political figures and

 organizations, partisan media outlets, and social-media stars. Specifically, the EIP stated, “All 21

 of the repeat spreaders were associated with conservative or right-wing political views and support

 of President Trump.”562 The Gateway Pundit was listed as the second-ranked “Repeat Spreader of

 Election Misinformation” on Twitter. During the 2020 election cycle, the EIP flagged The

 Gateway Pundit in twenty-five incidents with over 200,000 retweets.563 The Gateway Pundit

 ranked above Donald Trump, Eric Trump, Breitbart News, and Sean Hannity.564

         The Gateway Pundit’s website was listed as the domain cited in the most “incidents”; its

 website content was tweeted by others in 29,209 original tweets and 840,740 retweets. 565 The

 Gateway Pundit ranked above Fox News, the New York Post, the New York Times, and the


 556
     [Id. at 51]
 557
     [Id. at 51, 74, 76, 101, 103, 110, 112, 145, 150–51, 153, 155–56, 172, 175, 183, 194–95, 206–09, 211–12, 214–16,
 and 226]
 558
     [Id. at 60]
 559
     [Id. at 201]
 560
     [Id. at 202]
 561
     [Id. at 204–05]
 562
     [Id. at 204–05]
 563
     [Id.]
 564
     [Id. at 246]
 565
     [Id. at 207]

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 Washington Post.566 The EIP report also notes that Twitter suspended The Gateway Pundit’s

 account on February 6, 2021, and it was later de-platformed entirely.567

          (17)     The EIP notes that “during the 2020 election, all of the major platforms made

 significant changes to election integrity policies—policies that attempted to slow the spread of

 specific narratives and tactics that could ‘potentially mislead or deceive the public.’” 568 The EIP

 was not targeting foreign disinformation, but rather “domestic speakers.”569 The EIP also indicated

 it would continue its work in future elections.570

          (18)     The EIP also called for expansive censorship of social-media speech into other

 areas such as “public health.”571

          (19)     The EIP stated that it “united government, academic, civil society, and industry,

 analyzing across platforms to address misinformation in real time.”572

          (20)     When asked whether the targeted information was domestic, Stamos answered, “It

 is all domestic, and the second point on the domestic, a huge part of the problem is well-known

 influences… you… have a relatively small number of people with very large followings who have

 the ability to go and find a narrative somewhere, pick it out of obscurity and … harden it into these

 narratives.”573

          Stamos further stated:

                   We have set up this thing called the Election Integrity Partnership,
                   so we went and hired a bunch of students. We’re working with the
                   University of Washington, Graphika, and DFR Lab and the vast,
                   vast majority we see we believe is domestic. And so, I think a much
                   bigger issue for the platforms is elite disinformation. The staff that

 566
     [Id.]
 567
     [Id. at 224]
 568
     [Id. at 229]
 569
     [Id. at 243–44]
 570
     [Id. at 243–44]
 571
     [Id. at 251]
 572
     [Id. at 259]
 573
     [Doc. No. 276-1 at 12]

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                 is being driven by people who are verified that are Americans who
                 are using their real identities.574

         (21)    Starbird of the University of Washington, who is on a CISA subcommittee and an

 EIP participant, also verified the EIP was targeting domestic speakers, stating:

                 Now fast forward to 2020, we saw a very different story around
                 disinformation in the U.S. election. It was largely domestic coming
                 from inside the United States… Most of the accounts perpetrating
                 this…. they’re authentic accounts. They were often blue check and
                 verified accounts. They were pundits on cable television shows that
                 were who they said they were … a lot of major spreaders were blue
                 check accounts, and it wasn’t entirely coordinated, but instead, it
                 was largely sort of cultivated and even organic in places with
                 everyday people creating and spreading disinformation about the
                 election.575

         3. The Virality Project

         (22)    The Virality Project targeted domestic speakers’ alleged disinformation relating to

 the COVID-19 vaccines.576 The Virality Project’s final report, dated April 26, 2022, lists DiResta

 as principal Executive Director and lists Starbird and Masterson as contributors.577

         According to the Virality Project, “vaccine mis-and disinformation was largely driven by

 a cast of recuring [sic] actors including long-standing anti-vaccine influencers and activists,

 wellness and lifestyle influence, pseudo medical influencers, conspiracy theory influencers, right-

 leaning political influencers, and medical freedom influencers.”578

         The Virality Project admits the speech it targets is primarily domestic, stating “Foreign …

 actor’s reach appeared to be far less than that of domestic actors.”579 The Virality Project also calls

 for more aggressive censorship of COVID-19 misinformation, calls for more federal agencies to


 574
     [Id.]
 575
     [Doc. No. 276-1 at 42]
 576
     [Doc. No. 209-3]; Memes, Magnets, Microchips, Narrative Dynamics Around COVID-19 Vaccines.
 577
     [Doc. No. 209-3 at 4]
 578
     [Id. at 9]
 579
     [Id.]

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 be involved through “cross-agency collaboration,”580 and calls for a “whole-of-society

 response.”581 Just like the EIP, the Virality Project states that it is “multistakeholder collaboration”

 that includes “government entities” among its key stakeholders.582 The Virality Project targets

 tactics that are not necessarily false, including hard-to-verify content, alleged authorization

 sources, organized outrage, and sensationalized/misleading headlines.583

           (23)       Plaintiff Hines of the Health Freedom Louisiana was flagged by the Virality Project

 to be a “medical freedom influencer” who engages in the “tactic” of “organized outrage” because

 she created events or in-person gatherings to oppose mask and vaccine mandates in Louisiana.584

           (24) The Virality Project also acknowledges that government “stakeholders,” such as

 “federal health agencies” and “state and local public health officials,” were among those that

 “provided tips” and “requests to access specific incidents and narratives.”585

           (25)       The Virality Project also targeted the alleged COVID-19 misinformation for

 censorship before it could go viral. “Tickets also enabled analysts to qualify tag platform or health

 sector partners to ensure their situational awareness of high-engagement material that appeared to

 be going viral, so that those partners could determine whether something might merit a rapid public

 or on-platform response.”586

           (26)       The Virality Project flagged the following persons and/or organizations as

 spreaders of misinformation:

         i.     Jill Hines and Health Freedom of Louisiana;587
        ii.     One America News;588

 580
     [Id. at 12]
 581
     [Id.]
 582
     [Id. at 17]
 583
     [Id. at 19]
 584
     [Id. at 9, 19]
 585
     [Id. at 24]
 586
     [Id. at 37]
 587
     [Id. at 59]
 588
     [Id. at 60]

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        iii.     Breitbart News;589
         iv.     Alex Berenson;590
          v.     Tucker Carlson;591
         vi.     Fox News;592
        vii.     Candace Owens;593
       viii.     The Daily Wire;594
         ix.     Robert F. Kennedy, Jr.;595
          x.     Dr. Simone Gold and America’s Frontline Doctors; and596
         xi.     Dr. Joyce Mercula.597

              (27)   The Virality Project recommends that the federal government implement a

 Misinformation and Disinformation Center of Excellence, housed within the federal government,

 which would centralize expertise on mis/disinformation within the federal government at CISA.598

       III.      LAW AND ANALYSIS

         A. Preliminary Injunction Standard

              An injunction is an extraordinary remedy never awarded of right. Benisek v. Lamone, 138

 U.S. 1942, 1943 (2018). In each case, the courts must balance the competing claims of injury and

 must consider the effect on each party of the granting or withholding of the requested relief. Winter

 v. Nat. Res. Def. Council, Inc., 555 U. S. 7, 24, 129 S. Ct. 365 (2008).

              The standard for an injunction requires a movant to show: (1) the substantial likelihood of

 success on the merits; (2) that he is likely to suffer irreparable harm in the absence of an injunction;

 (3) that the balance of equities tips in his favor; and (4) that an injunction is in the public interest.

 Benisek, 138 U.S. at 1944. The party seeking relief must satisfy a cumulative burden of proving



 589
     [Id.]
 590
     [Id. at 54, 57, 49, 50]
 591
     [Id. at 57]
 592
     [Id. at 91]
 593
     [Id. at 86, 92]
 594
     [Id.]
 595
     [Id.]
 596
     [Id. at 87–88]
 597
     [Id. at 87]
 598
     [Id. at 150]

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 each of the four elements enumerated before an injunction can be granted. Clark v. Prichard, 812

 F.2d 991, 993 (5th Cir. 1987). None of the four prerequisites has a quantitative value. State of Tex.

 v. Seatrain Int’l, S.A., 518 F.2d 175, 180 (5th Cir. 1975).

      B. Analysis

      As noted above, Plaintiffs move for a preliminary injunction against Defendants’ alleged

 violations of the Free Speech Clause of the First Amendment. Plaintiffs assert that they are likely

 to succeed on the merits of their First Amendment claims because Defendants have significantly

 encouraged and/or coerced social-media companies into removing protected speech from social-

 media platforms. Plaintiffs also argue that failure to grant a preliminary injunction will result in

 irreparable harm because the alleged First Amendment violations are continuing and/or there is a

 substantial risk that future harm is likely to occur. Further, Plaintiffs maintain that the equitable

 factors and public interest weigh in favor of protecting their First Amendment rights to freedom

 of speech. Finally, Plaintiffs move for class certification under Federal Rule of Civil Procedure 23.

      In response, Defendants maintain that Plaintiffs are unlikely to succeed on the merits for a

 myriad of reasons. Defendants also maintain that Plaintiffs lack Article III standing to bring the

 claims levied herein, that Plaintiffs have failed to show irreparable harm because the risk of future

 injury is low, and that the equitable factors and public interests weigh in favor of allowing

 Defendants to continue enjoying permissible government speech.

      Each argument will be addressed in turn below.

        1. Plaintiffs’ Likelihood of Success on the Merits

        For the reasons explained herein, the Plaintiffs are likely to succeed on the merits of their

 First Amendment claim against the White House Defendants, Surgeon General Defendants, CDC

 Defendants, FBI Defendants, NIAID Defendants, CISA Defendants, and State Department



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 Defendants. In ruling on a motion for Preliminary Injunction, it is not necessary that the applicant

 demonstrate an absolute right to relief. It need only establish a probable right. West Virginia

 Highlands Conservancy v. Island Creek Coal Co., 441 F.2d 232 (4th Cir. 1971). The Court finds

 that Plaintiffs here have done so.

                            a. Plaintiffs’ First Amendment Claims

          The Free Speech Clause prohibits only governmental abridgment of speech. It does not

 prohibit private abridgment of speech. Manhattan Community Access Corporation v. Halleck, 139

 S. Ct. 1921, 1928 (2019). The First Amendment, subject only to narrow and well-understood

 exceptions, does not countenance governmental control over the content of messages expressed

 by private individuals. Turner Broadcasting System, Inc. v. F.C.C., 512 U.S. 622, 641 (1994). At

 the heart of the First Amendment lies the principle that each person should decide for himself or

 herself the ideas and beliefs deserving of expression, consideration, and adherence. Id.

 Government action, aimed at the suppression of particular views on a subject that discriminates on

 the basis of viewpoint, is presumptively unconstitutional. The First Amendment guards against

 government action “targeted at specific subject matter,” a form of speech suppression known as

 “content-based discrimination.” National Rifle Association of America v. Cuomo, 350 F. Supp. 3d

 94, 112 (N.D. N.Y. 2018). The private party, social-media platforms are not defendants in the

 instant suit, so the issue here is not whether the social-media platforms are government actors,599

 but whether the government can be held responsible for the private platforms’ decisions.

          Viewpoint discrimination is an especially egregious form of content discrimination. The

 government must abstain from regulating speech when the specific motivating ideology or the

 perspective of the speaker is the rationale for the restriction. Rosenberger v. Rectors and Visitors


   This is a standard that requires the private action to be “fairly attributable to the state.” Lugar v. Edmondson Oil
 599

 Co., 457 U.S. 922 (1982).

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 of University of Virginia, 515 U.S. 819, 829 (1995). Strict scrutiny is applied to viewpoint

 discrimination. Simon & Schuster, Inc. v. Members of the New York State Crime Victim’s Board,

 505 U.S. 105 (1991). The government may not grant the use of a forum to people whose views it

 finds acceptable, but deny use to those wishing to express less favored or more controversial views.

 Police Department of Chicago v. Moseley, 408 U.S. 92, 96 (1972).

        If there is a bedrock principal underlying the First Amendment, it is that the government

 may not prohibit the expression of an idea simply because society finds the idea itself offensive or

 disagreeable. Matal v. Tam, 137 S. Ct. 1744, 1763 (2017); see also R.A.V. v. City of St. Paul, 505

 U.S. 377 (1996). The benefit of any doubt must go to protecting rather than stifling speech.

 Citizens United v. Federal Election Commission, 130 S. Ct. 876, 891 (2010).

                                i. Significant Encouragement and Coercion

        To determine whether Plaintiffs are substantially likely to succeed on the merits of their

 First Amendment free speech claim, Plaintiffs must prove that the Federal Defendants either

 exercised coercive power or exercised such significant encouragement that the private parties’

 choice must be deemed to be that of the government. Additionally, Plaintiffs must prove the speech

 suppressed was “protected speech.” The Court, after examining the facts, has determined that some

 of the Defendants either exercised coercive power or provided significant encouragement, which

 resulted in the possible suppression of Plaintiffs’ speech.

        The State (i.e., the Government) can be held responsible for a private decision only when

 it has exercised coercive power or has provided such “significant encouragement,” either overt or

 covert, that the choice must be deemed to be that of the State. Mere approval or acquiescence in

 the actions of a private party is not sufficient to hold the state responsible for those actions. Blum

 v. Yaretsky, 457 U.S. 991, 1004 (1982); Rendell-Baker v. Kohn, 457 U.S. 830, 1004–05 (1982);



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 National Broadcasting Co. Inc v. Communications Workers of America, Afl-Cio, 860 F.2d 1022

 (11th Cir. 1988); Focus on the Family v. Pinellas Suncoast Transit Authority, 344 F.3d 1213 (11th

 Cir. 2003); Brown v. Millard County, 47 Fed. Appx. 882 (10th Cir. 2002).

        In evaluating “significant encouragement,” a state may not induce, encourage, or promote

 private persons to accomplish what it is constitutionally forbidden to accomplish. Norwood v.

 Harrison, 413 U.S. at 465. Additionally, when the government has so involved itself in the private

 party’s conduct, it cannot claim the conduct occurred as a result of private choice, even if the

 private party would have acted independently. Peterson v. City of Greenville, 373 U.S. at 247–48.

 Further, oral, or written statements made by public officials could give rise to a valid First

 Amendment claim where the comments of a governmental official can reasonably be interpreted

 as intimating that some form of punishment or adverse regulatory action will follow the failure to

 accede to the official’s request. National Rifle Association of America, 350 F. Supp. 3d at 114.

 Additionally, a public official’s threat to stifle protected speech is actionable under the First

 Amendment and can be enjoined, even if the threat turns out to be empty. Backpage.com, LLC v.

 Dart, 807 F. 3d at 230–31.

        The Defendants argue that the “significant encouragement” test for government action has

 been interpreted to require a higher standard since the Supreme Court’s ruling in Blum v. Yaretsky,

 457 U.S. 991 (1982). Defendants also argue that Plaintiffs are unable to meet the test to show

 Defendants “significantly encouraged” social-media platforms to suppress free speech. Defendants

 further maintain Plaintiffs have failed to show “coercion” by Defendants to force social-media

 companies suppress protected free speech. Defendants also argue they made no threats but rather

 sought to “persuade” the social-media companies. Finally, Defendants maintain the private social-

 media companies made independent decisions to suppress certain postings.



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         In Blum, the Supreme Court held the Government “can be held responsible for a private

 decision only when it has exercised coercive power or has provided such significant

 encouragement, either overt or covert, that the choice in law must be deemed to be that of the

 state.” Blum, 457 U.S. at 1004. Defendants argue that the bar for “significant encouragement” to

 convert private conduct into state action is high. Defendants maintain that Blum’s language does

 not mean that the Government is responsible for private conduct whenever the Government does

 more than adopt a passive position toward it. Skinner v. Ry. Labor Execs. Ass’n., 489 U.S. 602,

 615 (1989).

         Defendants point out this is a question of degree: whether a private party should be deemed

 an agent or instrument of the Government necessarily turns on the “degree” of the Government’s

 participation in the private party’s activities. 489 U.S. at 614. The dispositive question is “whether

 the State has exercised coercive power or has provided such significant encouragement that the

 choice must in law be deemed to be that of the State.” VDARE Fund v. City of Colo. Springs, 11

 F.4th 1151, 1161 (10th Cir. 2021).

         The Supreme Court found there was not enough “significant encouragement” by the

 Government in American Manufacturers Mutual Ins. Co. v. Sullivan, 526 U.S. 40 (1999). This

 case involved the constitutionality of a Pennsylvania worker’s compensation statute that

 authorized, but did not require, insurers to withhold payments for the treatment of work-related

 injuries pending a “utilization” review of whether the treatment was reasonable and necessary. The

 plaintiffs’ argument was that by amending the statute to grant the utilization review (an option they

 previously did not have), the State purposely encouraged insurers to withhold payments for

 disputed medical treatment. The Supreme Court found this type of encouragement was not enough

 for state action.



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          The United States Court of Appeal for the Fifth Circuit has also addressed the issue of

 government coercion or encouragement. For example, in La. Div. Sons of Confederate Veterans v.

 City of Natchitoches, 821 F. App’x 317 (5th Cir. 2020), the Sons of Confederate Veterans applied

 to march in a city parade that was coordinated by a private business association. The Mayor sent

 a letter asking the private business to prohibit the display of the Confederate battle flag. After the

 plaintiff’s request to march in the parade was denied, the plaintiff filed suit and argued the Mayor’s

 letter was “significant encouragement” to warrant state action. The Fifth Circuit found the letter

 was not “significant encouragement.”

          In determining whether the Government’s words or actions could reasonably be interpreted

 as an implied threat, courts examine a number of factors, including: (1) the Defendant’s regulatory

 or other decision-making authority over the targeted entities; (2) whether the government actors

 actually exercised regulatory authority over the targeted entities; (3) whether the language of the

 alleged threatening statements could reasonably be perceived as a threat; and (4) whether any of

 the targeted entities reacted in a manner evincing the perception of implicit threat. Id. at 114. As

 noted above, a public official’s threat to stifle protected speech is actionable under the First

 Amendment and can be enjoined, even if the threat turns out to be empty. Backpage.com, LLC v.

 Dart, 807 F.3d 229, 230-31 (7th Cir. 2015); Okwedy v. Molinari, 333 F.3d 339, 340-41 (2d. Cir.

 2003).

          The closest factual case to the present situation is O’Handley v. Weber, 62 F.4th 1145 (9th

 Cir. 2023). In O’Handley, the plaintiff maintained that a California agency was responsible for the

 moderation of his posted content. The plaintiff pointed to the agency’s mission to prioritize

 working closely with social-media companies to be “proactive” about misinformation and the

 flagging of one of his Twitter posts as “disinformation.” The Ninth Circuit rejected the argument



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 that the agency had provided “significant encouragement” to Twitter to suppress speech. In

 rejecting this argument, the Ninth Circuit stated the “critical question” in evaluating the

 “significant encouragement” theory is “whether the government’s encouragement is so significant

 that we should attribute the private party’s choice to the State…” Id. at 1158.

        Defendants cited many cases in support of their argument that Plaintiffs have not shown

 significant coercion or encouragement. See VDARE Found v. City of Colo. Springs, 11 F.4th 1151

 (10th Cir. 2021), cert. denied, 142 S. Ct. 1208 (2022) (city’s decision not to provide “support or

 resources” to plaintiff’s event was not “such significant encouragement” to transform a private

 venue’s decision to cancel the event into state action); S.H.A.R.K. v. Metro Park Serving Summit

 Cnty., 499 F.3d 553 (6th Cir. 2007) (government officials’ requests were “not the type of

 significant encouragement” that would render agreeing to those requests to be state action);

 Campbell v. PMI Food Equip, Grp., Inc., 509 F.3d 776 (6th Cir. 2007) (no state action where

 government entities did nothing more than authorize and approve a contract that provided tax

 benefits or incentives conditioned on the company opening a local plant); Gallagher v. Neil Young

 Freedom Concert, 49 F.3d 1442 (10th Cir. 1995) (payments under government contracts and the

 receipt of government grants and tax benefits are insufficient to establish a symbiotic relationship

 between the government and a private entity). Ultimately, Defendants contend that Plaintiffs have

 not shown that the choice to suppress free speech must in law be deemed to be that of the

 Government. This Court disagrees.

        The Plaintiffs are likely to succeed on the merits on their claim that the United States

 Government, through the White House and numerous federal agencies, pressured and encouraged

 social-media companies to suppress free speech. Defendants used meetings and communications

 with social-media companies to pressure those companies to take down, reduce, and suppress the



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 free speech of American citizens. They flagged posts and provided information on the type of posts

 they wanted suppressed. They also followed up with directives to the social-media companies to

 provide them with information as to action the company had taken with regard to the flagged post.

 This seemingly unrelenting pressure by Defendants had the intended result of suppressing millions

 of protected free speech postings by American citizens. In response to Defendants’ arguments, the

 Court points out that this case has much more government involvement than any of the cases cited

 by Defendants, as clearly indicated by the extensive facts detailed above. If there were ever a case

 where the “significant encouragement” theory should apply, this is it.

        What is really telling is that virtually all of the free speech suppressed was “conservative”

 free speech. Using the 2016 election and the COVID-19 pandemic, the Government apparently

 engaged in a massive effort to suppress disfavored conservative speech. The targeting of

 conservative speech indicates that Defendants may have engaged in “viewpoint discrimination,”

 to which strict scrutiny applies. See Simon & Schuster, Inc., 505 U.S. 105 (1991).

        In addition to the “significant encouragement” theory, the Government may also be held

 responsible for private conduct if the Government exercises coercive power over the private party

 in question. Blum, 457 U.S. at 1004. Here, Defendants argue that not only must there be coercion,

 but the coercion must be targeted at specific actions that harmed Plaintiffs. Bantam Books v.

 Sullivan, 372 U.S. 58 (1963) (where a state agency threatened prosecution if a distributor did not

 remove certain designated books or magazines it distributed that the state agency had declared

 objectionable); see also Backpage.com, LLC v. Dart, 807 F.3d 229 (7th Cir. 2015) (where a

 sheriff’s letter demanded that two credit card issuers prohibit the use of their credit cards to

 purchase any ads on a particular website containing advertisements for adult services); Okwedy v.




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 Molinari, 333 F.3d 339 (2d Cir. 2003) (per curium) (where a municipal official allegedly pressured

 a billboard company to take down a particular series of signs he found offensive).

         The Defendants further argue they only made requests to the social-media companies, and

 that the decision to modify or suppress content was each social-media company’s independent

 decision. However, when a state has so involved itself in the private party’s conduct, it cannot

 claim the conduct occurred as a result of private choice, even if the private party would have acted

 independently. Peterson v. City of Greenville, 373 U.S. 244, 247–248 (1963).

         Therefore, the question is not what decision the social-media company would have made,

 but whether the Government “so involved itself in the private party’s conduct” that the decision is

 essentially that of the Government. As exhaustedly listed above, Defendants “significantly

 encouraged” the social-media companies to such extent that the decision should be deemed to be

 the decisions of the Government. The White House Defendants and the Surgeon General

 Defendants additionally engaged in coercion of social-media companies to such extent that the

 decisions of the social-media companies should be deemed that of the Government. It simply

 makes no difference what decision the social-media companies would have made independently

 of government involvement, where the evidence demonstrates the wide-scale involvement seen

 here.

                                       (1) White House Defendants

         The Plaintiffs allege that by use of emails, public and private messages, public and private

 meetings, and other means, White House Defendants have “significantly encouraged” and

 “coerced” social-media platforms to suppress protected free speech on their platforms.




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         The White House Defendants acknowledged at oral arguments that they did not dispute the

 authenticity or the content of the emails Plaintiffs submitted in support of their claims.600 However,

 they allege that the emails do not show that the White House Defendants either coerced or

 significantly encouraged social-media platforms to suppress content of social-media postings.

 White House Defendants argue instead that they were speaking with social-media companies about

 promoting more accurate COVID-19 information and to better understand what action the

 companies were taking to curb the spread of COVID-19 misinformation.

         White House Defendants further argue they never demanded the social-media companies

 to suppress postings or to change policies, and the changes were due to the social-media

 companies’ own independent decisions. They assert that they did not make specific demands via

 the White House’s public statements and four “asks”601 of social-media companies.602 Defendants

 contend the four “asks” were “recommendations,” not demands. Additionally, Defendants argue

 President Biden’s July 16, 2021 “they’re killing people” comment was clarified on July 19, 2021,

 to reflect that President Biden was talking about the “Disinformation Dozen,” not the social-media

 companies.

         Although admitting White House employee Flaherty expressed frustration at times with

 social-media companies, White House Defendants contend Flaherty sought to better understand

 the companies’ policies with respect to addressing the spread of misinformation and hoped to find

 out what the Government could do to help. Defendants contend Flaherty felt such frustration




 600
     [Doc. No. 288 at 164–65]
 601
     The White House four “asks” are: (1) measure and publicly share the impact of misinformation on their platform;
 (2) create a robust enforcement strategy; (3) take faster action against harmful posts; and (4) promote quality
 information sources in their feed algorithm.
 602
     [Doc. No. 10-1 at 377–78]

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 because some of the things the social-media-companies told him were inconsistent with what

 others told him, compounded with the urgency of the COVID-19 pandemic.

           Explicit threats are an obvious form of coercion, but not all coercion need be explicit. The

 following illustrative specific actions by Defendants are examples of coercion exercised by the

 White House Defendants:

           (a)       “Cannot stress the degree to which this needs to be resolved immediately. Please
                     remove this account immediately.”603

           (b)       Accused Facebook of causing “political violence” by failing to censor false
                     COVID-19 claims.604

           (c)       “You are hiding the ball.”605

           (d)       “Internally we have been considering our options on what to do about it.”606

           (e)       “I care mostly about what actions and changes you are making to ensure you’re not
                     making our country’s vaccine hesitancy problem worse.”607

           (f)       “This is exactly why I want to know what “Reduction” actually looks like – if
                     “reduction” means pumping our most vaccine hesitance audience with Tucker
                     Carlson saying it does not work… then… I’m not sure it’s reduction.”608

           (g)       Questioning how the Tucker Carlson video had been “demoted” since there were
                     40,000 shares.609

           (h)       Wanting to know why Alex Berenson had not been kicked off Twitter because
                     Berenson was the epicenter of disinformation that radiated outward to the
                     persuadable public.610 “We want to make sure YouTube has a handle on vaccine
                     hesitancy and is working toward making the problem better. Noted that vaccine
                     hesitancy was a concern. That is shared by the highest (‘and I mean the highest’)
                     levels of the White House.”’611



 603
     [II. A.]
 604
     [Id. A. (5)]
 605
     [Id. A. (10)]
 606
     [Id.]
 607
     [Id. A. (11)]
 608
     [Id. A. (12)]
 609
     [Id. A. (15)]
 610
     [Id. A. (16)]
 611
     [Id. A. (17)]

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          (i)      After sending to Facebook a document entitled “Facebook COVID-19 Vaccine
                   Misinformation Brief, which recommends much more aggressive censorship by
                   Facebook. Flaherty told Facebook sending the Brief was not a White House
                   endorsement of it, but “this is circulating around the building and informing
                   thinking.”612

          (j)      Flaherty stated: “Not to sound like a broken record, but how much content is being
                   demoted, and how effective are you at mitigating reach and how quickly?”613

          (k)      Flaherty told Facebook: “Are you guys fucking serious” I want an answer on what
                   happened here and I want it today.”614

          (l)      Surgeon General Murthy stated: “We expect more from our technology companies.
                   We’re asking them to operate with greater transparency and accountability. We’re
                   asking them to monitor information more closely. We’re asking them to
                   consistently take action against misinformation super-spreaders on their
                   platforms.”615

          (m)      White House Press Secretary Psaki stated: “we are in regular touch with these
                   social-media platforms, and those engagements typically happen through members
                   of our senior staff, but also members of our COVID-19 team. We’re flagging
                   problematic posts for Facebook that spread disinformation. Psaki also stated one
                   of the White House’s “asks” of social-media companies was to “create a robust
                   enforcement strategy.”616

          (n)      When asked about what his message was to social-media platforms when it came
                   to COVID-19, President Biden stated: “they’re killing people. Look, the only
                   pandemic we have is among the unvaccinated and that – they’re killing people.”617

          (o)      Psaki stated at the February 1, 2022, White House Press Conference that the White
                   House wanted every social-media platform to do more to call out misinformation
                   and disinformation and to uplift accurate information.618

          (p)      “Hey folks, wanted to flag the below tweet and am wondering if we can get moving
                   on the process of having it removed. ASAP”619

          (q)      “How many times can someone show false COVID-19 claims before being
                   removed?”


 612
     [Id.]
 613
     [Id at A. (19)]
 614
     [Id.]
 615
     [Id.]
 616
     [Id.]
 617
     [Id.]
 618
     [Id. at A. (24)]
 619
     [Doc. No. 174-1 at 1]

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         (r)      “I’ve been asking you guys pretty directly over a series of conversations if the
                  biggest issues you are seeing on your platform when it comes to vaccine hesitancy
                  and the degree to which borderline content- as you define it, is playing a role.”620

         (s)      “I am not trying to play ‘gotcha’ with you. We are gravely concerned that your
                  service is one of the top drivers of vaccine hesitancy-period.”621

         (t)      “You only did this, however after an election that you helped increase skepticism
                  in and an insurrection which was plotted, in large part, on your platform.”622

         (u)      “Seems like your ‘dedicated vaccine hesitancy’ policy isn’t stopping the disinfo
                  dozen.” 623

         (v)      White House Communications Director, Kate Bedingfield’s announcement that
                  “the White House is assessing whether social-media platforms are legally liable for
                  misinformation spread on their platforms, and examining how misinformation fits
                  into the liability protection process by Section 230 of The Communication Decency
                  Act.”624

         These actions are just a few examples of the unrelenting pressure the Defendants exerted

 against social-media companies. This Court finds the above examples demonstrate that Plaintiffs

 can likely prove that White House Defendants engaged in coercion to induce social-media

 companies to suppress free speech.

         With respect to 47 U.S.C. § 230, Defendants argue that there can be no coercion for

 threatening to revoke and/or amend Section 230 because the call to amend it has been bipartisan.

 However, Defendants combined their threats to amend Section 230 with the power to do so by

 holding a majority in both the House of Representatives and the Senate, and in holding the

 Presidency. They also combined their threats to amend Section 230 with emails, meetings, press

 conferences, and intense pressure by the White House, as well as the Surgeon General Defendants.

 Regardless, the fact that the threats to amend Section 230 were bipartisan makes it even more


 620
     [Id. at 11]
 621
     [Id.]
 622
     [Doc. No. 174-1 at 17–20]
 623
     [Id. at 41]
 624
     [Doc. No. 10-1 at 477–78]

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  likely that Defendants had the power to amend Section 230. All that is required is that the

  government’s words or actions “could reasonably be interpreted as an implied threat.” Cuomo, 350

  F. Supp. 3d at 114. With the Supreme Court recently making clear that Section 230 shields social-

  media platforms from legal responsibility for what their users post, Gonzalez v. Google, 143 S. Ct.

  1191 (2023), Section 230 is even more valuable to these social-media platforms. These actions

  could reasonably be interpreted as an implied threat by the Defendants, amounting to coercion.

         Specifically, the White House Defendants also allegedly exercised significant

  encouragement such that the actions of the social-media companies should be deemed to be that

  of the government. The White House Defendants used emails, private portals, meetings, and other

  means to involve itself as “partners” with social-media platforms. Many emails between the White

  House and social-media companies referred to themselves as “partners.” Twitter even sent the

  White House a “Partner Support Portal” for expedited review of the White House’s requests. Both

  the White House and the social-media companies referred to themselves as “partners” and “on the

  same team” in their efforts to censor disinformation, such as their efforts to censor “vaccine

  hesitancy” spread. The White House and the social-media companies also demonstrated that they

  were “partners” by suppressing information that did not even violate the social-media companies’

  own policies.

         Further, White House Defendants constantly “flagged” for Facebook and other social-

  media platforms posts the White House Defendants considered misinformation. The White House

  demanded updates and reports of the results of their efforts to suppress alleged disinformation, and

  the social-media companies complied with these demands. The White House scheduled numerous

  Zoom and in-person meetings with social-media officials to keep each other informed about the

  companies’ efforts to suppress disinformation.



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         The White House Defendants made it very clear to social-media companies what they

  wanted suppressed and what they wanted amplified. Faced with unrelenting pressure from the most

  powerful office in the world, the social-media companies apparently complied. The Court finds

  that this amounts to coercion or encouragement sufficient to attribute the White House’s actions

  to the social-media companies, such that Plaintiffs are likely to succeed on the merits against the

  White House Defendants.

                                        (2) Surgeon General Defendants

         Plaintiffs allege that Surgeon General Murthy and his office engaged in a pressure

  campaign parallel to, and often overlapping with, the White House Defendants’ campaign directed

  at social-media platforms. Plaintiffs further allege the Surgeon General Defendants engaged in

  numerous meetings and communications with social-media companies to have those companies

  suppress alleged disinformation and misinformation posted on their platforms.

         The Surgeon General Defendants argue that the Surgeon General’s role is primarily to draw

  attention to public health matters affecting the nation. The SG took two official actions in 2021

  and in 2022. In July 2021, the Surgeon General issued a “Surgeon General’s Advisory.” In March

  2022, the Surgeon General issued a Request For Information (“RFI”). Surgeon General Defendants

  argue that the Surgeon General’s Advisory did not require social-media companies to censor

  information or make changes in their policies. Surgeon General Defendants further assert that the

  RFI was voluntary and did not require the social-media companies to answer.

         Additionally, the Surgeon General Defendants contend they only held courtesy meetings

  with social-media companies, did not flag posts for censorship, and never worked with social-

  media companies to moderate their policies. Surgeon General Defendants also deny that they were

  involved with the Virality Project.


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         As with the White House Defendants, this Court finds that Plaintiffs are likely to succeed

  on the merits of their First Amendment free speech claim against the Surgeon General Defendants.

  Through public statements, internal emails, and meetings, the Surgeon General Defendants

  exercised coercion and significant encouragement such that the decisions of the social-media

  platforms and their actions suppressing health disinformation should be deemed to be the decisions

  of the government. Importantly, the suppression of this information was also likely prohibited

  content and/or viewpoint discrimination, entitling Plaintiffs to strict scrutiny.

         The Surgeon General Defendants did pre-rollout calls with numerous social-media

  companies prior to publication of the Health Advisory on Misinformation. The Advisory publicly

  called on social-media companies “to do more” against COVID misinformation Superspreaders.

  Numerous calls and meetings took place between Surgeon General Defendants and private social-

  media companies. The “misinformation” to be suppressed was whatever the government deemed

  misinformation.

         The problem with labeling certain discussions about COVID-19 treatment as “health

  misinformation” was that the Surgeon General Defendants suppressed alternative views to those

  promoted by the government. One of the purposes of free speech is to allow discussion about

  various topics so the public may make informed decisions. Health information was suppressed,

  and the government’s view of the proper treatment for COVID-19 became labeled as “the truth.”

  Differing views about whether COVID-19 vaccines worked, whether taking the COVID-19

  vaccine was safe, whether mask mandates were necessary, whether schools and businesses should

  have been closed, whether vaccine mandates were necessary, and a host of other topics were

  suppressed. Without a free debate about these issues, each person is unable to decide for himself

  or herself the proper decision regarding their health. Each United States citizen has the right to



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  decide for himself or herself what is true and what is false. The Government and/or the OSG does

  not have the right to determine the truth.

         The Surgeon General Defendants also engaged in a pressure campaign with the White

  House Defendants to pressure social-media companies to suppress health information contrary to

  the Surgeon General Defendants’ views. After the Surgeon General’s press conference on July 15,

  2021, the Surgeon General Defendants kept the pressure on social-media platforms via emails,

  private meetings, and by requiring social-media platforms to report on actions taken against health

  disinformation.

         The RFI by the Surgeon General Defendants also put additional pressure on social-media

  companies to comply with the requests to suppress free speech. The RFI sought information from

  private social-media companies to provide information about the spread of misinformation. The

  RFI stated that the office of the Surgeon General was expanding attempts to control the spread of

  misinformation on social-media platforms. The RFI also sought information about social-media

  censorship policies, how they were enforced, and information about disfavored speakers.

         Taking all of this evidence together, this Court finds the Surgeon General Defendants likely

  engaged in both coercion and significant encouragement to such an extent that the decisions of

  private social-media companies should be deemed that of the Surgeon General Defendants. The

  Surgeon General Defendants did much more than engage in Government speech: they kept

  pressure on social-media companies with pre-rollout meetings, follow-up meetings, and RFI. Thus,

  Plaintiffs are likely to succeed on the merits of their First Amendment claim against these

  Defendants.




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                                       (3) CDC Defendants

         Plaintiffs allege that the CDC Defendants have engaged in a censorship campaign, together

  with the White House and other federal agencies, to have free speech suppressed on social-media

  platforms. Plaintiffs allege that working closely with the Census Bureau, the CDC flagged

  supposed “misinformation” for censorship on the platforms. Plaintiffs further allege that by using

  the acronym “BOLO,” the CDC Defendants told social-media platforms what health claims should

  be censored as misinformation.

         In opposition, Defendants assert that the CDC’s mission is to protect the public’s health.

  Although the CDC Defendants admit to meeting with and sending emails to social-media

  companies, the CDC Defendants argue they were responding to requests by the companies for

  science-based public health information, proactively alerting the social-media companies about

  disinformation, or advising the companies where to find accurate information. The Census Bureau

  argues the Interagency Agreement, entered into with the CDC in regard to COVID-19

  misinformation, has expired, and that it is no longer participating with the CDC on COVID-19

  misinformation issues. The CDC Defendants further deny that they directed any social-media

  companies to remove posts or to change their policies.

         Like the White House Defendants and Surgeon General Defendants, the Plaintiffs are likely

  to succeed on the merits of Plaintiffs’ First Amendment free speech claim against the CDC

  Defendants.   The CDC Defendants through emails, meetings, and other communications,

  seemingly exercised pressure and gave significant encouragement such that the decisions of the

  social-media platforms to suppress information should be deemed to be the decisions of the

  Government. The CDC Defendants coordinated meetings with social-media companies, provided

  examples of alleged disinformation to be suppressed, questioned the social-media companies about



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  how it was censoring misinformation, required reports from social-media companies about

  disinformation, told the social-media companies whether content was true or false, provided

  BOLO information, and used a Partner Support Portal to report disinformation. Much like the other

  Defendants, described above, the CDC Defendants became “partners” with social-media

  platforms, flagging and reporting statements on social media Defendants deemed false. Although

  the CDC Defendants did not exercise coercion to the same extent as the White House and Surgeon

  General Defendants, their actions still likely resulted in “significant encouragement” by the

  government to suppress free speech about COVID-19 vaccines and other related issues.

         Various social-media platforms changed their content-moderation policies to require

  suppression of content that was deemed false by CDC and led to vaccine hesitancy. The CDC

  became the “determiner of truth” for social-media platforms, deciding whether COVID-19

  statements made on social media were true or false. And the CDC was aware it had become the

  “determiner of truth” for social-media platforms. If the CDC said a statement on social media was

  false, it was suppressed, in spite of alternative views. By telling social-media companies that

  posted content was false, the CDC Defendants knew the social-media company was going to

  suppress the posted content. The CDC Defendants thus likely “significantly encouraged” social-

  media companies to suppress free speech.

         Based on the foregoing examples of significant encouragement and coercion by the CDC

  Defendants, the Court finds that Plaintiffs are likely to succeed on the merits of their First

  Amendment claim against the CDC Defendants.

                                       (4) NIAID Defendants

         Plaintiffs allege that NIAID Defendants engaged in a series of campaigns to discredit and

  procure the censorship of disfavored viewpoints on social media. Plaintiffs allege that Dr. Fauci


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  engaged in a series of campaigns to suppress speech regarding the Lab-Leak theory of COVID-

  19’s origin, treatment using hydroxychloroquine, the GBD, the treatment of COVID-19 with

  Ivermectin, the effectiveness of mask mandates, and the speech of Alex Berenson.

             In opposition, Defendants assert that the NIAID Defendants simply supports research to

  better understand, treat, and prevent infectious, immunologic, and allergic diseases and is

  responsible for responding to emergency public health threats. The NIAID Defendants argue that

  they had limited involvement with social-media platforms and did not meet with or contact the

  platforms to change their content or policies. The NIAID Defendants further argue that the videos,

  press conferences, and public statements by Dr. Fauci and other employees of NIAID was

  government speech.

             This Court agrees that much of what the NIAID Defendants did was government speech.

  However, various emails show Plaintiffs are likely to succeed on the merits through evidence that

  the motivation of the NIAID Defendants was a “take down” of protected free speech. Dr. Francis

  Collins, in an email to Dr. Fauci625 told Fauci there needed to be a “quick and devastating take

  down” of the GBD—the result was exactly that. Other email discussions show the motivations of

  the NIAID were to have social-media companies suppress these alternative medical theories.

  Taken together, the evidence shows that Plaintiffs are likely to succeed on the merits against the

  NIAID Defendants as well.

                                         (5) FBI Defendants

             Plaintiffs allege that the FBI Defendants also suppressed free speech on social-media

  platforms, with the FBI and FBI’s FITF playing a key role in these censorship efforts.




  625
        [Doc. No. 207-6]

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         In opposition, Defendants assert that the FBI Defendants’ specific job duties relate to

  foreign influence operations, including attempts by foreign governments to influence U.S.

  elections. Based on the alleged foreign interference in the 2016 U.S. Presidential election, the FBI

  Defendants argue that, through their meetings and emails with social-media companies, they were

  attempting to prevent foreign influence in the 2020 Presidential election. The FBI Defendants deny

  any attempt to suppress and/or change the social-media companies’ policies with regard to

  domestic speech. They further deny that they mentioned Hunter Biden or a “hack and leak” foreign

  operation involving Hunter Biden.

         According to the Plaintiffs’ allegations detailed above, the FBI had a 50% success rate

  regarding social media’s suppression of alleged misinformation, and it did no investigation to

  determine whether the alleged disinformation was foreign or by U.S. citizens. The FBI’s failure to

  alert social-media companies that the Hunter Biden laptop story was real, and not mere Russian

  disinformation, is particularly troubling. The FBI had the laptop in their possession since

  December 2019 and had warned social-media companies to look out for a “hack and dump”

  operation by the Russians prior to the 2020 election. Even after Facebook specifically asked

  whether the Hunter Biden laptop story was Russian disinformation, Dehmlow of the FBI refused

  to comment, resulting in the social-media companies’ suppression of the story. As a result, millions

  of U.S. citizens did not hear the story prior to the November 3, 2020 election. Additionally, the

  FBI was included in Industry meetings and bilateral meetings, received and forwarded alleged

  misinformation to social-media companies, and actually mislead social-media companies in regard

  to the Hunter Biden laptop story. The Court finds this evidence demonstrative of significant

  encouragement by the FBI Defendants.




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         Defendants also argue that Plaintiffs are attempting to create a “deception” theory of

  government involvement with regards to the FBI Defendants. Plaintiffs allege the FBI told the

  social-media companies to watch out for Russian disinformation prior to the 2020 Presidential

  election and then failed to tell the companies that the Hunter Biden laptop was not Russian

  disinformation. The Plaintiffs further allege Dr. Fauci colluded with others to cover up the

  Government’s involvement in “gain of function” research at the Wuhan lab in China, which may

  have resulted in the creation of the COVID-19 pandemic.

         Although this Court agrees there is no specified “deception” test for government action, a

  state may not induce private persons to accomplish what it is constitutionally forbidden to

  accomplish. Norwood, 413 U.S. at 455. It follows, then, that the government may not deceive a

  private party either—it is just another form of coercion. The Court has evaluated Defendants’

  conduct under the “coercion” and/or “significant encouragement” theories of government action,

  and finds that the FBI Defendants likely exercised “significant encouragement” over social-media

  companies.

         Through meetings, emails, and in-person contacts, the FBI intrinsically involved itself in

  requesting social-media companies to take action regarding content the FBI considered to be

  misinformation. The FBI additionally likely misled social-media companies into believing the

  Hunter Biden laptop story was Russian disinformation, which resulted in suppression of the story

  a few weeks prior to the 2020 Presidential election. Thus, Plaintiffs are likely to succeed in their

  claims that the FBI exercised “significant encouragement” over social-media platforms such that

  the choices of the companies must be deemed to be that of the Government.




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                                         (5) CISA Defendants

         Plaintiffs allege the CISA Defendants served as a “nerve center” for federal censorship

  efforts by meeting routinely with social-media platforms to increase censorship of speech

  disfavored by federal officials, and by acting as a “switchboard” to route disinformation concerns

  to social-media platforms.

         In response, the CISA Defendants maintain that CISA has a mandate to coordinate with

  federal and non-federal entities to carry out cybersecurity and critical infrastructure activities.

  CISA previously designated election infrastructure as a critical infrastructure subsector. CISA also

  collaborates with state and local election officials; as part of its duties, CISA coordinates with the

  EIS-GCC, which is comprised of state, local, and federal governmental departments and agencies.

  The EI-SSC is comprised of owners or operators with significant business or operations in U.S.

  election infrastructure systems or services. After the 2020 election, the EI-SCC and EIS-GCC

  launched a Joint Managing Mis/Disinformation Group to coordinate election infrastructure

  security efforts. The CISA Defendants argue CISA supports the Joint Managing Mis-

  Disinformation Group but does not coordinate with the EIP or the CIS. Despite DHS providing

  financial assistance to the CIS through a series of cooperative agreement awards managed by

  CISA, the CISA Defendants assert that the work scope funded by DHS has not involved the CIS

  performing disinformation-related tasks.

         Although the CISA Defendants admit to being involved in “switchboarding” work during

  the 2020 election cycle, CISA maintains it simply referred the alleged disinformation to the social-

  media companies, who made their own decisions to suppress content. CISA maintains it included

  a notice with each referral to the companies, which stated that CISA was not demanding

  censorship. CISA further maintains it discontinued its switchboarding work after the 2020 election



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  cycle and has no intention to engage in switchboarding for the next election.626 CISA further argues

  that even though it was involved with USG-Industry meetings with other federal agencies and

  social-media companies, they did not attempt to “push” social-media companies to suppress

  content or to change policies.

          The Court finds that Plaintiffs are likely to succeed on the merits of their First Amendment

  claim against the CISA Defendants. The CISA Defendants have likely exercised “significant

  encouragement” with social-media platforms such that the choices of the social-media companies

  must be deemed to be that of the government. Like many of the other Defendants, the evidence

  shows that the CISA Defendants met with social-media companies to both inform and pressure

  them to censor content protected by the First Amendment. They also apparently encouraged and

  pressured social-media companies to change their content-moderation policies and flag disfavored

  content.

          But the CISA Defendants went even further. CISA expanded the word “infrastructure” in

  its terminology to include “cognitive” infrastructure, so as to create authority to monitor and

  suppress protected free speech posted on social media. The word “cognitive” is an adjective that

  means “relating to cognition.” “Cognition” means the mental action or process of acquiring

  knowledge and understanding through thought, experiences, and the senses.627 The Plaintiffs are

  likely to succeed on the merits on its claim that the CISA Defendants believe they had a mandate

  to control the process of acquiring knowledge. The CISA Defendants engaged with Stanford

  University and the University of Washington to form the EIP, whose purpose was to allow state

  and local officials to report alleged election misinformation so it could be forwarded to the social-



  626
      However, at oral argument, CISA attorneys were unable to verify whether or not CISA would be involved in
  switchboarding during the 2024 election. [Doc. No. 288 at 122]
  627
      Google English Dictionary

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  media platforms to review. CISA used a CISA-funded non-profit organization, the CIS, to perform

  the same actions. CISA used interns who worked for the Stanford Internal Observatory, which is

  part of the EIP, to address alleged election disinformation. All of these worked together to forward

  alleged election misinformation to social-media companies to view for censorship. They also

  worked together to ensure the social-media platforms reported back to them on what actions the

  platforms had taken. And in this process, no investigation was made to determine whether the

  censored information was foreign or produced by U.S. citizens.

             According to DiResta, head of EIP, the EIP was designed “to get around unclear legal

  authorities, including very real First Amendment questions that would arise if CISA or the other

  government agencies were to monitor and flag information for censorship on social media.”628

  Therefore, the CISA Defendants aligned themselves with and partnered with an organization that

  was designed to avoid Government involvement with free speech in monitoring and flagging

  content for censorship on social-media platforms.

             At oral arguments on May 26, 2023, Defendants argued that the EIP operated

  independently of any government agency. The evidence shows otherwise: the EIP was started

  when CISA interns came up with the idea; CISA connected the EIP with the CIS, which is a CISA-

  funded non-profit that channeled reports of misinformation from state and local government

  officials to social-media companies; CISA had meetings with Stanford Internet Observatory

  officials (a part of the EIP), and both agreed to “work together”; the EIP gave briefings to CISA;

  and the CIS (which CISA funds) oversaw the Multi-State Information Sharing and Analysis

  Center (“MS-ISAC”) and the Election Infrastructure Information Sharing and Analysis Center




  628
        [Doc. No. 209-5 at 4]

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  (“EI-ISAC”), both of which are organizations of state and local governments that report alleged

  election misinformation.

          CISA directs state and local officials to CIS and connected the CIS with the EIP because

  they were working on the same mission and wanted to be sure they were all connected. CISA

  served as a mediating role between CIS and EIP to coordinate their efforts in reporting

  misinformation to social-media platforms, and there were direct email communications about

  reporting misinformation between EIP and CISA. Stamos and DiResta of the EIP also have roles

  in CISA on CISA advisory committees. EIP identifies CISA as a “partner in government.” The

  CIS coordinated with EIP regarding online misinformation. The EIP publication, “The Long

  Fuse,”629 states the EIP has a focus on election misinformation originating from “domestic”

  sources across the United States.630 EIP further stated that the primary repeat spreaders of false

  and misleading narratives were “verified blue-checked accounts belonging to partisan media

  outlets, social-media influencers, and political figures, including President Trump and his

  family.”631 The EIP further disclosed it held its first meeting with CISA to present the EIP concept

  on July 9, 2020, and EIP was officially formed on July 26, 2020, “in consultation with CISA.”632

  The Government was listed as one of EIP’s Four Major Stakeholder Groups, which included CISA,

  the GEC, and ISAC.633

          As explained, the CISA Defendants set up a “switchboarding” operation, primarily

  consisting of college students, to allow immediate reporting to social-media platforms of alleged

  election disinformation. The “partners” were so successful with suppressing election




  629
      [Doc. No. 209-2]
  630
      [Id. at 9]
  631
      [Id. at 12]
  632
      [Id. at 20–21]
  633
      [Id. at 30]

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  disinformation, they later formed the Virality Project, to do the same thing with COVID-19

  misinformation that the EIP was doing for election disinformation. CISA and the EIP were

  completely intertwined. Several emails from the switchboarding operation sent by intern Pierce

  Lowary shows Lowary directly flagging posted content and sending it to social-media companies.

  Lowary identified himself as “working for CISA” on the emails.634

             On November 21, 2021, CISA Director Easterly stated: “We live in a world where people

  talk about alternative facts, post-truth, which I think is really, really dangerous if people get to pick

  their own facts.” The Free Speech Clause was enacted to prohibit just what Director Easterly is

  wanting to do: allow the government to pick what is true and what is false. The Plaintiffs are likely

  to succeed on the merits of their First Amendment claim against the CISA Defendants for

  “significantly encouraging” social-media companies to suppress protected free speech.

                                                  (5) State Department Defendants

             Plaintiffs allege the State Department Defendants, through the State Department’s GEC,

  were also involved in suppressing protected speech on social-media platforms.

             In response, the State Department Defendants argue that they, along with the GEC, play a

  critical role in coordinating the U.S. government efforts to respond to foreign influence. The State

  Department Defendants argue that they did not flag specific content for social-media companies

  and did not give the company any directives. The State Department Defendants also argue that

  they do not coordinate with or work with the EIP or the CIS.

             The Court finds that Plaintiffs are also likely to succeed on the merits regarding their First

  Amendment Free Speech Clause against the State Department Defendants. For many of the same

  reasons the Court reached its conclusion as to the CISA Defendants, the State Department



  634
        [Doc. No. 227-2 at 15, 23, 42, 65 & 78]

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  Defendants have exercised “significant encouragement” with social-media platforms, such that the

  choices of the social-media companies should be deemed to be that of the government. As

  discussed previously, both CISA and the GEC were intertwined with the VP, EIP, and Stanford

  Internet Observatory.

             The VP, EIP, and Stanford Internet Observatory are not defendants in this proceeding.

  However, their actions are relevant because government agencies have chosen to associate,

  collaborate, and partner with these organizations, whose goals are to suppress protected free speech

  of American citizens. The State Department Defendants and CISA Defendants both partnered with

  organizations whose goals were to “get around” First Amendment issues.635 In partnership with

  these non-governmental organizations, the State Department Defendants flagged and reported

  postings of protected free speech to the social-media companies for suppression. The flagged

  content was almost entirely from political figures, political organizations, alleged partisan media

  outlets, and social-media all-stars associated with right-wing or conservative political views,

  demonstrating likely “viewpoint discrimination.” Since only conservative viewpoints were

  allegedly suppressed, this leads naturally to the conclusion that Defendants intended to suppress

  only political views they did not believe in. Based on this evidentiary showing, Plaintiffs are likely

  to succeed on the merits of their First Amendment claims against the State Department Defendants.

                                         (6) Other Defendants

             Other Defendants in this proceeding are the U.S. Food and Drug Administration, U. S.

  Department of Treasury, U.S. Election Assistance Commission, U. S. Department of Commerce,

  and employees Erica Jefferson, Michael Murray, Wally Adeyemo, Steven Frid, Brad Kimberly,

  and Kristen Muthig. Plaintiffs confirmed at oral argument that they are not seeking a preliminary



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        [Doc. No. 209-5 at 4]

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  injunction against these Defendants. Additionally, Plaintiffs assert claims against the

  Disinformation Governance Board (“DGB”) and its Director Nina Jankowicz. Defendants have

  provided evidence that the DGB has been disbanded, so any claims against these Defendants are

  moot. Thus, this Court will not address the issuance of an injunction against any of these

  Defendants.

                                   ii. Joint Participation

            The Plaintiffs contend that the Defendants are not only accountable for private conduct that

  they coerced or significantly encouraged, but also for private conduct in which they actively

  participated as “joint participants.” Burton v. Wilmington Parking Authority, 365 U.S. 715, 725

  (1961). Although most often “joint participation” occurs through a conspiracy or collusive

  behavior, Hobbs v. Hawkins, 968 F.2d 471, 480 (5th Cir. 1992), even without a conspiracy, when

  a plaintiff establishes the government is responsible for private action arising out of “pervasive

  entwinement of public institutions and public officials in the private entity’s composition and

  workings.” Brentwood Academy. v. Tennessee Secondary Sch. Athletic Ass’n., 531 U. S. 288, 298

  (2001).

            Under the “joint action” test, the Government must have played an indispensable role in

  the mechanism leading to the disputed action. Frazier v. Bd. Of Trs. Of N.W. Miss. Reg.’l Med.

  Ctr., 765 F.2d 1278, 1287-88 (5th Cir.), amended, 777 F.2d 329 (5th Cir. 1985). When a plaintiff

  establishes “the existence of a conspiracy involving state action,” the government becomes

  responsible for all constitutional violations committed in furtherance of the conspiracy by a party

  to the conspiracy. Armstrong v. Ashley, 60 F.4th 262, (5th Cir. 2023). Conspiracy can be charged

  as the legal mechanism through which to impose liability on each and all of the defendants without




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  regard to the person doing the particular act that deprives the plaintiff of federal rights. Pfannstiel

  v. City of Marion, 918 F.2d 1178, 1187 (5th Cir. 1990).

          Much like conspiracy and collusion, joint activity occurs whenever the government has “so

  far insinuated itself” into private affairs as to blur the line between public and private action.

  Jackson v. Metro. Edison Co., 419 U.S. 345, 357 (1974). To become “pervasively entwined” in a

  private entity’s workings, the government need only “significantly involve itself in the private

  entity’s actions and decision-making”; it is not necessary to establish that “state actors … literally

  ‘overrode’ the private entity’s independent judgment.” Rawson v. Recovery Innovations, Inc., 975

  F.3d 742, 751, 753 (9th Cir. 2020). “Pervasive intertwinement” exists even if the private party is

  exercising independent judgment. West v. Atkins, 487 U.S. 42, 52, n.10 (1988); Gallagher v. Neil

  Young Freedom Concert, 49 F.3d 1442, 1454 (10th Cir. 1995) (holding that a “substantial degree

  of cooperative action” can constitute joint action).

          For the same reasons as this Court has found Plaintiffs met their burden to show

  “significant encouragement” by the White House Defendants, the Surgeon General Defendants,

  the CDC Defendants, the FBI Defendants, the NIAID Defendants, the CISA Defendants, and the

  State Department Defendants, this Court finds the Plaintiffs are likely to succeed on the merits that

  these Defendants “jointly participated” in the actions of the private social-media companies as

  well, by insinuating themselves into the social-media companies’ private affairs and blurring the

  line between public and private action.636

          However, this Court finds Plaintiffs are not likely to succeed on the merits that the “joint

  participation” occurred as a result of a conspiracy with the social-media companies. The evidence




  636
     It is not necessary to repeat the details discussed in the “significant encouragement” analysis in order to find
  Plaintiffs have met their initial burden.

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  thus far shows that the social-media companies cooperated due to coercion, not because of a

  conspiracy.

         This Court finds the White House Defendants, the Surgeon General Defendants, the CDC

  Defendants, the NIAID Defendants, the FBI Defendants, the CISA Defendants, and the State

  Department Defendants likely “jointly participated” with the social-media companies to such an

  extent that said Defendants have become “pervasively entwined” in the private companies’

  workings to such an extent as to blur the line between public and private action. Therefore,

  Plaintiffs are likely to succeed on the merits that the government Defendants are responsible for

  the private social-media companies’ decisions to censor protected content on social-media

  platforms.

                                iii. Other Arguments

         While not admitting any fault in the suppression of free speech, Defendants blame the

  Russians, COVID-19, and capitalism for any suppression of free speech by social-media

  companies. Defendants argue the Russian social-media postings prior to the 2016 Presidential

  election caused social-media companies to change their rules with regard to alleged

  misinformation. The Defendants argue the Federal Government promoted necessary and

  responsible actions to protect public health, safety, and security when confronted by a deadly

  pandemic and hostile foreign assaults on critical election infrastructure. They further contend that

  the COVID-19 pandemic resulted in social-media companies changing their rules in order to fight

  related disinformation. Finally, Defendants argue the social-media companies’ desire to make

  money from advertisers resulted in change to their efforts to combat disinformation. In other

  words, Defendants maintain they had nothing to do with Plaintiffs’ censored speech and blamed

  any suppression of free speech on the Russians, COVID-19, and the companies’ desire to make



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  money. The social-media platforms and the Russians are of course not defendants in this

  proceeding, and neither are they bound by the First Amendment. The only focus here is on the

  actions of the Defendants themselves.

         Although the COVID-19 pandemic was a terrible tragedy, Plaintiffs assert that it is still not

  a reason to lessen civil liberties guaranteed by our Constitution. “If human nature and history

  teaches anything, it is that civil liberties face grave risks when governments proclaim indefinite

  states of emergency.” Does 1-3 v. Mills, 142 S. Ct. 17, 20–21 (2021) (Gorsuch, J., dissenting). The

  “grave risk” here is arguably the most massive attack against free speech in United States history.

         Another argument of Defendants is that the previous Administration took the same actions

  as Defendants. Although the “switchboarding” by CISA started in 2018, there is no indication or

  evidence yet produced in this litigation that the Trump Administration had anything to do with it.

  Additionally, whether the previous Administration suppressed free speech on social media is not

  an issue before this Court and would not be a defense to Defendants even if it were true.

         Defendants also argue that a preliminary injunction would restrict the Defendants’ right to

  government speech and would transform government speech into government action whenever the

  Government comments on public policy matters. The Court finds, however, that a preliminary

  injunction here would not prohibit government speech. The traditional test used to differentiate

  government speech from private speech discusses three relevant factors: (1) whether the medium

  at issue has historically been used to communicate messages from the government; (2) whether

  the public reasonably interprets the government to be the speaker; and (3) whether the government

  maintains editorial control over the speech. Pleasant Grove City, Utah v. Summum, 555 U.S. 460,

  465–80 (2009). A government entity has the right to speak for itself and is entitled to say what it

  wishes and express the views it wishes to express. The Free Speech Clause restricts government



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  regulation of private speech; it does not regulate government speech. Pleasant Grove City, Utah,

  555 U.S. at 468.

         The Defendants argue that by making public statements, this is nothing but government

  speech. However, it was not the public statements that were the problem. It was the alleged use of

  government agencies and employees to coerce and/or significantly encourage social-media

  platforms to suppress free speech on those platforms. Plaintiffs point specifically to the various

  meetings, emails, follow-up contacts, and the threat of amending Section 230 of the

  Communication Decency Act. Plaintiffs have produced evidence that Defendants did not just use

  public statements to coerce and/or encourage social-media platforms to suppress free speech, but

  rather used meetings, emails, phone calls, follow-up meetings, and the power of the government

  to pressure social-media platforms to change their policies and to suppress free speech. Content

  was seemingly suppressed even if it did not violate social-media policies. It is the alleged coercion

  and/or significant encouragement that likely violates the Free Speech Clause, not government

  speech, and thus, the Court is not persuaded by Defendants’ arguments here.

                         b. Standing

         The United States Constitution, via Article III, limits federal courts’ jurisdiction to “cases”

  and “controversies.” Sample v. Morrison, 406 F.3d 310, 312 (5th Cir. 2005) (citing U.S. Const.

  art. III, § 2). The “law of Article III standing, which is built on separation-of-powers principles,

  serves to prevent the judicial process from being used to usurp the powers of the political

  branches.” Town of Chester, N.Y. v. Laroe Ests., Inc., 581 U.S. 433, 435 (2017) (citation omitted).

  Thus, “the standing question is whether the plaintiff has alleged such a personal stake in the

  outcome of the controversy as to warrant [its] invocation of federal-court jurisdiction and to justify

  exercise of the court’s remedial powers on his behalf.” Warth v. Seldin, 422 U.S. 490, 498-99



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  (1975) (citation and internal quotation marks omitted). The Article III standing requirements apply

  to claims for injunctive and declaratory relief. See Seals v. McBee, 898 F.3d 587, 591 (5th Cir.

  2018), as revised (Aug. 9, 2018); Lawson v. Callahan, 111 F.3d 403, 405 (5th Cir. 1997).

         Article III standing is comprised of three essential elements. Spokeo, Inc. v. Robins, 578

  U.S. 330, 338 (2016), as revised (May 24, 2016) (citation omitted). “The plaintiff must have (1)

  suffered an injury-in-fact, (2) that is fairly traceable to the challenged conduct of the defendant,

  and (3) that is likely to be redressed by a favorable judicial decision. The plaintiff, as the party

  invoking federal jurisdiction, bears the burden of establishing these elements.” Id. (internal

  citations omitted). Furthermore, “[a] plaintiff must demonstrate standing for each claim he seeks

  to press and for each form of relief that is sought.” Town of Chester, N.Y., 581 U.S. at 439 (citations

  omitted). However, the presence of one party with standing “is sufficient to satisfy Article III’s

  case-or-controversy requirement.” Texas, 809 F.3d 134 (citing Rumsfeld v. F. for Acad. &

  Institutional Rts., Inc., 547 U.S. 47, 52 n.2 (2006)).

         In the context of a preliminary injunction, it has been established that “the ‘merits’ required

  for the plaintiff to demonstrate a likelihood of success include not only substantive theories but

  also the establishment of jurisdiction.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913

  (D.C. Cir. 2015). In order to establish standing, the plaintiff must demonstrate that they have

  encountered or suffered an injury attributable to the defendant’s challenged conduct and that such

  injury is likely to be resolved through a favorable decision. Lujan v. Def. of Wildlife, 504 U.S. 555,

  560–61 (1992). Further, during the preliminary injunction stage, the movant is only required to

  demonstrate a likelihood of proving standing. Speech First, Inc. v. Fenves, 979 F.3d 319, 330 (5th

  Cir. 2020). Defendants raise challenges to each essential element of standing for both the Private

  Plaintiffs and the States. Each argument will be addressed in turn below. For the reasons stated



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  herein, the Court finds that the Plaintiffs have demonstrated a likelihood of satisfying Article III’s

  standing requirements.

                                   i.    Injury-in-fact

           Plaintiffs seeking to establish injury-in-fact must show that they suffered “an invasion of a

  legally protected interest” that is “concrete and particularized” and “actual or imminent, not

  conjectural or hypothetical.” Spokeo, 578 U.S. at 339 (citations and internal quotation marks

  omitted). For an injury to be “particularized,” it must “affect the plaintiff in a personal and

  individual way.” Id. (citations and internal quotation marks omitted).

           Plaintiffs argue that that they have asserted violations of their First Amendment right to

  speak and listen freely without government interference.637 In response, Defendants contend that

  Plaintiffs’ allegations rest on dated declarations that focus on long-past conduct, making Plaintiffs’

  fears of imminent injury entirely speculative.638 The Court will first address whether the Plaintiff

  States are likely to prove an injury-in-fact. Then the court will examine whether the Individual

  Plaintiffs are likely to prove an injury-in-fact. For the reasons explained below, both the Plaintiff

  States and Individual Plaintiffs are likely to prove an injury-in-fact.

                                         (1) Plaintiff States

           In denying Defendants’ Motion to Dismiss,639 this Court previously found that the Plaintiff

  States had sufficiently alleged injury-in-fact to satisfy Article III standing under either a direct

  injury or parens patriae theory of standing and that the States were entitled to special solicitude in

  the standing analysis.640 At the preliminary injunction stage, the issue becomes whether the

  Plaintiffs are likely to prove standing. See Speech First, Inc., 979 F.3d, at 330. The evidence


  637
      See [Doc. No. 214, at 66]
  638
      See [Doc. No. 266, at 151]
  639
      [Doc. No. 128]
  640
      [Doc. No. 224, at 20–33]

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  produced thus far through discovery shows that the Plaintiff States are likely to establish an injury-

  in-fact through either a parens patriae or direct injury theory of standing.

         Parens patriae, which translates to “parent of the country,” traditionally refers to the state’s

  role as a sovereign and guardian for individuals with legal disabilities. Alfred L. Snapp & Son, Inc.

  v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 600 n.8 (1982) (quoting Black’s Law Dictionary 1003

  (5th ed. 1979)). The term “parens patriae lawsuit” has two meanings: it can denote a lawsuit

  brought by the state on behalf of individuals unable to represent themselves, or a lawsuit initiated

  by the state to protect its “quasi-sovereign” interests. Id. at 600; see also Kentucky v. Biden, 23

  F.4th 585, 596–98 (6th Cir. 2022); Chapman v. Tristar Prod., Inc., 940 F.3d 299, 305 (6th Cir.

  2019). A lawsuit based on the former meaning is known as a “third-party” parens patriae lawsuit,

  and it is clearly established law that states cannot bring such lawsuits against the federal

  government. Kentucky, 23 F.4th at 596. Thus, to have parens patriae standing, the Plaintiff States

  must show a likelihood of establishing an injury to one or more of their quasi-sovereign interests.

         In Snapp, the United States Supreme Court determined that Puerto Rico had parens patriae

  standing to sue the federal government to safeguard its quasi-sovereign interests. Snapp, 458 U.S.

  at 608. The Court identified two types of injuries to a state’s quasi-sovereign interests: one is an

  injury to a significant portion of the state’s population, and the other is the exclusion of the state

  and its residents from benefiting from participation in the federal system. Id. at 607–608. The Court

  did not establish definitive limits on the proportion of the population that must be affected but

  suggested that an indication could be whether the injury is something the state would address

  through its sovereign lawmaking powers. Id. at 607. Based on the injuries alleged by Puerto Rico,

  the Court found that the state had sufficiently demonstrated harm to its quasi-sovereign interests

  and had parens patriae standing to sue the federal government. Id. at 609–10.



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          In Massachusetts v. E.P.A., 549 U.S. 497 (2007), the United States Supreme Court further

  clarified the distinction between third-party and quasi-sovereign parens patriae lawsuits. There,

  the Court concluded that Massachusetts had standing to sue the EPA to protect its quasi-sovereign

  interests. The Court emphasized the distinction between allowing a state to protect its citizens from

  federal statutes (which is prohibited) and permitting a state to assert its rights under federal law

  (which it has standing to do). Massachusetts, 549 U.S. at 520 n.17. Because Massachusetts sought

  to assert its rights under a federal statute rather than challenge its application to its citizens, the

  Court determined that the state had parens patriae standing to sue the EPA.

          Here, the Plaintiff States alleged and have provided ample evidence to support injury to

  two quasi-sovereign interests: the interest in safeguarding the free-speech rights of a significant

  portion of their respective populations and the interest in ensuring that they receive the benefits

  from participating in the federal system. Defendants argue that this theory of injury is too

  attenuated and that Plaintiffs are unlikely to prove any direct harm to the States’ sovereign or quasi-

  sovereign interests, but the Court does not find this argument persuasive.

          Plaintiffs have put forth ample evidence regarding extensive federal censorship that

  restricts the free flow of information on social-media platforms used by millions of Missourians

  and Louisianians, and very substantial segments of the populations of Missouri, Louisiana, and

  every other State.641 The Complaint provides detailed accounts of how this alleged censorship

  harms “enormous segments of [the States’] populations.” Additionally, the fact that such extensive

  examples of suppression have been uncovered through limited discovery suggests that the


  641
     See supra, pp. 8–94 (detailing the extent and magnitude of Defendants’ pressure and coercion tactics with social-
  media companies); See also [Doc. No. 214-1, at ¶¶ 1348 (noting that Berenson had nationwide audiences and over
  200,000 followers when he was de-platformed on Twitter), 1387 (noting that the Gateway Pundit had more than 1.3
  million followers across its social-media accounts before it was suspended), 1397–1409 (noting that Hines has
  approximately 13,000 followers each on her Health Freedom Louisiana and Reopen Louisiana Facebook pages,
  approximately 2,000 followers on two other Health Freedom Group Louisiana pages, and that the former Facebook
  pages have faced increasing censorship penalties and that the latter pages were de-platformed completely), etc.]

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  censorship explained above could merely be a representative sample of more extensive

  suppressions inflicted by Defendants on countless similarly situated speakers and audiences,

  including audiences in Missouri and Louisiana. The examples of censorship produced thus far cut

  against Defendants’ characterization of Plaintiffs’ fear of imminent future harm as “entirely

  speculative” and their description of the Plaintiff States’ injuries as “overly broad and generalized

  grievance[s].”642 The Plaintiffs have outlined a federal regime of mass censorship, presented

  specific examples of how such censorship has harmed the States’ quasi-sovereign interests in

  protecting their residents’ freedom of expression, and demonstrated numerous injuries to

  significant segments of the Plaintiff States’ populations.

             Moreover, the materials produced thus far suggest that the Plaintiff States, along with a

  substantial segment of their populations, are likely to show that they are being excluded from the

  benefits intended to arise from participation in the federal system. The U.S. Constitution, like the

  Missouri and Louisiana Constitutions, guarantees the right of freedom of expression,

  encompassing both the right to speak and the right to listen. U.S. Const. amend. I; Virginia State

  Bd. of Pharmacy v. Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 756–57 (1976). The

  United States Supreme Court has acknowledged the freedom of expression as one of the most

  significant benefits conferred by the federal Constitution. W. Virginia State Bd. of Educ. v.

  Barnette, 319 U.S. 624, 642 (1943) (“If there is any fixed star in our constitutional constellation,

  it is that no official, high or petty, can prescribe what shall be orthodox in politics, nationalism,

  religion, or other matters of opinion.”). Plaintiffs have demonstrated that they are likely to prove

  that federal agencies, actors, and officials in their official capacity are excluding the Plaintiff States




  642
        [Doc. No. 266, at 151]

                                                    124
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  and their residents from this crucial benefit that is meant to flow from participation in the federal

  system. See Snapp, 458 U.S. at 608.

          Accordingly, the Court finds that the States have alleged injuries under a parens patriae

  theory of standing because they are likely to prove injuries to the States’ quasi-sovereign interests

  in protecting the constitutionally bestowed rights of their citizens.

          Further, Plaintiffs have demonstrated direct censorship injuries that satisfy the

  requirements of Article III as injuries in fact.643 Specifically, the Plaintiffs contend that Louisiana’s

  Department of Justice, which encompasses the office of its Attorney General, faced direct

  censorship on YouTube for sharing video footage wherein Louisianans criticized mask mandates

  and COVID-19 lockdown measures on August 18, 2021, immediately following the federal

  Defendants’ strong advocacy for COVID-related “misinformation” censorship.644 Moreover, a

  Louisiana state legislator experienced censorship on Facebook when he posted content addressing

  the vaccination of children against COVID-19.645 Similarly, during public meetings concerning

  proposed county-wide mask mandates held by St. Louis County, a political subdivision of

  Missouri, certain citizens openly expressed their opposition to mask mandates. However, YouTube

  censored the entire videos of four public meetings, removing the content because some citizens

  expressed the view that masks are ineffective.646 Therefore, this Court finds that the Plaintiff States

  have also demonstrated a likelihood of establishing an injury-in-fact under a theory of direct injury

  sufficient to satisfy Article III.




  643
      [Doc. No. 214-1, at ¶¶1428–1430]
  644
      [Id. at ¶1428]
  645
      [Id. at ¶1429]
  646
      [Id. at ¶ 1430]

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             Accordingly, for the reasons stated above and explained in this Court’s ruling on the

  Motion to Dismiss,647 the Plaintiff States are likely to succeed on establishing an injury-in-fact

  under Article III.

                                          (2) Individual Plaintiffs

             In Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (“SBA List”), the Supreme

  Court held that an allegation of future injury may satisfy the Article III injury-in-fact requirement

  if there is a “substantial risk” of harm occurring. (quoting Clapper v. Amnesty Int'l USA, 568 U.S.

  398, 408 (2013). In SBA List, the petitioner challenged a statute that prohibited making false

  statements during political campaigns. Id. at 151–52. The Court considered the justiciability of the

  pre-enforcement challenge and whether it alleged a sufficiently imminent injury under Article III.

  It noted that pre-enforcement review is warranted when the threatened enforcement is “sufficiently

  imminent.” Id. at 159. The Court further emphasized that past enforcement is indicative that the

  threat of enforcement is not “chimerical.” Id. at 164 (quoting Steffel v. Thompson, 415 U.S. 452,

  459 (1974)).

             Likewise, in Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 302 (1979), the

  Supreme Court found that the plaintiffs satisfied Article III’s injury-in-fact requirement because

  the fear of future injury was not “imaginary or wholly speculative.” There, the Court considered a

  pre-enforcement challenge to a statute that deemed it an unfair labor practice to encourage

  consumer boycotts through deceptive publicity. Id. at 301. Because the plaintiffs had engaged in

  past consumer publicity campaigns and intended to continue those campaigns in the future, the

  Court found their challenge to the consumer publicity provision satisfied Article III. Id. at 302.

  Similar pre-enforcement review was recognized in Virginia v. Am. Booksellers Ass'n, Inc., 484



  647
        [Doc. No. 214, at 20–33]

                                                   126
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  U.S. 383, 386 (1988), where the Supreme Court held that booksellers could seek review of a law

  criminalizing the knowing display of “harmful to juveniles” material for commercial purposes, as

  defined by the statute. Virginia, 484 U.S. at 386 (certified question answered sub nom.

  Commonwealth v. Am. Booksellers Ass'n, Inc., 236 Va. 168 (1988)).

           Here, each of the Individual Plaintiffs are likely to demonstrate an injury-in-fact through a

  combination of past and ongoing censorship. Bhattacharya, for instance, is the apparent victim of

  an ongoing “campaign” of social-media censorship, which indicates that he is likely to experience

  future acts of censorship.648 Similarly, Kulldorff attests to a coordinated federal censorship

  campaign against the Great Barrington Declaration, which implies future censorship.649

  Kulldorff’s ongoing censorship experiences on his personal social-media accounts provide

  evidence of ongoing harm and support the expectation of imminent future harm.650 Kheriaty also

  affirms ongoing and anticipated future injuries, noting that the issue of “shadow banning” his

  social-media posts has intensified since 2022.651

           Hoft and Hines present similar accounts of past, ongoing, and anticipated future censorship

  injuries. Defendants even appear to be currently involved in an ongoing project that encourages

  and engages in censorship activities specifically targeting Hoft’s website.652 Hines, too, recounts

  past and ongoing censorship injuries, stating that her personal Facebook page, as well as the pages




  648
      See [Doc. No. 214-1, ¶787 (an email from Dr. Francis Collins to Dr. Fauci and Cliff Lane which read: “Hi [Dr.
  Fauci] and Cliff, See https://gbdeclaration.org. This proposal from the three fringe epidemiologists who met with the
  Secretary seems to be getting a lot of attention – and even a co-signature from Nobel Prize winner Mike Leavitt at
  Stanford. There needs to be a quick and devastating published take down of its premises. I don’t see anything like that
  online yet – is it underway?”), ¶¶1368–1372 (describing the covert and ongoing censorship campaign against him)]
  649
      See [Id. at ¶¶1373–1380 (where Kulldorff explains an ongoing campaign of censorship against his personal social-
  media accounts, including censored tweets, censored posts criticizing mask mandates, removal of LinkedIn posts, and
  the ongoing permanent suspension of his LinkedIn account)]
  650
      [Id.]
  651
      [Id. at ¶¶1383–1386]
  652
      See [Id. at ¶¶1387–1396 (describing the past and ongoing campaign against his website, the Gateway Pundit, which
  resulted in censorship on Facebook, Twitter, Instagram, and YouTube)]

                                                           127
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  of Health Freedom Louisiana and Reopen Louisiana, are constantly at risk of being completely de-

  platformed.653 At the time of her declaration, Hines’ personal Facebook account was under an

  ongoing ninety-day restriction. She further asserts, and the evidence supplied in support of the

  preliminary injunction strongly implies, that these restrictions can be directly traced back to federal

  officials.

             Each of the Private Plaintiffs alleges a combination of past, ongoing, and anticipated future

  censorship injuries. Their allegations go beyond mere complaints about past grievances. Moreover,

  they easily satisfy the substantial risk standard. The threat of future censorship is significant, and

  the history of past censorship provides strong evidence that the threat of further censorship is not

  illusory or speculative. Plaintiffs’ request for an injunction is not solely aimed at addressing the

  initial imposition of the censorship penalties but rather at preventing any continued maintenance

  and enforcement of such penalties. Therefore, the Court concludes that the Private Plaintiffs have

  fulfilled the injury-in-fact requirement of Article III.

             Based on the reasons outlined above, the Court determines that both the States and Private

  Plaintiffs have satisfied the injury-in-fact requirement of Article III.

                                    ii.     Traceability

             To establish traceability, or “causation” in this context, a plaintiff must demonstrate a

  “direct relation between the injury asserted and the injurious conduct alleged.” Holmes v. Sec. Inv.

  Prot. Corp., 503 U.S. 258, 268 (1992). Therefore, courts examining this element of standing must

  assess the remoteness, if any, between the plaintiff’s injury and the defendant’s actions. As

  explained in Ass'n of Am. Physicians & Surgeons v. Schiff, the plaintiff must establish that it is

  “‘substantially probable that the challenged acts of the defendant, not of some absent third party’



  653
        See [Id. at ¶¶1397–1411]

                                                     128
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  caused or will cause the injury alleged.” 518 F. Supp. 3d 505, 513 (D.D.C. 2021), aff'd sub nom.

  Ass'n of Am. Physicians & Surgeons, Inc. v. Schiff, 23 F.4th 1028 (D.C. Cir. 2022) ("AAPS II")

  (quoting Fla. Audubon Soc. v. Bentsen, 94 F.3d 658, 663 (D.C. Cir. 1996)).

           Plaintiffs argue that they are likely to prove that their injuries are fairly traceable to

  Defendants’ actions of inducing and jointly participating in the social-media companies’

  viewpoint-based censorship under a theory of “but-for” causation, conspiracy, or aiding and

  abetting.654 In support, they cite the above-mentioned examples of switchboarding and other

  pressure tactics employed by Defendants.655 In response, Defendants assert that there is no basis

  upon which this Court can conclude that the social-media platforms made the disputed content-

  moderation decisions because of government pressure.656 For the reasons explained below, the

  Court finds that Plaintiffs are likely to prove that their injuries are fairly traceable to the conduct

  of the Defendants.

           In Duke Power Co. v. Carolina Envt. Study Grp., the United States Supreme Court found

  that a plaintiff’s injury was fairly traceable to a statute under a theory of “but-for” causation. 438

  U.S. 59 (1978). The plaintiffs, who were comprised in part of individuals living near the proposed

  sites for nuclear plants, challenged a statute that limited the aggregate liability for a single nuclear

  accident under the theory that, but for the passing of the statute, the nuclear plants would not have

  been constructed. Id. at 64–65. The Supreme Court agreed with the district court’s finding that


  654
      [Doc. No. 204, at 67–68]
  655
      [Id. at 69–71 (citing Doc. No. 214-1, ¶¶57, 64 “(promising the White House that Facebook would censor “often-
  true” but “sensationalized” content)”; ¶ 73 “(imposing forward limits on non-violative speech on WhatsApp)”; ¶¶ 89-
  92 “(assuring the White House that Facebook will use a “spectrum of levers” to censor content that “do[es] not violate
  our Misinformation and Harm policy, including “true but shocking claims or personal anecdotes, or discussing the
  choice to vaccinate in terms of personal and civil liberties”)”; ¶¶ 93-100 “(agreeing to censor Tucker Carlson’s content
  at the White House’s behest, even though it did not violate platform policies)”, ¶¶ 103-104 “(Twitter deplatforming
  Alex Berenson at White House pressure)”; ¶ 171 “(Facebook deplatformed the Disinformation Dozen immediately
  after these comments). Facebook officials scrambled to get back into the White House’s good graces. Id. ¶¶ 172, 224
  (pleading for “de-escalation” and “working together”).”]
  656
      [Doc. No. 266, at 131–136]

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  there was a “substantial likelihood” that the nuclear plants would have been neither completed nor

  operated absent the passage of the nuclear-friendly statute. Id. at 75.

              In Duke Power Co., the defendants essentially argued that the statute was not the “but-for”

  cause of the injuries claimed by the plaintiffs because if Congress had not passed the statute, the

  Government would have developed nuclear power independently, and the plaintiffs would have

  likely suffered the same injuries from government-operated plants as they would have from

  privately operated ones. Id. In rejecting that argument, the Supreme Court stated:

                       Whatever the ultimate accuracy of this speculation, it is not
                       responsive to the simple proposition that private power companies
                       now do in fact operate the nuclear-powered generating plants
                       injuring [the plaintiffs], and that their participation would not have
                       occurred but for the enactment and implementation of the Price-
                       Anderson Act. Nothing in our prior cases requires a party seeking to
                       invoke federal jurisdiction to negate the kind of speculative and
                       hypothetical possibilities suggested in order to demonstrate the
                       likely effectiveness of judicial relief.

  Id. at 77–78. The Supreme Court’s reluctancy to follow the defendants down a rabbit-hole of

  speculation and “what-ifs” is highly instructive.

              Here, Defendants heavily rely upon the premise that social-media companies would have

  censored Plaintiffs and/or modified their content moderation policies even without any alleged

  encouragement and coercion from Defendants or other Government officials. This argument is

  wholly unpersuasive. Unlike previous cases that left ample room to question whether public

  officials’ calls for censorship were fairly traceable to the Government; the instant case paints a full

  picture.657 A drastic increase in censorship, deboosting, shadow-banning, and account suspensions

  directly coincided with Defendants’ public calls for censorship and private demands for




  657
        See [Doc. No. 204, at 41-44 (where this Court distinguished this case from cases that “left gaps” in the pleadings)]

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  censorship.658 Specific instances of censorship substantially likely to be the direct result of

  Government involvement are too numerous to fully detail, but a birds-eye view shows a clear

  connection between Defendants’ actions and Plaintiffs injuries.

           The Plaintiffs’ theory of but-for causation is easy to follow and demonstrates a high

  likelihood of success as to establishing Article III traceability. Government officials began publicly

  threatening social-media companies with adverse legislation as early as 2018.659 In the wake of

  COVID-19 and the 2020 election, the threats intensified and became more direct.660 Around this

  same time, Defendants began having extensive contact with social-media companies via emails,

  phone calls, and in-person meetings.661 This contact, paired with the public threats and tense

  relations between the Biden administration and social-media companies, seemingly resulted in an

  efficient report-and-censor relationship between Defendants and social-media companies.662

  Against this backdrop, it is insincere to describe the likelihood of proving a causal connection

  between Defendants’ actions and Plaintiffs’ injuries as too attenuated or purely hypothetical.

           The evidence presented thus goes far beyond mere generalizations or conjecture: Plaintiffs

  have demonstrated that they are likely to prevail and establish a causal and temporal link between



  658
      See, e.g., [Doc. No. 241-1, ¶¶1, 7, 17, 164 (examples of Government officials threatening adverse legislation against
  social-media companies if they do not increase censorship efforts); ¶¶ 51, 119, 133, 366, 424, 519 (examples of social-
  media companies, typically following up after an in-person meeting or phone call, ensuring Defendants that they
  would increase censorship efforts)]
  659
      [Doc. No. 214-1, ¶1]
  660
      See, e.g., [Id. at ¶ 156 (Psaki reinforcing President Biden’s “They’re killing people” comment); ¶166 (media outlets
  reporting tense relations between the Biden administration and social-media companies)]
  661
      See, e.g., [Doc. No. 174-1, at 3 (Twitter employees setting up a more streamlined process for censorship requests
  because the company had been “recently bombarded” with censorship requests from the White House)]
  662
      See, e.g., [Doc. Nos. 174-1, at 3 (Twitter employees setting up a more streamlined process for censorship requests
  because the company had been “recently bombarded” with censorship requests from the White House); at 4 (Twitter
  suspending a Jill Biden parody account within 45 minutes of a White House official requesting twitter to “remove this
  account immediately”); 214-1, at ¶799 (Drs. Bhattacharya and Kuldorff began experienced extensive censorship on
  social media shortly after Dr. Collins emailed Dr. Fauci seeking a “quick and devastating take down” of the GBD.);
  ¶1081 (Twitter removing tweets within two minutes of Scully reporting them for censorship.); ¶¶1266-1365
  (Explaining how the Virality Project targeted Hines and health-freedom groups.); 214-9, at 2-3 (Twitter ensuring the
  White House that it would increase censorship of “misleading information” following a meeting between White House
  officials and Twitter employees.); etc.]

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  Defendants’ actions and the social-media companies’ censorship decisions. Accordingly, this

  Court finds that there is a substantial likelihood that Plaintiffs would not have been the victims of

  viewpoint discrimination but for the coercion and significant encouragement of Defendants

  towards social-media companies to increase their online censorship efforts.663

           For the reasons stated above, as well as those set forth in this Court’s previous ruling on

  the Motion to Dismiss,664 the Court finds that Plaintiffs are likely to succeed in establishing the

  traceability element of Article III standing.

                                      iii.      Redressability

           The redressability element of the standing analysis requires that the alleged injury is “likely

  to be redressed by a favorable decision.” Lujan, 504 U.S. at 560–61. “To determine whether an

  injury is redressable, a court will consider the relationship between ‘the judicial relief requested’

  and the ‘injury’ suffered.” California v. Texas, 141 S. Ct. 2104, 2115, 210 L. Ed. 2d 230 (2021)

  (quoting Allen v. Wright, 468 U.S. 737, 753 n.19 (1984), abrogated by Lexmark Int'l, Inc. v. Static

  Control Components, Inc., 572 U.S. 118 (2014)). Additionally, courts typically find that where an

  injury is traceable to a defendant’s conduct, it is usually redressable as well. See, e.g., Scenic Am.,

  Inc. v. United States Dep't of Transportation, 836 F.3d 42, 54 (D.C. Cir. 2016) (“[C]ausation and

  redressability are closely related, and can be viewed as two facets of a single requirement.”); Toll

  Bros. v. Twp. of Readington, 555 F.3d 131, 142 (3d Cir. 2009) (“Redressability . . . is closely

  related to traceability, and the two prongs often overlap.”); El Paso Cnty. v. Trump, 408 F. Supp.

  3d 840, 852 (W.D. Tex. 2019).


  663
      Because this Court finds that Plaintiffs have successfully shown a likelihood of success under a “but for” theory of
  causation, it will not address Plaintiffs arguments as to other theories of causation. However, the Court does note that
  caselaw from outside of the Fifth Circuit supports a more lenient theory of causation for purposes of establishing
  traceability. See, e.g., Tweed-New Haven Airport Auth. v. Tong, 930 F.3d 65, 71 (2d Cir. 2019); Parsons v. U.S. Dep’t
  of Justice, 801 F.3d 701, 714 (6th Cir. 2015).
  664
      [Doc. No. 204, at 67–71]

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          Plaintiffs argue that they are likely to prove that a favorable decision would redress their

  injuries because they have provided ample evidence that their injuries are imminent and

  ongoing.665 In response, Defendants contend that any threat of future injury is merely speculative

  because Plaintiffs rely on dated declarations and focus on long-past conduct of Defendants and

  social-media companies.666 For the reasons explained below, the Court finds that Plaintiffs are

  likely to prove that their injuries would be redressed by a favorable decision.

          As this Court previously noted,667 a plaintiff’s standing is evaluated at the time of filing of

  the initial complaint in which they joined. Lynch v. Leis, 382 F.3d 642, 647 (6th Cir. 2004); Davis

  v. F.E.C., 554 F.3d 724, 734 (2008); S. Utah Wilderness All. v. Palma, 707 F.3d 1143, 1153 (10th

  Cir. 2013). The State Plaintiffs filed suit on May 5, 2022,668 and the individual Plaintiffs joined on

  August 2, 2022.669 Both groups are likely to prove that threat of future injury is more than merely

  speculative.

          Plaintiff States have produced sufficient evidence to demonstrate a likelihood of proving

  ongoing injuries as of the time the Complaint was filed. For instance, on June 13, 2023, Flaherty

  still wanted to “get a sense of what [Facebook was] planning” and denied the company’s request

  for permission to stop submitting its biweekly “Covid Insights Report” to the White House.670

  Specifically, Flaherty wanted to monitor Facebook’s suppression of COVID-19 misinformation

  “as we start to ramp up [vaccines for children under the age of five].”671 The CDC also remained

  in collaboration with Facebook in June of 2022 and even delayed implementing policy changes




  665
      [Doc. No. 214, at 71–74]
  666
      [Doc. No. 266, at 152–157]
  667
      [Doc. No. 204, at 62–65]
  668
      [Doc. No. 1]
  669
      [Doc. No. 45]
  670
      [Doc. No. 214-1, at ¶425]
  671
      [Id.]

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  “until [it got] the final word from [the CDC].”672 After coordinating with the CDC and White

  House, Facebook informed the White House of its new and government-approved policy, stating:

  “As of today, [June 22, 2022], all COVID-19 vaccine related misinformation and harm policies on

  Facebook and Instagram apply to people 6 months or older.”673

           Likewise, the individual Plaintiffs are likely to demonstrate that their injuries were

  imminent and ongoing as of August 2, 2022. Evidence obtained thus far indicates that Defendants

  have plans to continue the alleged censorship activities. For example, preliminary discovery

  revealed CISA’s expanding efforts in combating misinformation, with a focus on the 2022

  elections.674 As of August 12, 2022, Easterly was directing the “mission of Rumor Control” for

  the 2022 midterm elections,675 and CISA candidly reported to be “bee[fing] up [its] efforts to fight

  falsehoods[]" in preparation for the 2024 election cycle.676 Chan of the FBI also testified at his

  deposition that online disinformation continues to be discussed between the federal agencies and

  social-media companies at the USG Industry meetings, and Chan assumes that this will continue

  through the 2024 election cycle.677 All of this suggests that Plaintiffs are likely to prove that risk

  of future censorship injuries is more than merely speculative. Additionally, past decisions to

  suppress speech result in ongoing injury as long as the speech remains suppressed, and the past

  censorship experienced by individual Plaintiffs continues to inhibit their speech in the present.

  These injuries are also affecting the rights of the Plaintiffs’ audience members, including those in

  Plaintiff States, who have the First Amendment right to receive information free from Government

  interference.


  672
      [Doc. Nos. 71-7, at 6; 214-1, ¶424]
  673
      [Doc. Nos. 71-7, at 6; 71-3, at 5; 214-1, ¶¶424–425]
  674
      [Doc. No. 71-8, at 2; Doc. 86-7, at 14]
  675
      [Doc. No. 86-7, at 14]
  676
      [Doc. No. 214-1, at ¶1106 (see also [Doc. No. 71-8, at 2 (CISA “wants to ensure that it is set up to extract lessons
  learned from 2022 and apply them to the agency’s work in 2024.”]
  677
      [Id. at ¶ 866]

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          Accordingly, and for the reasons stated above, the Court finds that Plaintiffs are likely to

  prove that a favorable decision would redress their injuries because those injuries are ongoing and

  substantially likely to reoccur.

                                  iv.   Recent United States Supreme Court cases of Texas and
                                        Haaland

          Defendants cite to two recent cases from the Supreme Court of the United States which

  they claim undermine this Court’s previous ruling about the Plaintiff States’ likelihood of proving

  Article III standing.

          First, Defendants argue that United States v. Texas, No. 22-58, 2023 WL 4139000 (U.S.

  June 23, 2023), undermines the States’ Article III standing. In Texas, Texas and Louisiana sued

  the Department of Homeland Security (the “Department”), as well as other federal agencies,

  claiming that the recently promulgated “Guidelines for the Enforcement of Civil Immigration

  Law” contravened two federal statutes. Id. at *2. The Supreme Court held that the states lacked

  Article III standing because “a citizen lacks standing to contest the policies of the prosecuting

  authority when he himself is neither prosecuted nor threatened with prosecution.” The Court

  further noted that the case was “categorically different” from other standing decisions “because it

  implicates only one discrete aspect of the executive power—namely, the Executive Branch’s

  traditional discretion over whether to take enforcement actions against violators of federal law.”

  Id. at *2, *8 (citations omitted).

          Here, the Plaintiff States are not asserting a theory that the Defendants failed to act in

  conformity with the Constitution. To the contrary, the Plaintiff States assert that Defendants have

  affirmatively violated their First Amendment right to free speech. The Plaintiff States allege and

  (as extensively detailed above) are likely to prove that the Defendants caused direct injury to the

  Plaintiff States by significantly encouraging and/or coercing social-media companies to censor


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  posts made on social-media. Further, as noted in this Court’s previous ruling, the Plaintiff States

  are likely to have Article III standing because a significant portion of the Plaintiff States’

  population has been prevented from engaging with the posts censored by the Defendants. The

  Supreme Court noted that “when the Executive Branch elects not to arrest or prosecute, it does not

  exercise coercive power over an individual’s liberty or property, and thus does not infringe upon

  interests that courts are often called upon to protect.” Id. at *5. Here, federal officials allegedly did

  exercise coercive power, and the Plaintiffs are likely to prevail on their claim that the Defendants

  violated the First Amendment rights of the Plaintiff States, their citizens, and the Individual

  Plaintiffs.

          Defendants contend that the Supreme Court in Texas narrowed the application of special

  solicitude afforded to states because the Supreme Court noted that the standing analysis in

  Massachusetts “d[id] not control” because “[t]he issue there involved a challenge to the denial of

  a statutorily authorized petition for rulemaking,” rather than the exercise of enforcement

  discretion. Id. at *8 n.6. This Court disagrees with Defendants on that point. As noted by Plaintiffs,

  the majority opinion in Texas does not mention special solicitude. Further, this Court noted in its

  previous analysis of standing that the Plaintiff States could satisfy Article III’s standing

  requirements without special solicitude. Therefore, even to the extent this Court “leaves that idea

  on the shelf,” as suggested in Justice Gorsuch’s concurrence, the Court nonetheless finds that the

  Plaintiff States are likely to prove Article III standing.

          Defendants also argue that the Supreme Court’s recent ruling in Haaland v. Brackeen, No.

  21-376, 2023 WL 4002951 (U.S. June 15, 2023), undermines the Plaintiff States’ Article III

  standing. In Haaland, the Supreme Court ruled that Texas did not possess standing to challenge

  the placement provisions of the Indian Child Welfare Act, which prioritizes Indian families in



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  custody disputes involving Indian children. Id. at *19. The Supreme Court reasoned that the states

  in Texas could not “assert equal protection claims on behalf of its citizens because ‘[a] State does

  not have standing as parens patriae to bring an action against the Federal Government.’” Id.

  (quoting Snapp, 458 U.S. at 610 n.16)). The Defendants argue that this statement precludes parens

  patriae standing in the present case.678 However, in its brief discussion regarding parens patriae

  standing, the Haaland Court quoted footnote 16 from Snapp, which, in turn, reiterated the “Mellon

  bar.” Haaland, 2023 WL 4002951, at *19; Snapp, 458 U.S. at 610 n.16 (quoting Massachusetts v.

  262 U.S. at 485–86.

             Plaintiffs correctly note that, although both cases employ broad language, neither Haaland

  nor Snapp elaborate on the extent of the “Mellon bar.” Moreover, the Supreme Court has clarified

  in other instances that parens patriae suits are permitted against the federal government outside

  the scope of the Mellon bar. See Massachusetts v. EPA, 549 U.S. at 520 n.17, (explaining the

  “critical difference” between barred parens patriae suits by Mellon and allowed parens patriae

  suits against the federal government).

             Consistent with Massachusetts v. EPA, this Court has previously determined that the

  Mellon bar applies to “third-party parens patriae suits,” but not to “quasi-sovereign-interest

  suits.”679 In Haaland, Texas presented a “third-party parens patriae suit,” as opposed to a “quasi-

  sovereign-interest suit,” as it asserted the equal protection rights of only a small minority of its

  population (i.e., non-Indian foster or adoptive parents seeking to foster or adopt Indian children

  against the objections of relevant Indian tribes), which clearly did not qualify as a quasi-sovereign

  interest. See Haaland, 2023 WL 4002951, at *19 & n.11). Here, however, Louisiana and Missouri

  advocate for the rights of a significant portion of their populations, specifically the hundreds of


  678
         [Doc. 289, at 2].
  679
        [Doc. 224, at 215–26], quoting Kentucky v. Biden, 23 F.4th 585, 598 (6th Cir. 2022).

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  thousands or millions of citizens who are potential audience members affected by federal social-

  media speech suppression.

             Furthermore, when the Haaland Court determined that Texas lacked third-party standing,

  it stressed that Texas did not have either a “‘concrete injury’ to the State” or any hindrance to the

  third party’s ability to protect its own interests. Id. at *19 n.11 (quoting Georgia v. McCollum, 505

  U.S. 42, 55–56 (1992)). Here, by contrast, the Plaintiff States have demonstrated a likelihood of

  succeeding on their claims that they have suffered, and likely will continue to suffer, numerous

  concrete injuries resulting from federal social-media censorship.680 Additionally, the ability of the

  third parties in this case to protect their own interests is hindered because the diffuse First

  Amendment injury experienced by each individual audience member in Louisiana and Missouri

  lacks sufficient economic impact to encourage litigation through numerous individual lawsuits.

  See Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 64 n.6 (1963).

             Defendants further contend that Haaland rejected Texas’s argument regarding the ICWA’s

  placement provisions requiring Texas to compromise its commitment to being impartial in child-

  custody proceedings.681 However, the Supreme Court rejected this argument for a specific reason:

  “Were it otherwise, a State would always have standing to bring constitutional challenges when it

  is complicit in enforcing federal law.” Haaland, 2023 WL 4002951, at *19. By contrast, Missouri

  and Louisiana do not assert that the federal government mandates their complicity in enforcing

  federal social-media-censorship regimes. The Plaintiff States instead assert that they, along with a

  substantial portion of their populations, have been injured by Defendants’ actions.

             Neither Texas nor Haaland undermine this Court’s previous ruling that the Plaintiff States

  have Article III standing to sue Defendants in the instant case. Further, the evidence produced thus


  680
        See, e.g., [Doc. 214-1, ¶¶ 1427–1442]
  681
        [Doc. 289, at 3] quoting Haaland, 2023 WL 4002951, at *19.

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  far through limited discovery demonstrates that Plaintiffs are likely to succeed on their First

  Amendment claims. Accordingly, the Court finds that Plaintiffs are likely to prove all elements of

  Article III standing, and therefore, are likely to establish that this Court has jurisdiction.

            2. Irreparable Harm

            The second requirement for a Preliminary Injunction is a showing of irreparable injury:

  plaintiffs must demonstrate “a substantial threat of irreparable injury” if the injunction is not

  issued. Texas, 809 F.3d at 150. For injury to be “irreparable,” plaintiffs need only show it cannot

  be undone through monetary remedies. Burgess v. Fed. Deposit Inc., Corp., 871 F.3d 297, 304

  (5th Cir. 2017). Deprivation of a procedural right to protect a party’s concrete interests is

  irreparable injury. Texas, 933 F.3d at 447. Additionally, violation of a First Amendment

  constitutional right, even for a short period of time, is always irreparable injury. Elrod, 427 U.S.

  at 373.

            Plaintiffs argue in their memorandum that the First Amendment violations are continuing

  and/or that there is a substantial risk that future harm is likely to occur. In contrast, Defendants

  argue that Plaintiffs are unable to show imminent irreparable harm because the alleged conduct

  occurred in the past, is not presently occurring, and is unlikely to occur in the future. Defendants

  argue Plaintiffs rely upon actions that occurred approximately one year ago and that it cannot be

  remedied by any prospective injunctive relief. Further, Defendants argue that there is no “imminent

  harm” because the COVID-19 pandemic is over and because the elections where the alleged

  conduct occurred are also over.

            The Court finds that Plaintiffs have demonstrated a “significant threat of injury from the

  impending action, that the injury is imminent, and that money damages would not fully repair the

  harm.” Humana, Inc., v. Jackson, 804 F.2d 1390, 1394 (5th Cir. 1986). To demonstrate irreparable



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  harm at the preliminary injunction stage, Plaintiffs must adduce evidence showing that the

  irreparable injury is likely to occur during the pendency of the litigation. Justin Indus. Inc., v.

  Choctaw Secs., L.P., 920 F.2d 262, 268 n. 7 (5th Cir. 1990). This Plaintiffs have done.

           Defendants argue that the alleged suppression of social-media content occurred in response

  to the COVID-19 pandemic and attacks on election infrastructure, and therefore, the alleged

  conduct is no longer occurring. Defendants point out that the alleged conduct occurred between

  one to three years ago. However, the information submitted by Plaintiffs was at least partially

  based on preliminary injunction-related discovery682 and third-party subpoena requests that were

  submitted to five social-media platforms on or about July 19, 2022.683 The original Complaint684

  was filed on May 5, 2022, and most of the responses to preliminary injunction-related discovery

  provided answers to discovery requests that occurred before the Complaint was filed. Since

  completion of preliminary-injunction related discovery took over six months, most, if not all, of

  the information obtained would be at least one year old.

           Further, the Defendants’ decision to stop some of the alleged conduct does not make it any

  less relevant. A defendant claiming that its voluntary compliance moots a case bears the formidable

  burden of showing that it is absolutely clear the alleged wrongful behavior could not reasonably

  be expected to recur. Already, LLC v. Nike, 568 U.S. 85, 91 (2013). Defendants have not yet met

  this burden here.

           Defendants also argue that, due to the delay in the Plaintiffs seeking relief,685 the Plaintiffs

  have not shown “due diligence” in seeking relief. However, this Court finds that Plaintiffs have

  exercised due diligence. This is a complicated case that required a great deal of discovery in order


  682
      [Doc. No. 34]
  683
      [Doc. No. 37]
  684
      [Doc. No. 1]
  685
      Plaintiffs allege actions occurring as far back as 2020.

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  to obtain the necessary evidence to pursue this case. Although it has taken several months to obtain

  this evidence, it certainly was not the fault of the Plaintiffs. Most of the information Plaintiffs

  needed was unobtainable except through discovery.

         Defendants further argue the risk that Plaintiffs will sustain injuries in the future is

  speculative and depends upon the action of the social-media platforms. Defendants allege the

  Plaintiffs have therefore not shown imminent harm by any of the Defendants.

         In Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (“SBA List”), the Supreme

  Court held that, for purposes of an Article III injury-in-fact, an allegation of future injury may

  suffice if there is “a ‘substantial risk’ that the harm will occur.” (quoting Clapper v. Amnesty Int'l

  USA, 568 U.S. 398, 408, (2013)). In SBA List, a petitioner challenged a statute that prohibited

  making certain false statements during the course of a political campaign. Id. at 151–52. In

  deciding whether the pre-enforcement challenge was justiciable—and in particular, whether it

  alleged a sufficiently imminent injury for purposes of Article III—the Court noted that pre-

  enforcement review is warranted under circumstances that render the threatened enforcement

  “sufficiently imminent.” Id. at 159. Specifically, the Court noted that past enforcement is “good

  evidence that the threat of enforcement is not ‘chimerical.’” Id. at 164 (quoting Steffel v.

  Thompson, 415 U.S. 452, 459 (1974)).

         Similarly, in Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 302 (1979), the

  Supreme Court held that a complaint alleges an Article III injury-in-fact where fear of future injury

  is not “imaginary or wholly speculative.” In Babbitt, the Supreme Court considered a pre-

  enforcement challenge to a statute that made it an unfair labor practice to encourage consumers to

  boycott using “dishonest, untruthful, and deceptive publicity.” Id. at 301. Because the plaintiffs

  had engaged in consumer publicity campaigns in the past and alleged an intention to continue those



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  campaigns in the future, the Court held that their challenge to the consumer publicity provision

  presented an Article III case or controversy. Id. at 302; see also Virginia v. Am. Booksellers Ass'n,

  Inc., 484 U.S. 383, 386 (1988) (where the Supreme Court held that booksellers could seek pre-

  enforcement review of a law making it a crime to “knowingly display for commercial purpose”

  material that is “harmful to juveniles,” as defined by the statute).

           Therefore, the question is whether Plaintiffs have alleged a “substantial risk” that harm

  may occur, which is not “imaginary or wholly speculative.” This Court finds that the alleged past

  actions of Defendants show a substantial risk of harm that is not imaginary or speculative. SBA

  List, 573 U. S. at 164. Defendants apparently continue to have meetings with social-media

  companies and other contacts.686

           Although the COVID-19 pandemic is no longer an emergency, it is not imaginary or

  speculative to believe that in the event of any other real or perceived emergency event, the

  Defendants would once again use their power over social-media companies to suppress alternative

  views. And it is certainly not imaginary or speculative to predict that Defendants could use their

  power over millions of people to suppress alternative views or moderate content they do not agree

  with in the upcoming 2024 national election. At oral arguments Defendants were not able to state

  that the “switchboarding” and other election activities of the CISA Defendants and the State

  Department Defendants would not resume prior to the upcoming 2024 election;687 in fact, Chan

  testified post 2020, “we’ve never stopped.”688 Notably, a draft copy of the DHS’s “Quadrennial

  Homeland Security Review,” which outlines the department’s strategy and priorities in upcoming

  years, states that the department plans to target “inaccurate information” on a wide range of topics,



  686
      [Doc. No. 204-1 at 40]
  687
      [Doc. No. 208 at 122]
  688
      [Chan depo. at 8–9]

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  including the origins of the COVID-19 pandemic, the efficacy of COVID-19 vaccines, racial

  justice, the U.S. withdrawal from Afghanistan, and the return of U.S. Support of Ukraine.689

          The Plaintiffs are likely to succeed on the merits in their claims that there is a substantial

  risk that harm will occur, that is not imaginary or speculative. Plaintiffs have shown that not only

  have the Defendants shown willingness to coerce and/or to give significant encouragement to

  social-media platforms to suppress free speech with regard to the COVID-19 pandemic and

  national elections, they have also shown a willingness to do it with regard to other issues, such as

  gas prices,690 parody speech,691 calling the President a liar,692 climate change,693 gender,694 and

  abortion.695 On June 14, 2022, White House National Climate Advisor Gina McCarthy, at an Axios

  event entitled, “A Conversation on Battling Disinformation,” was quoted as saying, “We have to

  get together; we have to get better at communicating, and frankly, the tech companies have to stop

  allowing specific individuals over and over to spread disinformation.”696

          The Complaint (and its amendments) shows numerous allegations of apparent future harm.

  Plaintiff Bhattacharya alleges ongoing social-media censorship.697 Plaintiff Kulldorff alleges an

  ongoing campaign of censorship against the GBD and his personal social-media accounts.698

  Plaintiff Kheriaty also alleges ongoing and expected future censorship,699 noting “shadow-

  banning” his social-media account is increasing and has intensified since 2022.700 Plaintiffs Hoft




  689
      [Doc. No. 209-23 at 4]
  690
      [Doc. No. 212-3 at 65–66, ¶ 211]
  691
      [Id. at 58-60, ¶¶ 180–188]
  692
      [Id. at 61, ¶ 190]
  693
      [Id. at 63-64, ¶¶ 200–203]
  694
      [Id. at 64-64, ¶¶ 204–208]
  695
      [Id. at 65, ¶¶ 209–210]
  696
      [Doc. No. 214-15]
  697
      [Doc. No. 45-3, ¶¶ 15–33]
  698
      [Doc. No. 45-4, ¶¶ 14–16]
  699
      [Doc. No. 45-7, ¶¶ 12–18]
  700
      [Id. at ¶¶ 15]

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  and Hines also allege ongoing and expected future censorship injuries.701 It is not imaginary or

  speculative that the Defendants will continue to use this power. It is likely.

             The Court finds that Plaintiffs are likely to succeed on their claim that they have shown

  irreparable injury sufficient to satisfy the standard for the issuance of a preliminary injunction.

             3. Equitable Factors and Public Interest

             Thus far, Plaintiffs have satisfied the first two elements to obtain a preliminary injunction.

  The final two elements they must satisfy are that the threatened harm outweighs any harm that

  may result to the Federal Defendants and that the injunction will not undermine the public interest.

  Valley v. Rapides Par. Sch. Bd., 118 F.3d 1047, 1051 (5th Cir. 1997). These two factors overlap

  considerably. Texas, 809 F.3d at 187. In weighing equities, a court must balance the competing

  claims of injury and must consider the effect on each party of the granting or withholding of the

  requested relief. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). The public interest

  factor requires the court to consider what public interests may be served by granting or denying a

  preliminary injunction. Sierra Club v. U.S. Army Corps of Engineers, 645 F.3d 978, 997–98 (8th

  Cir. 2011).

             Defendants maintain their interest in being able to report misinformation and warn social-

  media companies of foreign actors’ misinformation campaigns outweighs the Plaintiffs’ interest

  in the right of free speech. This Court disagrees and finds the balance of equities and the public

  interest strongly favors the issuance of a preliminary injunction. The public interest is served by

  maintaining the constitutional structure and the First Amendment free speech rights of the

  Plaintiffs. The right of free speech is a fundamental constitutional right that is vital to the freedom

  of our nation, and Plaintiffs have produced evidence of a massive effort by Defendants, from the



  701
        [Doc. No. 45-7 at ¶¶ 12–18]; [Doc. No. 84 at ¶¶ 401–420]; [Doc. No. 45-12 at ¶ 4, 12]

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  White House to federal agencies, to suppress speech based on its content. Defendants’ alleged

  suppression has potentially resulted in millions of free speech violations. Plaintiffs’ free speech

  rights thus far outweighs the rights of Defendants, and thus, Plaintiffs satisfy the final elements

  needed to show entitlement to a preliminary injunction.

               4. Injunction Specificity

               Lastly, Defendants argue that Plaintiff’s proposed preliminary injunction lacks the

  specificity required by Federal Rule of Civil Procedure 65 and is impermissibly overbroad. Rule

  65(d)(1) requires an injunction to “state its terms specifically” and to “describe in reasonable detail

  the acts or acts restrained or required.” The specificity provisions of Rule 65(d) are designed to

  prevent uncertainty and confusion on the part of those faced with injunction orders and to avoid

  possible contempt based upon a decree too vague to be understood. Atiyeh v. Capps, 449 U.S.

  1312, 1316–17 (1981). An injunction must be narrowly tailored to remedy the specific action that

  gives rise to the injunction. Scott v. Schedler, 826 F.3d 207, 211 (5th Cir. 2016).

               This Court believes that an injunction can be narrowly tailored to only affect prohibited

  activities, while not prohibiting government speech or agency functions. Just because the

  injunction may be difficult to tailor is not an excuse to allow potential First Amendment violations

  to continue. Thus, the Court is not persuaded by Defendants arguments here.

               Because Plaintiffs have met all the elements necessary to show entitlement to a preliminary

  injunction, this Court shall issue such injunction against the Defendants described above.

         IV.      CLASS CERTIFICATION

               In their Third Amended Complaint, the Individual Plaintiffs purport to bring a class action

  “on behalf of themselves and two classes of other persons similarly situated to them.”702 Plaintiffs



  702
        [Doc. No. 268 at ¶489].

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  go on to describe the two proposed classes, as well as state generally that each requirement for

  class certification is met.703 Defendants opposed Plaintiffs’ request for class certification in their

  Response to Plaintiffs’ Motion for Class Certification and for Leave to File Third Amended

  Complaint.704

             The Court is obligated to analyze whether this litigation should proceed as a class action.

  See Castano v. Am. Tobacco Co., 84 F.3d 734, 740 (5th Cir. 1996) (“A district court must conduct

  a rigorous analysis of the rule 23 prerequisites before certifying a class.”). Pursuant to this

  obligation, the Court questioned counsel at the hearing on the preliminary injunction as to the basis

  for class certification. As explained in further detail below, the Court finds that Plaintiffs failed to

  meet their burden of proof, and class certification is improper here.

           A. Class Certification Standard under FRCP 23

             “The decision to certify is within the broad discretion of the court, but that discretion must

  be exercised within the framework of rule 23.” Id. at 740. “The party seeking certification bears

  the burden of proof.” Id.

             Federal Rule of Civil Procedure 23(a) lays out the four key prerequisites for a class action.

  It states:

                      One or more members of a class may sue or be sued as representative
                      parties on behalf of all members only if:
                      (1) the class is so numerous that joinder of all members is
                      impracticable;
                      (2) there are questions of law or fact common to the class;
                      (3) the claims or defenses of the representative parties are typical of
                      the claims or defenses of the class; and
                      (4) the representative parties will fairly and adequately protect the
                      interests of the class.

  Fed. R. Civ. P. 23(a).


  703
        [Id. at ¶¶490–501].
  704
        [Doc. No. 244].

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          In addition to the enumerated requirements above, Plaintiffs must propose a class that has

  an objective and precise definition. “The existence of an ascertainable class of persons to be

  represented by the proposed class representative is an implied prerequisite of Federal Rule of Civil

  Procedure 23.” John v. Nat'l Sec. Fire & Cas. Co., 501 F.3d 443, 445 (5th Cir. 2007).

          “In addition to satisfying Rule 23(a)’s prerequisites, parties seeking class certification must

  show that the action is maintainable under Rule 23(b)(1), (2), or (3).” Amchem Prod., Inc. v.

  Windsor, 521 U.S. 591, 614 (1997). Here, Plaintiffs specifically bring this class action under Rule

  23(b)(2), which allows for maintenance of a class action where “the party opposing the class has

  acted or refused to act on grounds that apply generally to the class, so that final injunctive relief or

  corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

  23(b0) (2). “Civil rights cases against parties charged with unlawful, class-based discrimination

  are prime examples” of Rule 23(b)(2) class actions. Amchem Prod., Inc., 521 U.S. at 614.

          Notably, the Fifth Circuit recently held that a standing analysis is necessary before

  engaging in the class certification analysis. Angell v. GEICO Advantage Ins. Co., 67 F.4th 727,

  733 (5th Cir. 2023). However, because this Court has already completed multiple standing

  analyses in this matter, and because the Court ultimately finds that the class should not be certified,

  the Court will not address which standing test should be applied to this specific issue.



        B. Analysis

          In order to certify this matter as a class action, the Court must find that Plaintiffs have

  established each element of Rule 23(a). See In re Monumental Life Ins. Co., 365 F.3d 408, 414–

  15 (5th Cir. 2004) (“All classes must satisfy the four baseline requirements of rule 23(a):




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  numerosity, commonality, typicality, and adequacy of representation.”). The Court finds that

  Plaintiffs failed to meet their burden, and therefore, the Court will not certify the class action.

             1. Class Definition

             Plaintiffs propose two classes to proceed with their litigation as a class action. First,

  Plaintiffs define Class 1 as follows:

                      The class of social-media users who have engaged or will engage in,
                      or who follow, subscribe to, are friends with, or are otherwise
                      connected to the accounts of users who have engaged or will engage
                      in, speech on any social-media company’s platform(s) that has been
                      or will be removed; labelled; used as a basis for suspending,
                      deplatforming, issuing strike(s) against, demonetizing, or taking
                      other adverse action against the speaker; downranked; deboosted;
                      concealed; or otherwise suppressed by the platform after Defendants
                      and/or those acting in concert with them flag or flagged the speech
                      to the platform(s) for suppression.705

  Next, Plaintiffs define Class 2 as follows:

                      The class of social-media users who have engaged in or will engage
                      in, or who follow, subscribe to, are friends with, or are otherwise
                      connected to the accounts of users who have engaged in or will
                      engage in, speech on any social-media company’s platform(s) that
                      has been or will be removed; labelled; used as a basis for
                      suspending, deplatforming, issuing strike(s) against, demonetizing,
                      or taking other adverse action against the speaker; downranked;
                      deboosted; concealed; or otherwise suppressed by the company
                      pursuant to any change to the company’s policies or enforcement
                      practices that Defendants and/or those acting in concert with them
                      have induced or will induce the company to make.706

             “It is elementary that in order to maintain a class action, the class sought to be represented

  must be adequately defined and clearly ascertainable.” DeBremaecker v. Short, 433 F.2d 733, 734

  (5th Cir. 1970). The Court finds that the class definitions provided by Plaintiffs are neither

  “adequately defined” nor “clearly ascertainable.” Simply put, there is no way to tell just how many



  705
        [Doc. No. 268 at ¶490]
  706
        [Id. at ¶491]

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  people or what type of person would fit into these proposed classes. The proposed class definitions

  are so broad that almost every person in America, and perhaps in many other countries as well,

  could fit into the classes. The Court agrees with Defendants that the language used is simply too

  vague to maintain a class action using these definitions.707 Where a class definition is, as here, “too

  broad and ill-defined” to be practicable, the class should not be certified. See Braidwood Mgmt.,

  Inc. v. Equal Emp. Opportunity Comm’n, No. 22-10145, 2023 WL 4073826, at *14 (5th Cir. June

  20, 2023).

           Further, no evidence was produced at the hearing on the motion for preliminary injunction

  that “would have assisted the district court in more accurately delineating membership in a

  workable class.” DeBremaecker, 433 F.2d at 734. The Court questioned Plaintiffs’ counsel about

  the issues with the proposed class definitions, but counsel was unable to provide a solution that

  would make class certification feasible here. Counsel for Plaintiffs stated that “the class definition

  is sufficiently precise,” but the Court fails to see how that is so, and counsel did not explain any

  further.708 Counsel for Plaintiffs focused on the fact that the proposed class action falls under Rule

  23(b)(2), providing for broad injunctive relief, and therefore, counsel argued that the Court would

  not need to “figure out every human being in the United States of American [sic] who was actually

  adversely affected.”709 Even if the Court does not need to identify every potential class member

  individually, the Court still needs to be able to state the practical bounds of the class definition—

  something it cannot do with the loose wording given by Plaintiffs.




  707
      [Doc. No. 244 at 7]
  708
      Hearing Transcript at 181, line 15.
  709
      [Id. at lines 16–18]

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             Without a feasible class definition, the Court cannot certify Plaintiffs’ proposed class

  action. Out of an abundance of caution, however, the Court will address the other enumerated

  prerequisites of Rule 23(a) below.

             2. Numerosity

             The numerosity requirement mandates that a class be “so large that joinder of all members

  is impracticable.” Fed. R. Civ. P. 23(a)(1). “Although the number of members in a proposed class

  is not determinative of whether joinder is impracticable,” classes with a significantly high number

  of potential members easily satisfy this requirement. Mullen v. Treasure Chest Casino, LLC, 186

  F.3d 620, 624 (5th Cir. 1999) (finding class of 100 to 150 members satisfied the numerosity

  requirement). Other factors, such as “the geographical dispersion of the class” and “the nature of

  the action,” may also support a finding that the numerosity element has been met. Id. at 624–25.

             Here, Plaintiffs state that both Class 1 and Class 2 are “sufficiently numerous that joinder

  of all members is impracticable.”710 Plaintiffs reference the “content of hundreds of users with,

  collectively, hundreds of thousands or millions of followers” who were affected by Defendants’

  alleged censorship.711 Thus, based on a surface-level look at potential class members, it appears

  that the numerosity requirement would be satisfied because the class members’ numbers reach at

  least into the thousands, if not the millions.

             However, the numerosity requirement merely serves to highlight the same issue described

  above: the potential class is simply too broad to even begin to fathom who would fit into the class.

  Joinder of all the potential class members is more than impractical—it is impossible. Thus, while

  the sheer number of potential class members may tend towards class certification, the Court is only




  710
        [Doc. No. 268 at ¶¶492–93]
  711
        [Id. at ¶¶492]

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  further convinced by Plaintiffs’ inability to estimate the vast number of class members that

  certification is improper here.

           3. Commonality

           The commonality requirement ensures that there are “questions of law or fact common to

  the class.” Fed. R. Civ. P. 23(a)(2). “The test for commonality is not demanding and is met ‘where

  there is at least one issue, the resolution of which will affect all or a significant number of the

  putative class members.’” Mullen, 186 F.3d at 625 (quoting Lightbourn v. County of El Paso, 118

  F.3d 421, 426 (5th Cir. 1997)).

           Here, Plaintiffs state that both classes share common questions of law or fact, including

  “the question whether the government is responsible for a social-media company’s suppression of

  content that the government flags to the company for suppression” for Class 1 and “the question

  whether the government is responsible for a social-media company’s suppression of content

  pursuant to a policy or enforcement practice that the government induced the company to adopt or

  enforce” for Class 2.712 These questions of law are broadly worded and may not properly

  characterize the specific issues being argued in this case.

           At the hearing for the preliminary injunction, Plaintiffs’ counsel clarified that the alleged

  campaign of censorship “involve[es] a whole host of common questions whose resolution are

  going to determine whether or not there’s a First Amendment violation.”713 The Court agrees that

  there is certainly a common question of First Amendment law that impacts each member of the

  proposed classes, but notes Defendants’ well-reasoned argument that Plaintiffs may be attempting

  to aggregate too many questions into one class action.714 The difficulty of providing “a single,



  712
      [Id. at ¶¶494–95]
  713
      Hearing Transcript, at 183, lines 19–21.
  714
      [Doc. No. 244 at 10]

                                                   151
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  class-wide answer,” as highlighted by Defendants, further proves to this Court that class

  certification is likely not the best way to proceed with this litigation.715 Although commonality is

  a fairly low bar, the Court is not convinced Plaintiffs have met their burden on this element of Rule

  23(a).

           4. Typicality

           The typicality requirement mandates that named parties’ claims or defenses “are

  typical…of the class.” Fed. R. Civ. P. 23(a)(3). “Like commonality, the test for typicality is not

  demanding.” Mullen, 186 F.3d at 625. It “focuses on the similarity between the named plaintiffs’

  legal and remedial theories and the theories of those whom they purport to represent.” Lightbourn,

  118 F.3d at 426.

           Here, Plaintiffs assert that the Individual Plaintiffs’ claims are typical of both Class 1 and

  Class 2 members’ claims because they “all arise from the same course of conduct by

  Defendants…namely, the theory that such conduct violates the First Amendment.”716 Further,

  Plaintiffs state that the Individual Plaintiffs “are not subject to any affirmative defenses that are

  inapplicable to the rest of the class and likely to become a major focus of the case.”717

           While the general claims of each potential class member would arise from the Defendants’

  alleged First Amendment violations, the Individual Plaintiffs have not explained how their claims

  are typical of each proposed class specifically. For example, Class 2 includes those social-media

  users who “follow, subscribe to, are friends with, or are otherwise connected to the accounts of

  users” subject to censorship.718 While the Individual Plaintiffs detail at length their own

  censorship, they do not clarify how they have been harmed by the censorship of other users. Again,


  715
      [Id. at 13]
  716
      [Doc. No. 268 at ¶496–97]
  717
      [Id.]
  718
      [Id. at ¶491]

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  this confusion highlights the myriad issues with this proposed class action as a result of the ill-

  defined and over-broad class definitions. The Court cannot make a finding that the Individual

  Plaintiffs’ claims are typical of all class members’ claims, simply because the Court cannot identify

  who would fit in the proposed class. Merely stating that the Rule 23(a) requirements have been

  met is not enough to persuade this Court that the class should be certified as stated.

              5. Adequate Representation

              The final element of a class certification analysis requires that the class representatives

  “fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “Differences

  between named plaintiffs and class members render the named plaintiffs’ inadequate

  representatives only if those differences create conflicts between the named plaintiffs’ interests

  and the class members’ interests.” Mullen, 186 F.3d at 626.

              On this element, Plaintiffs state that they “are willing and able to take an active role in the

  case, control the course of litigation, and protect the interest of absentees in both classes.”719

  Plaintiff also state that “[n]o conflicts of interest currently exist or are likely to develop” between

  themselves and the absentees.720 This element is likely met, without evidence to the contrary.

              However, without a working class definition, and with the issues concerning the other Rule

  23(a) elements discussed above, the Court finds class certification inappropriate here, regardless

  of the adequacy of the Individual Plaintiffs’ representation. Thus, for the foregoing reasons, the

  Court declines to certify this matter as a class action.

         V.        CONCLUSION

                        Once a government is committed to the principle of silencing the
                        voice of opposition, it has only one place to go, and that is down the
                        path of increasingly repressive measures, until it becomes a source


  719
        [Id. at ¶498]
  720
        [Id.]

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                   of terror to all its citizens and creates a country where everyone lives
                   in fear.

                                                                               Harry S. Truman

          The Plaintiffs are likely to succeed on the merits in establishing that the Government has

  used its power to silence the opposition. Opposition to COVID-19 vaccines; opposition to

  COVID-19 masking and lockdowns; opposition to the lab-leak theory of COVID-19; opposition

  to the validity of the 2020 election; opposition to President Biden’s policies; statements that the

  Hunter Biden laptop story was true; and opposition to policies of the government officials in

  power. All were suppressed. It is quite telling that each example or category of suppressed speech

  was conservative in nature. This targeted suppression of conservative ideas is a perfect example

  of viewpoint discrimination of political speech. American citizens have the right to engage in free

  debate about the significant issues affecting the country.

           Although this case is still relatively young, and at this stage the Court is only examining it

  in terms of Plaintiffs’ likelihood of success on the merits, the evidence produced thus far depicts

  an almost dystopian scenario. During the COVID-19 pandemic, a period perhaps best

  characterized by widespread doubt and uncertainty, the United States Government seems to have

  assumed a role similar to an Orwellian “Ministry of Truth.”721

          The Plaintiffs have presented substantial evidence in support of their claims that they were

  the victims of a far-reaching and widespread censorship campaign. This court finds that they are

  likely to succeed on the merits of their First Amendment free speech claim against the Defendants.

  Therefore, a preliminary injunction should issue immediately against the Defendants as set out




  721
     An “Orwellian 'Ministry of Truth'” refers to the concept presented in George Orwell's dystopian novel, '1984.' In
  the novel, the Ministry of Truth is a governmental institution responsible for altering historical records and
  disseminating propaganda to manipulate and control public perception.

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  herein. The Plaintiffs Motion for Preliminary Injunction [Doc. No. 10] is GRANTED IN PART

  and DENIED IN PART.

        The Plaintiffs’ request to certify this matter as a class action pursuant to Fed. R. Civ. P.

  Article 23(b)(2) is DENIED.

        MONROE, LOUISIANA this 4th day of July 2023.



                                              _______________________________________
                                              TERRY A. DOUGHTY
                                              UNITED STATES DISTRICT JUDGE




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